  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 1 of 156



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION



COUNTY OF HARRIS, TEXAS

            Plaintiff,

            v.

ELI LILLY AND COMPANY; NOVO
NORDISK INC.; SANOFI-AVENTIS U.S.
LLC; EXPRESS SCRIPTS HOLDING
COMPANY; EXPRESS SCRIPTS, INC.;
ESI MAIL PHARMACY SERVICES, INC.;
EXPRESS SCRIPTS PHARMACY, INC.;                Case No. 4:19-cv-04994
CVS HEALTH CORPORATION;
CAREMARK RX, L.L.C.; CAREMARK PCS                  Jury Trial Demanded
HEALTH, L.L.C.; CAREMARK, L.L.C.;
CAREMARK TEXAS MAIL PHARMACY,
LLC; OPTUM, INC.; OPTUMRX INC.;
AETNA RX HOME DELIVERY, LLC AND
AETNA PHARMACY MANAGEMENT
SERVICES, LLC.

             Defendants.




        PLAINTIFF’S FIRST AMENDED ORIGINAL COMPLAINT
       Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 2 of 156




                                                TABLE OF CONTENTS

I.         INTRODUCTION ................................................................................ 1
II.        PARTIES ............................................................................................ 7
                     Plaintiff .......................................................................................................... 7
                     Manufacturer Defendants ............................................................................. 8
                     PBM Defendants ......................................................................................... 12
III.       JURISDICTION AND VENUE ........................................................... 21
                     Subject Matter Jurisdiction ........................................................................ 21
                     Personal Jurisdiction .................................................................................. 22
                     Venue ........................................................................................................... 22
IV.        FACTUAL ALLEGATIONS ................................................................ 23
                     Diabetes and Insulin Therapy ..................................................................... 23
                     The Dramatic Rise in the Price of Diabetes Medications ........................... 31
                     PBMs and the Pharmaceutical Payment and Supply Chain....................... 40
                     The Insulin Pricing Scheme ........................................................................ 47
                     The Insulin Pricing Scheme Deceived and Harmed Harris County and the
                     Insulin Market............................................................................................. 59
V.         TOLLING OF STATUTE OF LIMITATIONS ....................................... 74
                     Discovery Rule Tolling ................................................................................ 75
                     Fraudulent Concealment Tolling ................................................................ 76
                     Estoppel ....................................................................................................... 76
                     Continuing Violations ................................................................................. 76
VI.        CLAIMS FOR RELIEF....................................................................... 76
      1. Violations of RICO, 18 U.S.C. 18 U.S.C. § 1962(c) (Against Eli Lilly and All PBM
         Defendants) ............................................................................................................ 76
      2. Violations of RICO, 18 U.S.C. 18 U.S.C. § 1962(c) (Against Novo Nordisk and All
         PBM Defendants) ................................................................................................... 92




                                                                    i
      Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 3 of 156



     3. Violations of RICO, 18 U.S.C. 18 U.S.C. § 1962(c) (Against Sanofi and All PBM
        Defendants) .......................................................................................................... 108
     4. Violations of RICO, 18 U.S.C. § 1962(d) By Conspiring to Violate 18 U.S.C. § 1962
        (c) (Against All Defendants) ................................................................................ 124
     5. Violations of § 1 of the Sherman Act, 15 U.S.C. § 1, et. seq. (Against All
        Defendants) .......................................................................................................... 126
     6. Violations of the Texas Free Enterprise and Antitrust Act (“TFEAA”), TEX. BUS. &
        COM. CODE ANN. §§ 15.01, et. seq. (Against All Defendants) ................................ 134
     7. Texas Deceptive Trades Practices-Consumer Protection Act (Against All
        Defendants) .......................................................................................................... 142
     8. Common Law Fraud (Against All Defendants) ................................................... 144
     9. Money Had and Received (Against All Defendants) ........................................... 147
     10. Unjust Enrichment (Against All Defendants) ..................................................... 148
     11. Civil Conspiracy (Against All Defendants) .......................................................... 149
VII.      APPLICATION FOR TEMPORARY AND PERMANENT INJUNCTION . 149
VIII. CONDITIONS PRECEDENT............................................................ 150
IX.       PRAYER FOR RELIEF .................................................................... 150
X.        JURY DEMAND .............................................................................. 151




                                                                ii
    Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 4 of 156



       Plaintiff, Harris County, Texas, by and through the undersigned attorneys

(“Plaintiff” or “Harris County”) brings this lawsuit against Defendants: Eli Lilly and

Company; Novo Nordisk Inc.; Sanofi-Aventis U.S. LLC; Express Scripts Holding

Company; Express Scripts, Inc.; ESI Mail Pharmacy Service, Inc.; Express Scripts

Pharmacy, Inc.; CVS Health Corporation; Caremark Rx, L.L.C.; Caremark PCS Health,

L.L.C.; Caremark, L.L.C.; Caremark Texas Mail Pharmacy, LLC; Optum, Inc.; OptumRx

Inc.; Aetna Rx Home Delivery, LLC and Aetna Pharmacy Management Services, LLC

(collectively, “Defendants”). Plaintiff alleges on information and belief as follows:

                                   I.   INTRODUCTION

       1.       Diabetes is an epidemic in the United States. The total estimated cost of

diagnosed diabetes in 2017 was $327 billion, including $237 billion in direct medical costs

and $90 billion in reduced productivity. 1 In Houston, Texas alone, diabetes-related costs

reached $4.1 billion in 2015. 2 One in four health care dollars is spent caring for people with

diabetes. 3 In total, nearly thirty (30) million people, 9.3% of the country, live with this

disease. 4 Of this number, approximately six million people rely on daily insulin treatments

to survive. 5




1 See American Diabetes Association, The Staggering Cost of Diabetes, March 2018, available at
https://www.diabetes.org/resources/statistics/cost-diabetes.
2 See Tom Dart, Houston’s Health Crisis: By 2040, One in Five Residents Will Be Diabetic, The

Guardian, Feb. 11, 2016, available at https://www.theguardian.com/cities/2016/feb/11/houston-
health-crisis-diabetes-sugar-cars-diabetic.
3 Supra note 1.

4 Supra note 1.

5 Carolyn Y. Johnson, Why treating diabetes keeps getting more expensive, WASH. POST (Oct.

31, 2016), https://www.washingtonpost.com/news/wonk/wp/2016/10/31/why-insulin- prices-
have-kept-rising-for-95-years/.


                                              1
    Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 5 of 156



       2.     Defendants Eli Lilly, Novo Nordisk and Sanofi (collectively, “Manufacturer

Defendants”) manufacture the vast majority of insulins and other diabetes medications

currently on the market in the United States.

       3.     Defendants CVS Caremark, Express Scripts, OptumRx and Aetna Rx

(collectively “PBM Defendants”) manage the pharmacy benefits for the vast majority of

individuals in the United States. As part of this work, PBM Defendants establish national

formularies that, among other things, set the baseline for which diabetes medications are

covered by insurance and which are not.

       4.     Over the course of the last fifteen years, Manufacturer Defendants have in

lockstep raised the reported prices of their respective diabetes drugs in an astounding

manner.

       5.     Insulins that today cost Manufacturer Defendants just $5 to produce and

that were originally priced at $20 when released in the late 1990s, now range between

$300 and $700. 6

       6.     In the last decade alone, Manufacturer Defendants have in tandem increased

the prices of their insulins up to 1000%, taking the same price increase down to the

decimal point within a few days of each other. 7

       7.     Figure 1 illustrates the rate in which Defendant Eli Lilly raised the price of

its analog insulin, Humalog, compared to the rate of inflation for select consumer goods

from 1997-2018.


6 See Dzintars Gotham, Melissa J. Barber, Andrew Hill, Production Costs And Potential Prices

For Biosimilars Of Human Insulin And Insulin Analogues, BMJ Global Health, Vol. 3, Issue 5,
available at https://gh.bmj.com/content/3/5/e000850; Table 1 of this Complaint.
7 See Irl B. Hirsch, MD, Changing Cost of Insulin Therapy in the U.S. (Mar. 6, 2016),

http://professional.diabetes.org/files/media/Changing_Cost_Insulin.pdf; Figure 1 of this
Complaint.


                                             2
Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 6 of 156



  Figure 1: Price Increase of Insulin vs. Selected Consumer Goods
                           from 1997-2018




                                  3
    Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 7 of 156



       8.      Remarkably, nothing about these medications has changed during that time

period; today’s $350 drug is the exact same one Defendants sold decades ago for $20. 8

       9.      The current exorbitant price stands in stark contrast to insulin’s origins: the

discoverers sold the original patent for $1 to ensure that the medication would remain

affordable. Today, insulin has become the poster child for pharmaceutical price gouging.

       10.     It has now become apparent that the reason behind the lockstep price

increases is a price fixing conspiracy between PBM and Manufacturer Defendants to create

a secret spread between the reported price for diabetic treatments (on which Harris

County’s payments are based) and the true net price of those same drugs. 9

       11.     This conspiracy between Manufacturer and PBM Defendants is at the root

of the instant complaint and referred to herein as the “Insulin Pricing Scheme.” 10

       12.     Both Manufacturer and PBM Defendants play vital roles and profit

immensely from the Insulin Pricing Scheme.

       13.     Given their market power and role in formulary and plan design, PBM

Defendants wield enormous control over drug purchasing behavior.



8 Indianapolis Business Journal, Lilly Insulin Prices Under Microscope, The Republic, Sept. 2.
2017, available at
http://www.therepublic.com/2017/09/03/lilly_insulin_prices_under_microscope/#:~:targetT
ext=Lilly%20launched%20Humalog%20in%201996,month's%20supply%20for%20many%20p
atients.&targetText=Instead%2C%20the%20company%20said%2C%20they,negotiate%20drug
%20prices%20for%20insurers; see also Table 1 of this Complaint.
9 For the purposes of this Complaint, “net price” refers to Manufacturer Defendants’ reported

price minus all payments made by Manufacturer Defendants to PBM Defendants.
10 The diabetes medications at issue in this case are Eli Lilly’s Humulin N, Humulin R, Humalog,

Trulicity and Basaglar; Sanofi’s Lantus, Toujeo, Soliqua and Apidra; and Novo Nordisk’s Novolin
R, Novolin N, Novolog, Levemir, Tresiba, Victoza and Ozempic. All of these drugs are insulins,
except Trulicity, Victoza and Ozempic, which are non-insulin medications used in conjunction
with insulins to treat Type 2 diabetes. While these drugs are clinically different than insulins, the
relevant facts in this Complaint regarding Defendants’ fraudulent pricing scheme apply equally to
Trulicity, Victoza and Ozempic. For the purposes of this Complaint, the Insulin Pricing Scheme
includes the non-insulin drugs Trulicity, Victoza and Ozempic.


                                                 4
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 8 of 156



       14.    PBM Defendants represent both publicly and to their clients that they use

their market power to drive down prices for diabetes medications by forcing

manufacturers to compete on price for formulary placement.

       15.     This representation is patently false. Instead, PBM Defendants exploit their

market power to cause substantial increases in the price of diabetes medications in order

to create massive profits for themselves and Manufacturer Defendants—entirely at the cost

of consumers and employers, such as Harris County, who provide employee health

benefits.

       16.    To gain formulary access, Manufacturer Defendants artificially and willingly

raise their reported prices, and then secretly refund a significant portion of that price back

to PBM Defendants. These refunds are provided under a variety of labels—rebates,

discounts, credits, concession fees, etc. 11 But, however they are described, they are a quid

pro quo for formulary inclusion.

       17.    PBMs then grant formulary status based upon the highest inflated price and

the largest refund amount.

       18.    This Insulin Pricing Scheme creates a “best of both worlds” scenario for

Defendants. Manufacturer Defendants are able to make these secret payments to buy

preferred formulary position—which significantly increases their revenue—without

sacrificing their profit margins. PBM Defendants profit from the inflated reported price

by: (1) retaining a significant percentage of Manufacturer Defendants’ payments; (2)




11In the context of this Complaint, the terms “refunds” and “rebates” are defined as all payments
or financial benefits of any kind conferred by the Manufacturer Defendants to PBM Defendants,
either directly via contract or indirectly via Manufacturer-controlled intermediaries. By way of
example, “refunds” and “rebates” includes rebates, administrative fees, volume discounts, price
or margin guarantees and any other form of consideration exchanged.


                                               5
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 9 of 156



pocketing an additional pricing spread between what a health plan pays the PBM for an

insulin script based on this inflated price and a lower price that the PBM reimburses the

pharmacy for the same drug (“Pharmacy Spread”); and (3) diverting sales to their

profitable mail order pharmacies.

       19.    The Insulin Pricing Scheme has resulted in record profits for Defendants at

the expense of Plaintiff Harris County.

       20.    Harris County now spends more money on diabetes medications than for

medications related to any other disease.

       21.    In 2015 alone, the amount that Harris County spent on diabetes medications

increased over 60% from the previous year.

       22.    Since 2013, Harris County has spent more than $27 million on the at issue

diabetes medications. 12

       23.    A substantial portion of this $27 million is attributable to Defendants’

inflated prices that did not arise from transparent market forces, but rather from the secret

dealings between Manufacturer and PBM Defendants—the Insulin Pricing Scheme

described herein.

       24.    This action alleges that Defendants violated the Racketeer Influenced And

Corrupt Organizations Act, the Sherman Act, the Texas Free Enterprise and Antitrust Act,

the Texas Deceptive Trade Practices Act and various Texas common laws by engaging in

the Insulin Pricing Scheme. This scheme directly and foreseeably caused and continues to

cause harm to Harris County, as well as harm to competition in the insulin market.



12See Appendix A attached hereto for a chart detailing Harris County’s spends on the at issue
drugs from 2013-2018. To note, 2013-2018 is only a subset of the damages period alleged in this
Complaint.


                                              6
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 10 of 156



       25.     This action seeks damages, damage multipliers, attorneys’ fees, costs and

injunctive relief to address and abate the harm caused by the Insulin Pricing Scheme.

       26.     The relevant period for damages alleged in this Complaint is from 2003

continuing through the present.

                                      II.   PARTIES

             Plaintiff

       27.     Plaintiff, Harris County, is a body corporate and politic under the laws

of the State of Texas.

       28.     The Harris County government serves its almost five (5) million residents by

providing vital services throughout the County. As a large government employer, Harris

County provides health benefits to approximately 38,000 employees, retirees and their

dependents (“Beneficiaries”). One of the benefits that Harris County offers its Beneficiaries

is subsidizing their purchases of the pharmaceutical drugs, including diabetes

medications, they need to survive. Harris County also purchases diabetes medications to

administer directly to inmates in Harris County jails.

       29.     As detailed in Appendix A, Harris County spends millions of dollars every

year on the at issue drugs.

       30.     Any increase in spending can have a detrimental effect on Harris County’s

overall budget and, in turn, negatively impact its ability to provide necessary services to

the community.

       31.     The Insulin Pricing Scheme has had such an effect.




                                             7
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 11 of 156



             Manufacturer Defendants

       32.    Defendant Eli Lilly and Company (“Eli Lilly) is a corporation

organized and existing under the laws of the State of Indiana and has a principal place of

business at Lilly Corporate Center, Indianapolis, Indiana 46285.

       33.    Eli Lilly may be served through its registered agent: National Registered

Agents, Inc., 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

       34.    In Texas and nationally, Eli Lilly manufactures, promotes and distributes

several diabetes medications paid for by Plaintiff and at issue in this case: Humulin N,

Humulin R, Humalog, Trulicity and Basaglar.

       35.    Eli Lilly’s global revenues in 2018 were $3.2 billion from Trulicity, $2.99

billion from Humalog, $1.33 billion from Humulin and $801 million from Basaglar. 13

       36.    Eli Lilly’s global revenues in 2017 were $2.03 billion from Trulicity, $2.85

billion from Humalog, $1.33 billion from Humulin and $432 million from Basaglar. 14

       37.    Eli Lilly transacts business in Texas, targeting the Harris County market for

its products, including the diabetes medications at issue in this lawsuit.

       38.    Eli Lilly employs sales representatives throughout Texas, including in Harris

County, to promote and sell Humulin N, Humulin R, Humalog, Trulicity and Basaglar. For

example, Eli Lilly recently advertised online that it was seeking sales representatives in its

diabetes primary care division to service Houston, Texas and the surrounding

communities. 15




13 Eli Lilly, Annual Report (Form 10-K) (Dec. 31, 2018).
14 Id.
15 See

https://careers.lilly.com/business/custom_fields.multipleregion/north%20america/410/5.


                                              8
      Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 12 of 156



          39.    Eli Lilly also directs advertising and informational materials to Harris

County physicians and potential users of Eli Lilly’s products.

          40.    At all times relevant hereto, Eli Lilly published its reported prices of its

diabetes medications at issue in this lawsuit throughout the United States and Texas,

including in Harris County.

          41.    Between 2013-2018 alone (a subset of the total damages period at issue),

Harris County spent over $11.9 million on Eli Lilly’s at issue drugs.

          42.    Defendant Sanofi-Aventis U.S. LLC (“Sanofi”) is a Delaware limited

liability company with its principal place of business at 55 Corporate Drive, Bridgewater,

New Jersey 08807.

          43.    Sanofi may be served through its registered agent: Corporation Service

Company DBS CSC – Lawyers Incorporating Service Company, 211 East 7th Street, Suite

620, Austin, Texas 78701.

          44.    Sanofi manufactures, promotes and distributes pharmaceutical drugs both

in Texas and nationally, including insulins and diabetes medications paid for by Plaintiff

and at issue in this case: Lantus, Toujeo, Soliqua and Apidra.

          45.    Sanofi’s global revenues in 2018 were $3.9 billion from Lantus, $923 million

from Toujeo, $389 million from Apidra and $79 million for Soliqua. 16

          46.    Sanofi’s global revenues in 2018 were $5.08 billion from Lantus and $896

million from Toujeo, $414 million from Apidra and $28.5 million from Soliqua. 17

          47.    Sanofi transacts business in Texas, targeting the Harris County market for

its products, including the diabetes medications at issue in this lawsuit.


16   Sanofi, Annual Report (Form 20-F) (Dec. 31, 2018).
17   Id.


                                                 9
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 13 of 156



       48.   Sanofi employs sales representatives throughout Texas, including in Harris

County, to promote and sell Lantus, Toujeo, Soliqua and Apidra. For example, Sanofi

recently advertised online that it was seeking Diabetes Specialty Sales Representatives in

Texas. 18

       49.   Sanofi also directs advertising and informational materials to Texas

physicians and potential users of Sanofi’s products.

       50.   At all times relevant hereto, Sanofi published its reported prices of its

diabetes medications at issue in this lawsuit throughout the United States and Texas,

including in Harris County.

       51.   Between 2013-2018 alone (a subset of the total damages period at issue),

Harris County spent over $6.6 million on Sanofi’s at issue drugs.

       52.   Defendant Novo Nordisk Inc. (“Novo Nordisk”) is a Delaware

corporation. Its headquarters are at 800 Scudders Mill Road, Plainsboro, New Jersey

08536.

       53.   Novo Nordisk may be served through its registered agent: CT Corporation

System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

       54.   Novo Nordisk manufactures, promotes and distributes pharmaceutical

drugs both in Texas and nationally, including insulins and diabetic medications paid for

by Plaintiff and at issue in this case: Novolin R, Novolin N, Novolog, Levemir, Tresiba,

Victoza and Ozempic.




18 See https://jobs.sanofi.us/search-jobs/texas/Texas%2C%20US/507-18104/1/3/6252001-

4736286/31x25044/-99x25061/50/2.


                                            10
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 14 of 156



       55.    Novo Nordisk’s global revenues in 2018 were $4.19 billion from Novolog,

$1.66 billion from Levemir, $1.19 billion from Tresiba and $3.61 billion from Victoza. 19

       56.    Nordisk’s global revenues in 2017 were $1.65 billion from Novolog, $1.05

billion from Levemir, $781.4 million from Tresiba and $2.68 billion from Victoza. 20

       57.    Novo Nordisk transacts business in Texas, targeting the Harris County

market for its products, including the diabetes medications at issue in this lawsuit.

       58.    Novo Nordisk employs sales representatives throughout Texas, including in

Harris County, to promote and sell Novolin R, Novolin N, Novolog, Levemir, Tresiba,

Victoza and Ozempic. For example, Novo Nordisk recently advertised online that it was

seeking Pharma Field Sales—Diabetes Care Specialists in Texas. 21

       59.    Novo Nordisk also directs advertising and informational materials to Texas

physicians and potential users of Novo Nordisk’s products.

       60.    At all times relevant hereto, Novo Nordisk published its reported prices of

its diabetes medications at issue in this lawsuit throughout the United States and Texas,

including in Harris County.

       61.    Between 2013-2018 alone (a subset of the total damages period at issue),

Harris County spent over $8.9 million on Novo Nordisk’s at issue drugs.

       62.    Collectively, Defendants Eli Lilly, Novo Nordisk and Sanofi are referred to as

“Manufacturer Defendants.”




19 Novo Nordisk, Annual Report (Form 20-F) (Dec. 31, 2018).
20 Novo Nordisk, Annual Report (Form 20-F) (Dec. 31, 2017).
21 See https://www.novonordisk-

jobs.com/search/?createNewAlert=false&q=&locationsearch=texas.


                                            11
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 15 of 156



               PBM Defendants

         63.    Defendant CVS Health Corporation (“CVS Health”) is a corporation

organized under the laws of Delaware and headquartered at One CVS Drive, Woonsocket,

Rhode Island 02895. CVS Health transacts business and has locations throughout the

United States and Texas.

         64.    CVS Health may be served through its registered agent: The Corporation

Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware

19801.

         65.    Defendant Caremark Rx, L.L.C. is a Delaware limited liability company

and an immediate or indirect parent of many subsidiaries, including pharmacy benefit

management and mail order subsidiaries. Caremark Rx, L.L.C. is a subsidiary of Defendant

CVS Health and its principal place of business is at the same location as CVS Health.

         66.    Caremark Rx, L.L.C. may be served through its registered agent: The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington,

Delaware 19801.

         67.    Defendant Caremark L.L.C. is a California limited liability company

whose principal place of business is at the same location as CVS Health. Caremark, L.L.C.

is a subsidiary of CVS Health. Caremark, L.L.C. is also the direct or indirect parent of

dozens of limited liability companies all over the U.S. that provide mail-order pharmacy

services in the U.S. and in Texas.

         68.    Caremark L.L.C. may be served through its registered agent: CT Corporation

System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.




                                             12
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 16 of 156



       69.    Defendant CaremarkPCS Health, L.L.C. is a Delaware limited liability

company whose principal place of business is at the same location as CVS Health. CVS

Health is the direct or indirect parent company of CaremarkPCS Health LLC.

       70.    CaremarkPCS Health LLC, doing business as CVS Caremark, provides

pharmacy benefit management services and has been registered to do business in Texas

since at least 2009.

       71.    CaremarkPCS Health, L.L.C. may be served through its registered agent: CT

Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

       72.    Defendant Caremark Texas Mail Pharmacy, LLC, doing business as

CVS Caremark, is a Texas limited liability company whose principal place of business is at

the same location as CVS Health.

       73.    Caremark Texas Mail Pharmacy, LLC may be served through its registered

agent: CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

       74.    Caremark Texas Mail Pharmacy, LLC is licensed with the Texas Board of

Pharmacy and is registered with the Drug Enforcement Administration (“DEA”) to

dispense controlled substances, including diabetes medications.

       75.    Collectively, Defendants CVS Health Corporation, Caremark Rx, L.L.C.,

Caremark, L.L.C., CaremarkPCS Health, L.L.C and Caremark Texas Mail Pharmacy, LLC

are referred to as “CVS Caremark.”

       76.    CVS Caremark is named as a defendant in its capacities as a PBM and mail

order pharmacy.

       77.    In its capacity as a PBM, CVS Caremark negotiates on behalf of health plans

and insurers with Novo Nordisk, Eli Lilly and Sanofi regarding the price of diabetes




                                           13
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 17 of 156



medications, as well as for the placement of these firms’ diabetes medications on CVS

Caremark’s drug formularies.

       78.    CVS Caremark filled or managed approximately 1.9 billion prescriptions

during the year ending December 31, 2018. 22

       79.    CVS Caremark has the largest PBM market share based on total prescription

claims managed, representing 36% of the market. 23 CVS Caremark’s pharmacy services

segment, which includes PBM activities, but not its retail/long-term care segment,

generated $120 billion in total revenues last year. 24

       80.    CVS Caremark describes its PBM business as follows:

       [CVS Caremark’s] formularies provide recommended products in numerous
       drug classes to help ensure member access to clinically appropriate drugs
       with alternatives within a class under the client’s pharmacy benefit plan,
       while helping to drive the lowest net cost for clients that select one
       of [CVS Caremark’s] formularies. 25

       81.    At all times relevant hereto, CVS Caremark derived substantial revenue

providing pharmacy benefits in Texas, including in Harris County.

       82.    At all times relevant hereto, CVS Caremark derived substantial revenue

providing mail order pharmacy services in Texas, including in Harris County.

       83.    At all times relevant hereto, CVS Caremark offered pharmacy benefit

management services nationwide and maintained a national formulary or formularies that

are used nationwide, including in Texas and Harris County. At all times relevant hereto,


22 CVS Caremark Annual Report (Form 10-K) (Dec. 31, 2018).
23 National Community Pharmacists Association, PBM Resources,
http://www.ncpanet.org/advocacy/thetools/pbm-resources.
24 Ed Kaplan & Wendy Pongracz, Negotiating and Drafting Pharmacy Benefit Manager

Contracts       for      Self-Insured    Plans,      Strafford    (June     21,     2016),
http://media.straffordpub.com/products/negotiating-and-drafting-pharmacy-benefit-manager-
contracts-for-self-funded-plans-2016-06-21/presentation.pdf.
25 CVS Caremark, Annual Report (Form 10-K) (Dec. 31, 2018).




                                              14
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 18 of 156



those formularies included diabetes medications, including those at issue in this

Complaint.

       84.     At all times relevant hereto, CVS Caremark dispensed diabetes medications,

including diabetes medications at issue in this Complaint, nationwide and in Texas,

including in Harris County, through its mail order pharmacies.

       85.    Defendant Express Scripts Holding Company is a Delaware

corporation. Its principal place of business is at 1 Express Way, St. Louis, Missouri 63121.

       86.    Express Scripts Holding Company may be served through its registered

agent: The Corporation Trust Company, Corporation Trust Center, 1209 Orange Street,

Wilmington, Delaware 19801.

       87.    Defendant Express Scripts, Inc. is a corporation organized under the

laws of Delaware and headquartered at 1 Express Way, St. Louis, Missouri 63121.

       88.    Express      Scripts,    Inc. may     be   served   through   its   registered

agent: Corporation Service Company DBS CSC – Lawyers Incorporating Service

Company, 211 East 7th Street, Suite 620, Austin, Texas 78701.

       89.    Defendant ESI Mail Pharmacy Service, Inc. is a Delaware corporation

with its principal place of business in St. Louis, Missouri.

       90.    Defendant ESI Mail Pharmacy Service, Inc. may be served through its

registered agent: Corporation Service Company, 251 Little Falls Drive, Wilmington,

Delaware 19808.

       91.    ESI Mail Pharmacy Services, Inc. is licensed as an out-of-state prescription

drug distributor with the Texas Department of State Health Services.

       92.    Defendant Express Scripts Pharmacy, Inc. is a Delaware corporation

with its principal place of business in St. Louis, Missouri.


                                             15
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 19 of 156



       93.    Defendant Express Scripts Pharmacy, Inc. may be served through its

registered agent: Corporation Service Company DBS CSC – Lawyers Incorporating Service

Company, 211 East 7th Street, Suite 620, Austin, Texas 78701.

       94.    Defendants Express Scripts, Inc., ESI Mail Pharmacy Service, Inc. and

Express Scripts Pharmacy, Inc. are subsidiaries of Defendant Express Scripts Holdings

Company.

       95.    Collectively, Defendant Express Scripts, Inc., Defendant Express Scripts

Holding Company, Defendant ESI Mail Pharmacy Service, Inc. and Defendant Express

Scripts Pharmacy, Inc. are referred to as “Express Scripts.”

       96.    Express Scripts is named as a defendant in its capacities as a PBM and mail

order pharmacy.

       97.    In its capacity as a PBM, Express Scripts negotiates on behalf of health plans

and insurers with Novo Nordisk, Eli Lilly and Sanofi regarding the purchase price of

diabetes medications, as well as for the placement of these firms’ diabetes medications on

the PBM’s drug formularies.

       98.    Prior to merging with Cigna in 2019, Express Scripts was the largest

independent PBM in the United States. 26 During the relevant period of this Complaint,

Express Scripts controlled 30% of the PBM market. 27

       99.    In 2017, annual revenue for Express Scripts was over $100 billion. 28




26 Express Scripts, Annual Report (Form 10-K) (Dec. 31, 2017).
27 See supra note 23.
28 See supra note 26.




                                              16
      Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 20 of 156



           100.   As of December 31, 2018, more than 68,000 retail pharmacies, representing

over 98% of all retail pharmacies in the nation, participated in one or more of Express

Scripts’ networks. 29

           101.   Express Scripts transacts business throughout the United States and Texas,

including in Harris County.

           102.   Express Scripts describes its PBM business as follows:

           Our core PBM services involve management of prescription drug utilization
           to drive high quality, cost-effective pharmaceutical care. We consult
           with clients to assist in the selection of plan design features that balance
           clients’ requirements for cost control with member choice and
           convenience. We focus our solutions to enable better decisions in four
           important and interrelated areas: benefit choices, drug choices, pharmacy
           choices and health choices. As a result, we believe we deliver healthier
           outcomes, higher member satisfaction and a more affordable
           prescription drug benefit. 30

           103.   At all times relevant hereto, Express Scripts derived substantial revenue

providing pharmacy benefits in Texas, including in Harris County.

           104.   At all times relevant hereto, Express Scripts derived substantial revenue

providing mail order pharmacy services in Texas, including in Harris County.

           105.   At all times relevant hereto, Express Scripts offered pharmacy benefit

management services nationwide and maintained a national formulary or formularies that

are used nationwide, including in Texas and Harris County. At all times relevant hereto,

those formularies included diabetes medications, including those at issue in this

Complaint.




29   Id.
30   Id.


                                               17
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 21 of 156



         106.   At all times relevant hereto, Express Scripts dispensed diabetes medications,

including diabetes medications at issue in this Complaint, nationwide and in Texas,

including in Harris County, through its mail order pharmacies.

         107.   Defendant OptumRx, Inc. is a corporation organized under the laws of

California and headquartered at 2300 Main St., Irvine, California, 92614.

         108.   OptumRx, Inc. may be served through its registered agent: CT Corporation

System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

         109.   OptumRx, Inc. operates as a subsidiary of OptumRx Holdings, LLC, which

in turn operates as a subsidiary of Optum, Inc.

         110.   Optum Rx has been registered to do business in Texas since at least 2010.

         111.   OptumRx has several mail-order locations licensed with the Texas Board of

Pharmacy and registered with the DEA to dispense controlled substances, including

diabetes medications.

         112.   Defendant Optum, Inc., is a Delaware corporation with its principal place

of business located in Eden Prairie, Minnesota. Optum, Inc. is a health services company

managing subsidiaries that administer pharmacy benefits, including OptumRx, Inc.

         113.   Optum, Inc. may be served through its registered agent: The Corporation

Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware

19801.

         114.   Collectively, Defendants OptumRx, Inc. and Optum, Inc. are referred to as

“OptumRx.”

         115.   OptumRx is named as a defendant in its capacities as a PBM and mail order

pharmacy.




                                              18
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 22 of 156



        116.    OptumRx is a pharmacy benefit manager and, as such, negotiates on behalf

of health plans and insurers with Novo Nordisk, Eli Lilly and Sanofi for the purchase price

of the diabetes medications, as well as for the placement of the firms’ diabetes medications

on the PBM’s drug formularies.

        117.    OptumRx provides pharmacy care services to more than 65 million people

in the nation through a network of more than 67,000 retail pharmacies and multiple

delivery facilities. 31

        118.    In 2018, OptumRx managed more than $91 billion in pharmaceutical

spending, representing 23% of the market. 32 OptumRx’s 2018 revenue was $69 billion. 33

        119.    OptumRx describes its PBM business as follows:

        OptumRx is a pharmacy care services company helping clients and more
        than 66 million members achieve better health outcomes and lower
        overall costs through innovative prescription drug benefits
        management services, including network claims processing, clinical
        programs, formulary management and specialty pharmacy care. 34

        120.    At all times relevant hereto, OptumRx derived substantial revenue providing

pharmacy benefits in Texas, including in Harris County.

        121.    At all times relevant hereto, OptumRx derived substantial revenue through

its mail order pharmacies in Texas, including in Harris County.

        122.    At all times relevant hereto, OptumRx offered pharmacy benefit

management services nationwide and maintained a national formulary or formularies that



31 United Healthcare/OptumRx Annual Report (Form 10-K) (Dec. 31, 2018).
32 See supra note 23.
33 Id.

34 UnitedHealth Group, OptumRx Opioid Risk Management Program Leads to Better Outcomes

for Patients and Clients (Aug. 22, 2017),
https://www.unitedhealthgroup.com/newsroom/2017/0822opioidriskmanagement
programhtml.


                                             19
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 23 of 156



are used nationwide, including in Texas and Harris County. At all times relevant hereto,

those formularies included diabetes medications, including those at issue in this

Complaint.

         123.   At all times relevant hereto, OptumRx dispensed diabetes medications,

including diabetes medications at issue in this Complaint, nationwide and in Texas,

including in Harris County, through its mail order pharmacies.

         124.   Aetna Rx Home Delivery, LLC was formed under the laws of Delaware

with its principal place of business located in Hartford, CT.

         125.   Aetna Rx Home Delivery, LLC may be served through its registered agent:

CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

         126.   Aetna Pharmacy Management Services, LLC was formed under the

laws of Delaware, with its principal place of business located in Hartford, CT. Aetna

Pharmacy Management Services, LLC is a wholly owned subsidiary of CVS Health.

         127.   Aetna Pharmacy Management Services, LLC may be served through its

registered agent: CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas

75201.

         128.   Collectively, Aetna Rx Home Delivery, LLC and Aetna Pharmacy

Management Services, LLC are referred to as “Aetna Rx.”

         129.   Aetna Rx is named as a defendant in its capacities as a PBM and mail order

pharmacy.

         130.   In its capacity as a PBM, Aetna Rx negotiates on behalf of health plans and

insurers with Novo Nordisk, Eli Lilly and Sanofi for the purchase price of the diabetes

medications, as well as for the placement of the firms’ diabetes medications on Aetna Rx’s

drug formularies.


                                             20
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 24 of 156



       131.     At all times relevant hereto, Aetna Rx derived substantial revenue providing

pharmacy benefit services in Texas to health plans, including in Harris County.

       132.     At all times relevant hereto, Aetna Rx derived substantial revenue through

its mail order pharmacies in Texas, including in Harris County.

       133.     At all times relevant hereto, Aetna Rx offered pharmacy benefit management

services nationwide and maintained a national formulary or formularies that are used

nationwide, including in Texas and in Harris County. At all times relevant hereto, those

formularies included diabetes medications, including those at issue in this Complaint.

       134.     At all times relevant hereto, Aetna Rx dispensed diabetes medications,

including diabetes medications at issue in this Complaint, nationwide and in Texas,

including in Harris County, through its mail order pharmacies.

       135.     Collectively, CVS Caremark, Optum Rx, Express Scripts and Aetna Rx are

referred to as “PBM Defendants.”

                          III.   JURISDICTION AND VENUE

              Subject Matter Jurisdiction

       136.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

because Plaintiff’s claims arise under federal law and under 18 U.S.C. § 1964(c) because

this action alleges violations of the Racketeer Influenced and Corrupt Organizations Act,

18 U.S.C. § 1962. Further, this Court has subject matter jurisdiction pursuant to 28 U.S.C.

§ 1337 because this action alleges violations of an Act of Congress regulating commerce or

protecting trade and commerce against restraints and monopolies. Likewise, 15 U.S.C. § 4

and § 16 confer subject matter jurisdiction on this Court over claims brought under the

Sherman Act. This Court also has supplemental jurisdiction over the state law claims in

this action pursuant to 28 U.S.C. § 1367.


                                             21
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 25 of 156



              Personal Jurisdiction

       137.      This Court has personal jurisdiction over each Defendant. Each Defendant

has transacted business, maintained substantial contacts, reported false prices and/or

committed overt acts in furtherance of the illegal scheme and conspiracy throughout the

United States and Texas, including in this District. The scheme and conspiracy has been

directed at, and has had the intended effect of, causing injury to persons and local

governments residing in, located in, or doing business throughout the United States and

Texas, including in this District. This Court also has personal jurisdiction over all

Defendants pursuant to Fed. R. Civ. P. 4(k)(1)(A) because they would be subject to the

jurisdiction of a court of general jurisdiction in Texas.

       138.      This Court also has personal jurisdiction over all defendants under 18

U.S.C. § 1965(b). This Court may exercise nationwide jurisdiction over the named

Defendants where the “ends of justice” require national service and Plaintiff demonstrates

national contacts. Here, the interests of justice require that Plaintiff be allowed to bring all

members of the nationwide RICO enterprise before the Court in a single trial.

              Venue

       139.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and (c),

because each Defendant transacts business in, is found in, and/or has agents in this

District, and because some of the actions giving rise to the Complaint took place within

this District. In particular, at all times during the relevant time period, Defendants

provided pharmacy benefit services, provided mail order pharmacy services, employed

sales representatives, promoted and sold diabetes medications and published prices of the

at issue drugs in this District.




                                              22
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 26 of 156



       140.     Venue is also proper in this District pursuant to 18 U.S.C. § 1965, because all

Defendants reside, are found, have an agent or transact their affairs in this District, and

the ends of justice require that any Defendant residing elsewhere be brought before this

Court. Venue is also proper in this District pursuant to 15 U.S.C. § 22 because all

Defendants inhabit, are found, have an agent or transact business in this District.

                            IV.     FACTUAL ALLEGATIONS

              Diabetes and Insulin Therapy

                                Diabetes: A Growing Epidemic

       141.     Diabetes is a disease that occurs when a person’s blood glucose, also called

blood sugar, is too high. In a non-diabetic person, the pancreas secretes the hormone

insulin, which controls the rate at which food is converted to glucose, or sugar, in the blood.

When there is not enough insulin or cells stop responding to insulin, too much blood sugar

stays in the bloodstream. Over time, that can cause serious health problems, such as heart

disease, vision loss and kidney disease. 35

       142.     There are two basic types of diabetes. Roughly 90-95% of diabetics

developed the disease because they do not produce enough insulin or have become

resistant to the insulin their bodies do produce. 36 Known as Type 2, this more common

form of diabetes is often developed later in life. While Type 2 patients can initially be

treated with tablets, in the long term most patients have to switch to insulin injections. 37




35 Centers for Disease Control and Prevention, Diabetes?,
https://www.cdc.gov/media/presskits/aahd/diabetes.pdf.
36 Id.

37 Id.




                                               23
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 27 of 156



       143.    Type 1 diabetes occurs when a patient completely ceases insulin

production. 38 In contrast to Type 2 patients, people with Type 1 diabetes do not produce

any insulin and, without regular injections of insulin, they will die.

       144.    Interruptions    to   a    diabetic’s   insulin   regimen   can   have     severe

consequences. 39 Missed or inadequate insulin therapy can trigger hyperglycemia and then

diabetic ketoacidosis. Left untreated, diabetic ketoacidosis can lead to loss of

consciousness and death within days.

       145.    Diabetes is the leading cause of blindness, kidney failure and lower limb

amputations and is the seventh leading cause of death in the United States despite the

availability of effective treatment. 40

       146.    The financial burden caused by diabetes is staggering. In 2017, the total

direct and indirect cost is estimated to be $327 billion, of which $237 billion represents

direct costs and $90 billion results from work-related absenteeism and reduced

productivity. 41 Excess costs associated with diabetic medications constitute 43% of the

total direct burden, including nearly $15 billion for insulin. 42




38 National Institute of Health, What is Diabetes (Nov. 2016),
https://www.niddk.nih.gov/health- information/diabetes/overview/what-is-diabetes.
39 Centers for Disease Control and Prevention, Diabetes?,

https://www.cdc.gov/media/presskits/aahd/diabetes.pdf.
40 Id.

41 Am. Diabetes Assoc., Economic Costs of Diabetes in the U.S. in 2017, March 22, 2018,

available at https://care.diabetesjournals.org/content/diacare/early/2018/03/20/dci18-
0007.full.pdf.
42 Id.




                                                24
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 28 of 156



       147.   The number of Americans with diabetes has exploded in the last half

century. 43 In 1958, only 1.6 million people in the United States had diabetes. 44 By the turn

of the century, that number had grown to over ten (10) million. 45 Fourteen (14) years later,

the count tripled again. Now over thirty (30) million people—9.4% of the country—live

with the disease. 46

                                  Insulin: A Century Old Drug

       148.   Despite its potentially deadly impact, diabetes is a highly treatable illness.

For patients who are able to follow a prescribed treatment plan consistently, the health

complications associated with the disease are avoidable.

       149.   Unlike many high-burden diseases, treatment for diabetes has been

available for almost a century.

       150.   In 1922, Frederick Banting and Charles Best pioneered a technique for

removing insulin from an animal pancreas that could then be used to treat diabetes. 47 After

discovery, Banting and Best obtained a patent and then sold it to the University of Toronto

for $1 each (equivalent of $14 today), explaining “[w]hen the details of the method of

preparation are published anyone would be free to prepare the extract, but no one could

secure a profitable monopoly.” 48




43 Center for Disease Control and Prevention, National Diabetes Statistics Report, 2017,
available at https://www.cdc.gov/diabetes/pdfs/data/statistics/national-diabetes-statistics-
report.pdf.
44 Id.

45 Id.

46 Id.

47 Valencia Higuera, Everything You Need to Know About Insulin, Healthline (Dec. 7, 2016),

http://www.healthline.com/health/type-2-diabetes/insulin.
48 M. Bliss, The Discovery of Insulin (2013).




                                              25
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 29 of 156



       151.    After purchasing the patent, the University of Toronto contracted with

Defendants Eli Lilly and Novo Nordisk to scale their production. Under this arrangement,

Eli Lilly and Novo Nordisk were allowed to apply for patents on variations to the

manufacturing process.

       152.    Although early iterations of insulin were immediately perceived as

lifesaving, 49 there have been numerous incremental improvements since its discovery. The

earliest insulin was derived from animals and, until the 1980s, was the only treatment for

diabetes. 50

       153.    While effective, animal-derived insulin created the risk of allergic reaction.

This risk was lessened in 1982 when synthetic insulin, known as human insulin, was

developed by Defendant Eli Lilly. 51 Eli Lilly marketed this insulin as Humulin.

       154.    Over a decade later, Eli Lilly released the first analog insulin.

       155.    Analog insulin refers to laboratory grown and genetically altered insulin.

Analogs are slight variations on human insulin to make the injected treatment act more

like the insulin naturally produced and regulated by the body.

       156.    Defendant Eli Lilly developed the first analog insulin, Humalog, in 1996.

       157.    Other rapid-acting analogs are Defendant Novo Nordisk’s Novolog and

Defendant Sanofi’s Apidra, with similar profiles. Diabetics use these rapid-acting insulins

in combination with longer-acting insulins, such as Sanofi’s Lantus and Novo Nordisk’s

Levemir.


49 Jeremy A. Greene & Kevin R. Riggs, Why Is There No Generic Insulin? Historical Origins of a
Modern Problem, 372 N. Eng. J. Med. 1171, 1172 (2015).
50 Irl B. Hirsch, MD, Changing Cost of Insulin Therapy in the U.S. (Mar. 6, 2016),

http://professional.diabetes.org/files/media/Changing_Cost_Insulin.pdf.
51 History of Insulin, Diabetes.co.uk (2007), http://www.diabetes.co.uk/insulin/history-of-

insulin.html.


                                              26
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 30 of 156



       158.    Manufacturer Defendants introduced these rapid-acting and long-acting

analog insulins between 1996 and 2007.

       159.    In 2015, Sanofi introduced Toujeo, another long-acting insulin also similar

to Lantus, however Toujeo is highly concentrated, making injection volume smaller than

Lantus.

       160.    In 2016, Eli Lilly introduced Basaglar, which is a long-acting insulin that is

biologically similar to Sanofi’s Lantus.

       161.    Even though insulin was first extracted nearly one-hundred (100) years ago,

only Defendants Eli Lilly, Novo Nordisk and Sanofi hold the patents in the United States

to manufacture insulin. 52

       162.    Manufacturer Defendants make 99% of the insulins in the market today. 53

                                  Current Insulin Landscape

       163.    While insulin today is generally safer and more convenient to use than when

originally developed in 1922, there remain questions whether the overall efficacy of insulin

has significantly improved over the last twenty (20) years.

       164.    For example, while long-acting analogs may have certain advantages over

human insulins, such as affording more flexibility around mealtime planning, it has yet to

be shown that analogs lead to better long-term outcomes. 54




52 See Greene, supra note 49.
53 D. Beran et al, A perspective on global access to insulin: a descriptive study of the market,
trade flows and prices, DIABETIC MED. 726, 726 (2019).
54 Id.; see also Riddle MC, Rosenstock J, Gerich J, Insulin Glargine 4002 Study Investigators. The

treat-to-target trial: randomized addition of glargine or human NPH insulin to oral therapy of
type 2 diabetic patients. Diabetes Care 2003.


                                               27
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 31 of 156



       165.   A recent study published in the Journal of American Medical Association

suggests that older human insulins may work just as well as newer analog insulins for

patients with Type 2 diabetes. 55

       166.   When discussing the latest iterations of insulins, Harvard Medical School

professor David Nathan recently stated:

       I don’t think it takes a cynic such as myself to see most of these [insulins] are
       being developed to preserve patent protection. The truth is they are
       marginally different, and the clinical benefits of them over the older drugs
       have been zero. 56

       167.   Moreover, all of the insulins at issue in this case have either been available

in the same form since the late 1990s/early 2000s or are biologically equivalent to insulins

that were available then.

       168.   In addition, in the last ten (10) years, the production costs of insulin have

decreased as manufacturers simplified and optimized processes. A September 2018 study

published in BMJ Global Health calculated that based on production costs, a reasonable

price for a year’s supply of human insulin is $48 to $71 per person and between $78 and

$133 for analog insulins—which includes delivering a profit to manufacturers. 57 These

figures stand in stark contrast to the $5,705 that a diabetic spent, on average, for insulin

in 2016. 58



55 Jing Luo, MD, Nazleen F. Khan, MS, Thomas Manetti, MPH, Implementation of a Health Plan
Program for Switching from Analogue to Human Insulin and Glycemic Control Among
Medicare Beneficiaries with Type 2 Diabetes, AMA. 2019;321(4):374-384, January 29, 2019.
56 See Johnson, supra note 5.

57 Dzintars Gotham, Melissa J. Barber, Andrew Hill, Production Costs And Potential Prices For

Biosimilars Of Human Insulin And Insulin Analogues, BMJ Global Health, Vol. 3, Issue 5,
available at https://gh.bmj.com/content/3/5/e000850.
58 See Robin Respaut, U.S. Insulin Costs Per Patient Nearly Doubled From 2012 to 2016: Study,

Reuters Health News, January 22, 2019, available at https://www.reuters.com/article/us-usa-
healthcare-diabetes-cost/u-s-insulin-costs-per-patient-nearly-doubled-from-2012-to-2016-



                                              28
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 32 of 156



       169.    Further, while research and development costs often make up a large

percentage of the price of a drug, in the case of insulin the initial basic research—original

drug discovery and patient trials—was performed one-hundred (100) years ago.

       170.    Even the more recent costs, such as developing the recombinant DNA

fermentation process and the creation of insulin analogs, were incurred decades ago. 59

       171.    Despite this decrease in production costs and no new research and

development, the reported price of insulins has risen astronomically over the last fifteen

(15) years.

                          Insulin Adjuncts: Type 2 Medications

       172.    Over the past decade, Manufacturer Defendants have also released a number

of non-insulin medications that help control the level of insulin in the bloodstream of Type

2 diabetics.

       173.    In 2010, Novo Nordisk released Victoza as an adjunct to insulin to improve

glycemic control. In 2014, Eli Lilly released a similar drug, Trulicity, and in 2017, Novo

Nordisk did the same with Ozempic.

       174.    Victoza, Trulicity and Ozempic are all medications known as glucagon-like

peptide-1 receptor agonists (“GLP-1”) and are similar to the GLP-1 hormone that is already

produced in the body. Each of these drugs can be used in conjunction with insulins to

control diabetes.




study-idUSKCN1PG136#:~:targetText=A%20person%20with%20type%201,Care%20Cost%20
Institute%20(HCCI).
59 See Greene, supra note 49.




                                             29
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 33 of 156



      175.     Today, Manufacturer Defendants have a dominant position in the market for

all diabetes medications. The following is a list of diabetes medications at issue in this

lawsuit:

                Table 1: Diabetes medications at issue in this case
   Insulin          Action                                         FDA           Current
                                   Name             Company
    Type                                                         Approval    Reported Price
 Human          Rapid-Acting     Humulin R           Eli Lilly     1982     $178 (vial)

                               Humulin R 500         Eli Lilly     1982     $1,784 (vial)
                                                                            $689 (pen)

                                Novolin R             Novo         1991     $172 (vial)
                                                     Nordisk
                Intermediate     Humulin N           Eli Lilly     1982     $178 (vial)
                                                                            $566 (pen)

                               Humulin 70/30         Eli Lilly     1989     $178 (vial)
                                                                            $566 (pen)

                                  Novolin N           Novo         1991     $172 (vial)
                                                     Nordisk
 Analog         Rapid-Acting      Humalog            Eli Lilly     1996     $350 (vial)
                                                                            $636 (pen)

                                  Novolog             Novo         2000     $347 (vial)
                                                     Nordisk                $671 (pen)

                                   Apidra            Sanofi        2004     $341 (vial)
                                                                            $658 (pen)
                Long-Acting        Lantus            Sanofi        2000     $ 340 (vial)
                                                                            $510 (pen)

                                  Levemir             Novo         2005     $ 370 (vial)
                                                     Nordisk                $ 555 (pen)

                                   Basaglar          Eli Lilly     2016     $392 (pen)
                                  (Kwikpen)

                                    Toujeo           Sanofi        2015     $466 (pen)
                                  (Solostar)                                $622 (max pen)

                                   Tresiba            Novo         2015     $610 (pen – 100u)
                                 (FlexTouch)         Nordisk                $732 (pen – 200u)
 Type 2                            Trulicity         Eli Lilly     2014     $911.28 (pen)
 Medications
                                   Victoza            Novo         2010     $774 (2 pens)
                                                     Nordisk                $1,161 (3 pens)

                                  Ozempic             Novo         2017     $973 (pen)
                                                     Nordisk
                                   Soliqua           Sanofi        2016     $883 (pen)



                                               30
      Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 34 of 156



                 The Dramatic Rise in the Price of Diabetes Medications

          176.     The Medicare Modernization Act in 2003 installed PBMs as intermediaries

to the newly expanded Medicare drug benefit program and, consequently, helped set off

PBM Defendants’ rise to power (which will be discussed in greater detail in the next

section).

          177.     That same year, the price of insulin began its dramatic rise to its current

exorbitant prices.

          178.     Since 2003, the reported price of certain insulins has increased in some

cases by more than 1000%; an astounding increase especially when compared to a

general inflation rate of 8.3% and a medical inflation rate of 46% in this time period. 60

          179.     By 2016, the average price per month of the four most popular types of

insulin rose to $450 — and costs continue to rise, so much so that as many as one in four

people with diabetes are now skimping on or skipping lifesaving doses. 61

          180.     Since 1999, Defendant Eli Lilly has raised the price of a vial of Humulin R

(500U/ML) from $165 to $1784 (See Figure 2).




60   See Hirsch, supra note 7.
61https://www.nytimes.com/2019/04/03/health/drug-prices-insulin-express-scripts.html.




                                                31
      Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 35 of 156



Figure 2: Rising reported prices of Humulin R (500U/ML) from 1999-2019 62




          181.   Since 2008, Defendant Eli Lilly has raised the reported price for a package

of pens of Humalog from less than $200 to $663 and from less than $100 for a box of

cartridges to $343 (See Figure 3).




62   Eli Lilly did not report the price of Humulin R to all publishing compendiums from 2008-2014.


                                                 32
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 36 of 156



Figure 3: Rising reported prices of Humalog vials and pens from 2008-2019




      182.   Novo Nordisk has also increased its prices—from 2007 to 2018 Levemir rose

from $155 to $430 for pens and from under $100 to $367 per vial (See Figure 4).




                                          33
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 37 of 156



             Figure 4: Rising reported prices of Levemir 2006-2019




      183.    From 2007 to 2018, Novo Nordisk raised the price of Novolog from $160 to

$698 for a package of pens and from less than $100 to $362 for a vial (See Figure 5).




                                           34
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 38 of 156



Figure 5: Rising reported prices of Novolog vials and pens from 2006-2019




      184.   Defendant Sanofi has kept pace as well, increasing the reported prices for

Lantus, the top-selling analog insulin, from less than $200 in 2006 to over $500 in 2019

for a package of pens and from less than $100 to $340 for a vial (See Figure 6).




                                            35
      Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 39 of 156



     Figure 6: Rising reported prices of Lantus vials and pens from 2006-2019




          185.   Manufacturer Defendants’ non-insulin medications have experienced

similar recent price increases. For example, since 2015 Eli Lilly has increased the price of

Trulicity almost 50%.

          186.   Driven by these price hikes, health plan spending on diabetes medications,

and insulins in particular, has skyrocketed with totals in the tens of billions of dollars.

According to the Journal of the American Medical Association, more money is spent per

patient on insulin than all other diabetes medications combined. 63




63   Johnson, supra note 5.


                                              36
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 40 of 156



              Defendant Manufacturers Have Increased Prices in Lockstep

       187.   The timing of the price increases reveal that each Manufacturer Defendant

has not only dramatically increased reported prices for diabetes treatments, they have

acted in collusion by raising prices in perfect lockstep.

       188.   In thirteen (13) instances since 2009, competitors Sanofi and Novo Nordisk

raised the reported prices of their insulins, Lantus and Levemir, in tandem, “taking the

same price increase down to the decimal point within a few days of each other.” 64

       189.   This practice of increasing drug prices in lockstep with competitors is known

as “shadow pricing” and, as one healthcare analyst put it: “is pretty much a clear signal

that your competitor does not intend to price-compete with you.” 65

       190.   In 2016, Novo Nordisk and Sanofi’s lockstep increases were responsible for

the highest reported drug price increases in the entire pharmaceutical industry.

       191.   Eli Lilly and Novo Nordisk have engaged in the same lockstep behavior with

respect to their rapid-acting analog insulins, Humalog and Novolog. Figure 7

demonstrates this collusive behavior with respect to Lantus and Levemir. Figure 8

demonstrates this behavior with respect to Novolog and Humalog.




64 Robert Langreth, Hot Drugs Show Sharp Price Hikes in Shadow Market, Bloomberg (May 6,
2015).
65 Id.




                                              37
Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 41 of 156



        Figure 7: Rising reported prices of long-acting insulins




       Figure 8: Rising reported prices of rapid-acting insulins




                                  38
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 42 of 156



       192.     Figure 9 shows how, collectively, Manufacturer Defendants have

exponentially raised the reported prices of insulin products in near perfect unison.

              Figure 9: Rising insulin reported prices from 2000-2015




       193.     Because of Manufacturer Defendants’ collusive price increases, nearly a

century after the discovery of insulin the price of diabetes medications has become

unaffordable for many diabetics.

       194.     Governmental entities, like Harris County, who purchase diabetes

medications through their health plans and to be administered directly in government-run

facilities, have been burdened with paying these skyrocketing prices.

       195.     In most cases, health plans are paying for nearly identical drugs that were

available fifteen to twenty years ago, only now they are paying up to 1000% more.

       196.     While the reported price for diabetes medications has increased

exponentially, the net price tellingly has not.

       197.     The gap between these two prices—and Defendants’ ability to manipulate

this pricing disconnect—is a critical element to the Insulin Pricing Scheme and will be

discussed in greater detail below. However, to understand the Insulin Pricing Scheme first




                                              39
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 43 of 156



requires an understanding of how diabetes medications are distributed and priced in the

United States.

                PBMs and the Pharmaceutical Payment and Supply Chain

                             Drug Payment and Distribution Chain

         198.    The prescription drug industry consists of a deliberately opaque network of

entities engaged in multiple distribution and payment structures. These entities include

drug manufacturers, wholesalers, pharmacies, health plans/third party payors

(institutional insurers, self-insured employers), pharmacy benefit managers and patient-

consumers.

         199.    Generally speaking, branded prescription drugs, such as the at issue diabetes

medications, are distributed from manufacturer to wholesaler, wholesaler to retail or mail

order pharmacy and pharmacy to patient/consumer.

         200.     The pharmaceutical industry, however, is unique in that the pricing chain is

distinct from the distribution chain. The prices for the drugs distributed in the

pharmaceutical chain are different for each participating entity: different actors pay

different prices set by different entities for the same drugs.

         201.    There is no transparency in this pricing system; typically, only a brand drug’s

reported price—also known as its Average Wholesale Price (AWP) or the mathematically-

related (for brand drugs) Wholesale Acquisition Cost (WAC)—is available.

         202.    Drug manufacturers self-report AWP or other prices upon which AWP is

based to companies such as First DataBank, Redbook and others who then publish that

price.

         203.    AWP persists as the most commonly and continuously used reported price

in reimbursement and payment calculations and negotiations.


                                                40
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 44 of 156



       204.     From an administrative perspective, AWP provides a logical starting point

for the calculation and communications of how much a health plan will pay for a drug.

       205.     Given the historical use of AWP by all industry participants, one cannot

discount the significance of AWP’s entrenchment in the complex pharmaceutical payment

system.

       206.     PBMs are at the center of this convoluted payment structure, as illustrated

in Figure 10:

                 Figure 10: Insulin distribution and payment chain




       207.     PBMs administer a health plan’s, such as Harris County’s, prescription drug

program. A PBM develops the health plan’s drug formulary, processes claims, creates a

network of retail pharmacies, sets the prices that the health plan will pay for prescription

drugs and is paid by the health plan for the drugs utilized by the health plan’s beneficiaries.




                                              41
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 45 of 156



      208. The amount that a health plan pays to the PBM for prescription drugs is

directly tied to the reported price, often the AWP price less some percentage discount.

      209.   PBMs also contract with a network of retail pharmacies. Pharmacies agree

to dispense drugs to patients and PBMs pay the pharmacies for the drugs dispensed.

      210.   The amount PBMs pay pharmacies is not the same as the amount paid by

the health plan. It is instead negotiated between the PBM and the pharmacy and not

disclosed.

      211.   Many PBMs also own mail-order and specialty pharmacies, which purchase

and take possession of prescription drugs, including those at issue here, and directly

supply those drugs to patients by mail.

      212.   In addition, and of particular significance here, PBMs contract with

pharmaceutical manufacturers, such as Manufacturer Defendants. PBMs negotiate

rebates, fees and other concessions with the manufacturers that are paid back to the PBM.

      213.   These relationships allow PBMs to exert tremendous influence over what

drugs are made available to health plans, on what terms and at what prices.

      214.   Thus, PBMs are at the center of the flow of money in the pharmaceutical

supply chain—PBMs negotiate the price that health plans pay for a prescription drug; they

separately negotiate a different price that pharmacies receive for that same drug; and they

also negotiate the amount that manufacturers pay back to the PBM for each drug sold.

      215.   Yet, only the PBMs are privy to the amount that any other entity in this

supply chain is paying or receiving for the exact same drugs.

      216.   This lack of transparency affords Defendants the opportunity to extract

billions of dollars from this payment and supply chain without detection.




                                            42
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 46 of 156



               The Rise of the PBMs in the Pharmaceutical Supply Chain

       217.   When they first came into existence in the 1960s, PBMs merely provided

administrative services to health plans by processing claims and maintaining formularies.

Over time, however, they have taken on a larger and larger role in the pharmaceutical

industry. Today PBMs wield significant control over the drug pricing system.

       218.   One of the roles PBMs took on was negotiating prices on behalf of health

plans. In doing so, PBMs affirmatively represented that they were using their leverage to

negotiate lower reimbursement rates with pharmacies and discounts from drug

manufacturers. 66

       219.   In the early 2000s, PBMs started buying pharmacies. When a PBM

combines with a pharmacy, they “lose the incentive to police against pharmaceutical

company schemes to steer patients to more expensive drugs. Indeed, they may collude in

them.” 67

       220.   More recently, further consolidation in the industry has afforded PBMs a

disproportionate amount of market power.

       221.   In total, twenty-four (24) different PBM entities have merged or otherwise

been absorbed into what are now the PBM Defendants.

       222.   In addition, each of the most powerful PBM Defendants are now owned by

other significant players within the pharmaceutical chain: Express Scripts merged with

Cigna in a $67 billion-dollar deal, 68 Caremark was bought by the largest pharmacy in the


66  Brian Feldman, Big pharmacies are dismantling the industry that keeps US drug costs
evensort-of under control (Mar. 17, 2016), https://qz.com/636823/big-pharmacies-are-
dismantlingthe-industry-that-keeps-us-drug-costs-even-sort-of-under-control/.
67 Id.

68 See https://www.cigna.com/about-us/newsroom/innovation/cigna-completes-combination-

with-express-scripts.


                                           43
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 47 of 156



United States, CVS for $21 billion, 69 CVS also now owns Aetna Rx following a $69 billion-

dollar deal 70 and OptumRx was acquired by the largest health insurance company in the

United States, United Healthcare. 71

     223.     Figure 11 depicts this consolidation within the PBM market.

                           Figure 11: PBM consolidation




       224.   After merging or acquiring all of their competitors and now backed by multi-

billion dollar corporations, PBM Defendants have taken over the market in the past

decade—controlling approximately 75% of the private market and managing pharmacy

benefits for over 270 million Americans. 72




69     See    https://www.forbes.com/2007/03/16/caremark-approves-update-markets-equity-
cx_er_0316markets29.html#77fa558a3380.
70 See https://cvshealth.com/aetna.

71 See https://www.unitedhealthgroup.com/about/history.html.

72 Adam J. Fein, The 2018 Economic Report on U.S. Pharmacies and Pharmacy Benefit

Managers, Drug Channels Institute, February 2018.


                                              44
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 48 of 156



       225.   Business is booming for PBM Defendants. Together, they report more than

$300 billion in annual revenue. 73

       226.   PBMs are able to leverage this market power to make outsize profits by

exploiting the United States’ complex pharmaceutical pricing system. Earlier this year, an

industry expert described this imbalance in power, “it’s really difficult to engage in any

type of fair negotiations when one of the parties has that kind of monopoly power . . . I

think that is something that is going to continue getting attention, especially as we see

more of these payers and PBMs continue to try to further consolidate.” 74

                           Insular Nature of the PBM Industry

       227.   The insular nature of the PBM and pharmaceutical industry has provided

PBM Defendants with ample opportunity for contact and communication with their

competitors, as well as with Manufacturer Defendants, in order to devise and agree to the

Insulin Pricing Scheme.

       228.   PBM Defendants routinely communicate through direct interaction with

their competitors and manufacturers at trade associations and industry conferences.

       229.   Each year during the relevant time period, the main PBM trade association,

the Pharmaceutical Care Management Association (“PCMA”), held several yearly

conferences, including its Annual Meeting and its Business Forum conferences. All PBM

Defendants are members of the PCMA and all Manufacturer Defendants are affiliate

members of this organization. Every year, high-level representatives and corporate officers

from both PBM Defendants and Manufacturer Defendants attended these conferences to



73Id.
74See https://www.fiercehealthcare.com/payer/senate-hearing-puts-spotlight-debate-over-
consolidation-pbm-market.


                                            45
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 49 of 156



meet in person and engage in discussions, including those in furtherance of the conspiracy

alleged herein.

       230.   In fact, for at least the last six (6) years, all of the Manufacturer Defendants

have been “Presidential Sponsors” to these PBM conferences.

       231.   Notably, many of the forums at these conferences are specifically advertised

as offering opportunities for private, non-public communications. For example, as

Presidential Sponsors of these conferences, Manufacturer Defendants each hosted

“private meeting rooms” that offer “excellent opportunities for . . . one-on-one interactions

between PBM and pharma executives.”

       232.   In addition, all PCMA members, affiliates and registered attendees of these

conferences are invited to join PCMA-Connect, “an invitation-only LinkedIn Group and

online networking community.” As PCMA members, PCMA-Connect provided PBM and

Manufacturer Defendants with a year-round, non-public online forum to engage in private

discussions in furtherance of the conspiracy alleged herein.

       233.   Communications between PBM Defendants are facilitated by the fluidity and

frequency with which executives move from one PBM Defendant to another.

Representative examples include:

              a.     Mark Thierer worked as an executive at the PBM Medco (which

       became part of Express Scripts) until he became the CEO of OptumRx in 2016;

              b.     Bill Wolfe was the President of the PBM Catalyst Rx (which became

       part of OptumRx) prior to becoming the President of Aetna Rx in 2015;

              c.     Duane Barnes was the Vice President of Medco (which became part

       of Express Scripts) prior to becoming division President of Aetna Rx in 2006;




                                             46
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 50 of 156



              d.    Everett Nevill was the division President of Aetna Rx before becoming

      Senior Vice President of Express Scripts of 2015;

              e.    Albert Thigpen was a Senior Vice President at CVS Caremark prior to

      becoming a Senior Vice President at OptumRx in 2011;

              f.    Harry Travis was the Chief Operating Officer at Medco (which

      became Express Scripts) before becoming a Vice President at Aetna Rx in 2008;

      and

              g.    Bill Kiefer was a Vice President of Express Scripts before becoming a

      Senior Vice President at OptumRx in 2015.

            The Insulin Pricing Scheme

      234.    Leveraging their dominant market power, PBM Defendants have teamed up

with Manufacturer Defendants to create the Insulin Pricing Scheme that permits them to

extract exorbitant profits from the pharmaceutical distribution chain.

      235.    There are three interrelated components to this scheme: (1) Manufacturer

Defendants have agreed with each other and with PBM Defendants to artificially inflate

the reported price for diabetes medications; (2) Manufacturer Defendants have agreed to

send payments back to PBMs for each unit sold; and (3) in exchange for (1) and (2), PBMs

have agreed to give Manufacturer Defendants’ diabetes medications preferred placement

on PBM’s standard formularies resulting in increased utilization of those products.

      236.    While this agreement greatly benefits both PBM and Manufacturer

Defendants, it has severely damaged both Harris County and consumers in the insulin

market.




                                           47
      Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 51 of 156



             Artificially Inflating the Reported Price and the Secret Payment Game

          237.   The Insulin Pricing Scheme begins with Manufacturer Defendants

purposefully inflating the reported price of their diabetes medications in order to receive

favorable formulary treatment by PBM Defendants.

          238.   In a transparent and competitive marketplace, drug manufacturers would

set the prices of their drugs at levels that account for multiple competitive factors,

including: the drug’s ingredient cost, relative safety and efficacy profiles, the prices of

available treatment alternatives and the total cost to the manufacturer of research and

development for the drug entering the marketplace.

          239.   Here, however, the competing products at issue are the same drugs they

were when initially released. And most of the drugs at issue have been on the market for

15-20 years. The clinical benefits of these medications have not changed.

          240.   Dr. Kasia Lipska, a Yale researcher and author of a 2018 study in the Journal

of the American Medical Association on the cost of insulin, explained:

          We’re not even talking about rising prices for better products here. I want to
          make it clear that we’re talking about rising prices for the same product . . .
          there’s nothing that’s changed about Humalog. It’s the same insulin that’s
          just gone up in price and now costs ten times more. 75

          241.   Nor have the production or research and development costs increased.

          242.   Thus, there must be another factor motivating these price increases.

          243.   The real reason Manufacturer Defendants have increased their reported

prices is because of the Insulin Pricing Scheme.

          244.   PBM Defendants control the formularies that determine whether diabetics

will use Eli Lilly’s, Novo Nordisk’s or Sanofi’s products. Drug formularies identify which


75   Natalie Shure, The Insulin Racket, available at https://prospect.org/health/insulin-racket/.


                                                  48
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 52 of 156



drugs insurance or health plans will pay for and at what rate. Thus, preferred placement

on a formulary increases a drug’s utilization and the manufacturer makes more money.

       245.    Controlling the baseline national formularies gives PBM Defendants a

crucial point of leverage over the system.

       246.    Given the asymmetry of information between health plans and PBM

Defendants and the costs associated with making formulary changes, most health plans

accept the baseline national formularies offered by the PBMs.

       247.    Because PBM Defendants have such a dominant market share, if they chose

to exclude a particular diabetes medication from these formularies, or give it a non-

preferred position, it could mean billions of dollars in profit loss for Manufacturer

Defendants.

       248.    Olivier Brandicourt, Sanofi’s Chief Executive Officer, stressed the continuing

importance of maintaining a favorable formulary position: “if you look at the way [CVS

Caremark] is organized in the U.S., they are covering about 30 million lives as a PBM . . . I

think it's actually 34 million. 15 million are part of the national formulary and that’s very

strict, all right. So, [if we were excluded from their formulary] we wouldn’t have access to

those 15 million lives.” 76

       249.    PBMs have the greatest leverage in negotiating with drug manufacturers for

formulary placement when the manufacturers’ drugs have similar efficacy and risk

profiles, as is the case with the at issue diabetes medications. In such a scenario, in a

competitive market, manufacturers would compete on lower reported prices for formulary

placement.


76Bank Of America Merrill Lynch Global Health Conference, London, UK (Sept. 16, 2016),
available: http://edge.media-server.com/m/p/7neehd6y.


                                             49
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 53 of 156



       250.    The Insulin Pricing Scheme, however, does not operate in such a manner.

Rather, Manufacturer Defendants have agreed with each other and PBM Defendants to

raise their publicly reported prices, but largely maintain the net price by paying a

significant portion of this price back to PBM Defendants.

       251.    In exchange for this price spread enlargement, during the relevant time

period PBM Defendants granted Manufacturer Defendants’ diabetes medications with the

most elevated reported price and the highest manufacturer refund amount preferred

formulary status.

       252.    This pricing disconnect creates what is, in effect, a massive slush fund

derived from the difference between the reported and net prices. As discussed in greater

detail next, PBM Defendants can use this “fund” to extract hidden profits from the other

participants within the pharmaceutical distribution system—namely health plans,

consumers and pharmacies.

       253.    The scheme affords Manufacturer Defendants the ability to pay back to PBM

Defendants a significant, yet undisclosed, portion of their reported prices in exchange for

formulary placement—which garners Manufacturer Defendants greater revenues from

sales to more people—without decreasing their profit margins.

       254.    Manufacturer and PBM Defendants also use the inflated price to earn

hundreds of millions of dollars in additional tax breaks by basing their deductions for

donated insulins on the inflated reported price.

       255.    Unfortunately for health plans like Harris County, and consumers in the

insulin market in general, this scheme artificially drives up the price paid for diabetes

medications.




                                            50
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 54 of 156



       256.    Thus, far from using their prodigious bargaining power to lower drug prices

as they claim, PBM Defendants use their position to benefit both themselves and

Manufacturer Defendants.

       257.    This Insulin Pricing Scheme is an extremely profitable enterprise for all

Defendants, though deeply damaging to health plans and consumers who shoulder the

burden of the higher prices.

        Defendants Admit to Artificially Inflating Price to Buy Formulary Position

       258.    Manufacturer Defendants have admitted that their price hikes are unrelated

to any increase in clinical benefit, production costs or research and development.

       259.    Instead, the inflated price is part of the Insulin Pricing Scheme:

Manufacturer Defendants have agreed with PBM Defendants to raise their reported prices

while secretly refunding a portion of that price back to PBMs to buy formulary position.

       260.    On April 10, 2019, the United States House of Representatives Committee

on Energy and Commerce held a hearing on Defendants’ Insulin Pricing Scheme titled,

“Priced Out Of A Lifesaving Drug: Getting Answers on the Rising Cost of Insulin.”

       261.    Nearly all of Defendants testified at that hearing and each acknowledged

before Congress that the price for insulin has increased exponentially in the past fifteen

(15) years. Yet, none of the testifying Defendants claimed that the significant increase in

the price of insulin was related to competitive factors such as increased costs or improved

clinical benefit.

       262.    Rather, Defendants have admitted how they agreed to and did participate in

the Insulin Pricing Scheme and that the rise in insulin prices was a direct result of the

scheme.




                                            51
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 55 of 156



        263.    For example, in explaining the company’s increases to the reported price of

its diabetes medications, Novo Nordisk directly admitted that “as the manufacturer, we do

set the [reported] price and have full accountability for those increases.” The statement

continued on to explain that raising the reported price is necessary, “in order for [Novo

Nordisk’s] medicines to stay on [PBMs] preferred drug list or formulary.” 77

        264.    At the April 2019 Congressional hearing Novo Nordisk’s President, Doug

Langa, elaborated on Novo Nordisk’s and PBM Defendants’ role in perpetuating the

“perverse incentives” of the Insulin Pricing Scheme:

        There is this perverse incentive and misaligned incentives (in the insulin
        pricing system) and this encouragement to keep [reported] prices high. And
        we’ve been participating in that system because the higher the [reported]
        price, the higher the rebate . . . There is a significant demand for rebates. We
        spend almost $18 billion in rebates in 2018 . . . If we eliminate all the rebates
        . . . we would be in jeopardy of losing [our formulary] positions. 78

        265.    Eli Lilly, too, has admitted that it raises reported prices as a quid pro quo for

formulary positions: “The reason drug makers sharply raise reported prices without a

corresponding increase in net price is that PBMs demand higher rebates in exchange for

including the drug on their preferred-drug lists.” 79

        266.    At the April 2019 Congressional hearing, Mike Mason, Senior Vice President

of Eli Lilly testified:

        Seventy-five percent of our [reported] price is paid for rebates and discounts
        to secure [formulary position] . . . $210 of a vial of Humalog is paid for
        discounts and rebates. . . We have to provide rebates [to PBMs] in order to
        provide and compete for [formulary position].



77 Novo Nordisk Press Release, http://press.novonordisk-us.com/leadership-
perspectives?item=1.
78 Priced Out Of A Lifesaving Drug: Getting Answer On The Rising Cost Of Insulin, Hearing

Before the Subcomm. on Energy and Commerce, (April 10, 2019).
79 Denise Roland & Peter Loftus, Middlemen Fuel Insulin Price Rise, Wall St. J., at B1.




                                               52
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 56 of 156



       267.    Sanofi has also conceded its participation in the Insulin Pricing Scheme:

       [S]ince 2014, we have increased the level of rebates granted for Lantus in
       order to maintain favorable formulary positions. 80

       268.    When testifying at the April 2019 Congressional hearing, Kathleen

Tregoning, Executive Vice President for External Affairs of Sanofi, testified:

       The rebates are how the system has evolved. The rebates are part of the
       negotiation to secure formulary placement . . . I think the system became
       complex and rebates generated through negotiations with PBMs are being
       used to finance other parts of the healthcare system and not to lower prices
       . . . 81

       269.    PBM Defendants also admitted at the April 2019 Congressional hearing that

they grant preferred, or even exclusive, formulary position because of higher rebates paid

by Manufacturer Defendants. For example, Amy Bricker, Senior Vice President of Express

Scripts, when asked to explain why Express Scripts did not grant an insulin with a lower

reported price preferred formulary status, answered, “[m]anufacturers do give higher

[rebates] for exclusive [formulary] position . . .” 82

        Data Corroborates Defendants’ Admission To The Insulin Pricing Scheme

       270.    The data corroborates Defendants’ admissions that they have inflated the

reported prices and paid back to PBM Defendants larger and larger amounts in exchange

for PBM Defendants granting Manufacturer Defendants’ diabetes medications preferred

formulary status.

       271.    Over the last fifteen (15) years, while Manufacturer Defendant’s reported

price has risen dramatically, the net price realized by these firms has not.




80 Sanofi, Annual Report (Form 20-F) (Dec. 31, 2016).
81 Supra note 78.
82 Id.




                                               53
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 57 of 156



       272.   Figures 12 and 13 illustrate how Novo Nordisk’s reported price has

significantly diverged from its net price.

          Figure 12: Net prices versus reported prices of NovoLog vial




         Figure 13: Net prices versus reported prices of NovoLog pens




       273.   Figure 14 shows the widening gap between Eli Lilly’s reported price and the

net price of Humalog.




                                             54
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 58 of 156



     Figure 14: Net prices versus reported prices of Eli Lilly’s Humalog




      274.   Sanofi’s manipulation of its spreads is visible in Figure 15:

        Figure 15: Sanofi’s net prices versus reported prices of Lantus




      275.   Thus, Defendants admit—and the data corroborates—their respective roles

in the Insulin Pricing Scheme.


                                            55
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 59 of 156



                        PBMs Profit Off the Insulin Pricing Scheme

       276.   PBM Defendants and Manufacturer Defendants have conspired to

artificially inflate the reported price of diabetes medications to exploit profits from health

plans like Harris County.

       277.   For Manufacturer Defendants, their artificially inflated prices allow them to

make large secret payments back to PBM Defendants in order to buy formulary position,

which leads to increased sales and profits. And, during the relevant time period, PBM

Defendants granted national formulary position to each at-issue drug in exchange for

Manufacturer Defendants’ large payments and inflated prices.

       278.   PBM Defendants profit off the Insulin Pricing Scheme by: (1) pocketing

significant portions of the payments made by Manufacturer Defendants (“Secret Payment

Game”); (2) charging health plans, such as Harris County, based on the inflated prices and

then reimbursing pharmacies a lower price for the same product (“Pharmacy Spread”) and

(3) using the inflated price to increase their margins on diabetes medications sold through

their own mail order pharmacies.

       279.   With respect to (1), the Secret Payment Game, the rate of increase in

payments by Manufacturer Defendants has accelerated to represent more than half of the

list price of diabetes medications. 83

       280. When PBMs contract with health plans, the contract allows the PBM to keep

all or at least some of these payments, rather than pass them along to the health plan. In




83 Langreth R, Keller M, Cannon C., Decoding big pharma’s secret drug pricing practices,
Bloomberg, 29 June 2016. Available from https://www.bloomberg.com/graphics/2016-drug-
prices/.


                                             56
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 60 of 156



fact, a recent study showed that most employers report that they do not receive the total

share of the rebates that PBMs claim to pass on to them. 84

       281.   Since payments are kept confidential between Manufacturer Defendants and

PBM Defendants, health plans are unable to determine how much PBMs are keeping for

themselves.

       282.   Over time, health plans, including Harris County, have secured contract

provisions guaranteeing them all or some portion of the “rebates” paid by drug

manufacturers to PBMs. But—critically—“rebates” are only a portion of the total secret

payments paid.

       283.   In this regard, PBM and Manufacturer Defendants have created a “hide-the-

ball” system where the consideration exchanged between them (and not shared with health

plans) is labeled and relabeled. As more health plans moved to contracts that required

PBMs to pass a majority of the manufacturer “rebates” through to the health plan, PBMs

have begun relabeling these payments in order to keep a more substantial portion of this

money. Payments once known as “rebates” are now called administrative fees, volume

discounts, service fees, price or margin guarantees or other industry jargon terms designed

to obfuscate and distract from the substantial sums being secretly exchanged.

       284.   And the secret payments are indeed substantial. A recent heavily redacted

complaint filed by Defendant Express Scripts revealed that Express Scripts now retains




84Elizabeth Seeley and Aaron S. Kesselheim, Pharmacy Benefit Managers: Practices
Controversies, and What Lies Ahead, The Commonwealth Fund, March 26, 2019, available at
https://www.commonwealthfund.org/publications/issue-briefs/2019/mar/pharmacy-benefit-
managers-practices-controversies-what-lies-ahead.


                                            57
      Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 61 of 156



up to 13 times more in “administrative fees” than it passes through to health plans in

formulary rebates. 85

          285.   With respect to the second way that PBM Defendants profit off the Insulin

Pricing Scheme—the Pharmacy Spread—PBM Defendants decide which pharmacies are

included in a prescription drug plan and how much they will reimburse pharmacies for

each drug dispensed.

          286.   PBM Defendants do not specifically disclose to the health plan how much

the PBM is reimbursing the pharmacies for the drugs dispensed or vice versa.

          287.   The price that the health plan pays for diabetes medications is directly tied

to the artificially inflated reported price, while the price the pharmacy is reimbursed for

the drug often is not.

          288. This allows PBM Defendants to charge the health plan significantly more

than what the PBM is reimbursing the pharmacy for the same drug and the PBM pockets

the difference.

          289.   Spread pricing, like secret payment negotiation, happens behind closed

doors. There is no transparency, no commitment from PBM Defendants to take into

account the cost effectiveness of a drug and no communication with the health plans to let

them know if they are getting a fair deal.

          290.   While some spread pricing can be expected even in a fair market, the opacity

of the profit stream of the Insulin Pricing Scheme masks the allegedly low costs PBM

Defendants tout to health plans to get them to sign up and demonstrates the strong

financial incentive PBMs have to drive up the reported price.



85   Express Scripts, Inc., et al. v. kaleo, Inc., Case No. 4:17-cv-01520-RLW (E.D.Mo 2017).


                                                 58
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 62 of 156



       291.    With respect to the third way PBMs profit off the Insulin Pricing Scheme—

PBM Defendants all operate their own highly profitable mail order pharmacies. The higher

the price that PBM Defendants are able to get their customers, such as health plans like

Harris County, to pay for diabetes medications, the higher the profit PBM Defendants

realize through their own mail order pharmacies.

              The Insulin Pricing Scheme Deceived and Harmed Harris County
              and the Insulin Market

       292.    Defendants’ Insulin Pricing Scheme has deceived Harris County and it has

cost the County millions of dollars.

       293.     The Harris County government serves its almost five (5) million residents

providing public safety, emergency management and health services just to name a few of

its vital roles. As more federal and state responsibilities are mandated to local government,

Harris County has to meet a growing list of demands on a limited budget. Consequently,

any significant increase in spending can have a severe detrimental effect on Harris

County’s overall budget and, in turn, negatively impact its ability to provide necessary

services to the community or force the County to raise taxes to compensate for the losses.

       294.    As a large government employer, Harris County provides health benefits to

approximately 38,000 Beneficiaries.

       295.    One of the benefits that Harris County offers its Beneficiaries is paying a

significant portion of the cost of their healthcare.

       296.    Harris County is what is known as a self-funded health plan—meaning

Harris County provides health benefits using its own funds, including funds contributed

by its Beneficiaries. As part of this health plan, Harris County subsidizes its health plan’s

Beneficiaries’ prescription drug purchases.



                                              59
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 63 of 156



       297.   Harris County also spends millions of dollars a year purchasing

pharmaceutical drugs, including the at issue diabetes medications, that are administered

to inmates in the Harris County jails.

       298.   As detailed in Appendix A, as part of its pharmaceutical drug spend, Harris

County spends millions of dollars every year on the at issue drugs.

       299.   To administer its pharmaceutical drug purchases, Harris County relies on

PBMs, for the alleged purposes of limiting administrative burden and controlling

pharmaceutical drugs costs.

       300. At different periods during the relevant time, Defendants Aetna Rx, CVS

Caremark, OptumRx and Express Scripts provided PBM services to Plaintiff Harris

County.

       301.   At different periods during the relevant time, Harris County utilized each

PBM Defendant’s formularies with respect to the at issue drugs.

       302.   PBM Defendants set the price by which Harris County paid for the drugs

utilized by Harris County’s Beneficiaries, including the at issue diabetes medications. PBM

Defendants also receive payments made by Harris County for the at issue diabetes

medications, and, in turn, reimburse the pharmacies that dispensed these drugs (often at

a lower rate than the amount paid by Harris County).

       303.   Unfortunately, these PBMs did not live up to their promise of lowering the

cost of Harris County’s diabetes medication purchases. To the contrary, as a direct result

of Defendants’ Insulin Pricing Scheme, the amount that Harris County pays for diabetes

medications has increased significantly in the last ten (10) years.




                                             60
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 64 of 156



                            Defendants Deceived Harris County

       304.   Defendants deceived Harris County into paying significantly inflated prices

for diabetes medications.

       305.   PBM Defendants purposefully, consistently and routinely misrepresented

that they negotiate with Manufacturer Defendants for the benefit of health plans, such as

Harris County, and to save health plans money. PBM Defendants specifically made these

misrepresentations to induce reliance by health plans, including Harris County.

       306.   Each   PBM      Defendant    purposefully,    consistently   and    routinely

misrepresented that it uses its market power and expertise to maximize savings for its

customers, including Harris County. PBM Defendants specifically made these

misrepresentations to induce reliance by health plans, including Harris County.

       307.   Each   PBM      Defendant    purposefully,    consistently   and    routinely

misrepresented that it designs pharmaceutical plans and constructs formularies for the

purposes of promoting client health and safety, including the health and safety of Harris

County’s Beneficiaries. PBM Defendants specifically made these misrepresentations to

induce reliance by health plans, including Harris County.

       308. For example, throughout the relevant time period, Defendant CVS Caremark

has consistently stated that its design and administration of formularies are “aimed at

reducing the costs and improving the safety, effectiveness and convenience of prescription

drugs.” 86

       309.   CVS Caremark has also maintained that “[w]e utilize an independent panel

of doctors, pharmacists and other medical experts. . . to review and approve the selection


86See, e.g. CVS Caremark, Annual Report (Form 10-K) (Dec. 31, 2007); CVS Caremark, Annual
Report (Form 10-K) (Dec. 31, 2010).


                                            61
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 65 of 156



of drugs that meet our high standards of safety and efficacy for inclusion on one of our

template formularies. Our formularies . . . help[] to drive the lowest net cost for our clients

. . .” 87

            310.   Likewise, Defendant Express Scripts has consistently represented that it

“works with clients, manufacturers, pharmacists and physicians to increase efficiency in

the drug distribution chain, to manage costs in the pharmacy benefit chain and to improve

members’ health outcomes.” 88

            311.   Express Scripts has further represented, at all times relevant hereto, that

“[i]n making formulary recommendations, [our Pharmacy & Therapeutics Committee]

considers the drug’s safety and efficacy, without any information on or consideration of

the cost of the drug, including any discount or rebate arrangement we might negotiate with

the manufacturer. . . We fully comply with the P&T Committee’s clinical recommendations

regarding drugs that must be included or excluded from the formulary based on their

assessment of safety and efficacy.” 89

            312.   Similarly, throughout the relevant time period, Defendant OptumRx has

consistently stated, that OptumRx’s “rebate contracting and formulary management . . .

assist customers in achieving a low-cost, high-quality pharmacy benefit.” 90

            313.   OptumRx further maintains, that it “promotes lower costs by using

formulary programs to produce better unit costs, encouraging consumers to use drugs that




87 CVS Caremark, Annual Report (Form 10-K) (Dec. 31, 2017).
88 Express Scripts, Annual Report (Form 10-K) (Dec. 31, 2013).
89 Express Scripts, Annual Report (Form 10-K) (Dec. 31, 2017).
90 OptumRx, Annual Report (Form 10-K) (Dec. 31, 2010).




                                                62
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 66 of 156



offer improved value” and that OptumRx’s formularies are selected for health plans based

on “their safety, cost and effectiveness.” 91

       314.    In addition to these general false representations, purposefully made with

the intent to induce reliance, PBM Defendants further and specifically also misrepresented

that the payments they receive from Manufacturer Defendants lower the price of the at

issue diabetes medications and that the preferred formulary status of these medications

reflects these drugs’ safety, efficacy and cost-effectiveness. These misrepresentations were

likewise made with the intent to induce reliance.

       315.    For example, when testifying under oath before Congress earlier this year on

the rising price of insulins, Senior Vice President Amy Bricker of Express Scripts testified

that “Express Scripts remains committed to . . . patients with diabetes and creating

affordable access to their medications.” 92

       316.    Later in the sworn testimony, Express Scripts’ Vice President added, “I have

no idea why the prices [for insulin] are so high, none of it is the fault of rebates.” 93

       317.    CVS Caremark’s Chief Policy and External Affairs Officer similarly testified

during the April 2019 hearings that, CVS Caremark “has taken a number of steps to

address the impact of insulin price increases. We negotiate the best possible discounts off

the manufacturers’ price on behalf of employers, unions, government programs, and

beneficiaries that we serve.” 94




91 OptumRx, Annual Report (Form 10-K) (Dec. 31, 2017); see also

https://www.optumrx.com/content/dam/openenrollment/pdfs/som/Formulary%20Booklet%2
0Select_Standard_010119_final.pdf.pdf.
92 See supra note 78.
93 Id.
94 Id.




                                                63
     Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 67 of 156



        318.   Chief Medical Officer of OptumRx, testified that for “insulin products . . . we

negotiate with brand manufacturers to obtain significant discounts off list prices on behalf

of our customers.” 95

        319.   Not only have PBM Defendants intentionally misrepresented that they use

their market power to save health plans money, they have specifically, knowingly and

falsely disavowed that their conduct drives prices higher.

        320.   For example, on an Express Scripts’ earnings call in February 2017, CEO Tim

Wentworth stated, “Drugmakers set prices, and we exist to bring those prices down.” Larry

Merlo, head of CVS Caremark sounded a similar refrain six (6) days earlier, “Any

suggestion that PBMs are causing prices to rise is simply erroneous.” 96

        321.   Later that same year, Express Scripts’ Wentworth went on CBS News to

again argue that PBMs play no role in rising drug prices, stating that PBMs work on behalf

of health plans to “negotiate with drug companies to get the prices down.” 97

        322.   During the April 2019 Congressional hearings, when asked if PBM-

negotiated rebates and discounts were causing the insulin price to increase, OptumRx’s

Chief Medical Officer answered, “we can’t see a correlation when rebates raise list

prices.” 98




95 Id.
96 Lynn R. Webseter, Who is to Blame for Skyrocketing Drug Prices, The Hill, July 27, 2017,
available at https://thehill.com/blogs/pundits-blog/healthcare/344115-who-is-to-blame-for-
skyrocketing-drug-prices.
97 See e.g Express Scripts CEO Tim Wentworth Defends Role of PBMs in Drug Prices, CBS News,

February 7, 2017, available at https://www.cbsnews.com/news/express-scripts-tim-wentworth-
pbm-rising-drug-prices-mylan-epipen-heather-bresh/; see also Express Scripts, Annual Report
(Form 10-K) (Dec. 31, 2017).
98
   See supra note 78.


                                              64
      Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 68 of 156



          323.   Throughout the relevant time period, PBM Defendants have also knowingly,

consistently and falsely represented that they are transparent about the payments they

receive from Manufacturer Defendants.

          324.   PBM Defendants’ have represented to Harris County, the public and to

Congress that they are passing along all “rebates” to plans when in reality “rebates” are

today a small fraction of the total payments PBMs receive from manufacturers in exchange

for formulary placement and driving utilization. In fact, as stated previously, PBM

Defendants retain up to thirteen (13) times more in “administrative fees” than the

formulary rebates they pass through to their clients, like Harris County. 99

          325.   Despite this, in a 2017 CBS News interview, Express Scripts’ CEO,

represented, among other things, that PBMs’ rebate and payment structures are

“absolutely transparent” and that clients of PBMs, such as the Harris County, “know

exactly how the dollars flow” with respect to the payments PBMs receive from drug

manufacturers.

          326.   When testifying before Congress earlier this year, Amy Bricker, Senior Vice

President of Defendant Express Scripts had the following exchange with Representative

John Sarbanes of Maryland regarding the transparency (and lack thereof) of the PBM

Secret Payment Game:

          Ms. Bricker. The rebate system is 100 percent transparent to the plan
          sponsors and the customers that we service. To the people that hire us,
          employers of America, the government, health plans, what we negotiate for
          them is transparent to them. . . [However] the reason I'm able to get the
          discounts that I can from the manufacturer is because it’s confidential [to
          the public].

          Mr. Sarbanes. What about if we made it completely transparent? Who would
          be for that?

99   Express Scripts, Inc., et al. v. kaleo, Inc., Case No. 4:17-cv-01520-RLW (E.D.Mo 2017).


                                                 65
      Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 69 of 156




          Ms. Bricker. Absolutely not . . . it will hurt the consumer.

          Mr. Sarbanes. I don’t buy it.

          Ms. Bricker – prices will be held high.

          Mr. Sarbanes. I am not buying it. I think a system has been built that allows
          for gaming to go on and you have all got your talking points. Ms. Tregoning
          [of Sanofi], you have said you want to guarantee patient access and
          affordability at least ten times, which is great, but there is a collaboration
          going on here . . . the system is working for both of you at the expense of the
          patient. Now I reserve most of my frustration for the moment in this setting
          for the PBMs, because I think the lack of transparency is allowing for a lot of
          manipulation. I think the rebate system is totally screwed up, that without
          transparency there is opportunity for a lot of hocus-pocus to go on with the
          rebates. Because the list price ends up being unreal in certain ways except to
          the extent that it leaves certain patients holding the bag, then the rebate is
          negotiated, but we don't know exactly what happens when the rebate is
          exchanged in terms of who ultimately benefits from that. And I think we
          need more transparency and I do not buy the argument that the patient is
          going to be worse off, the consumer is going to be worse off if we have
          absolute transparency . . . I know when you started out, I understand what
          the mission was originally with the PBMs . . . But now things have gotten out
          of control. You are too big and the lack of transparency allows you to
          manipulate the system at the expense of the patients. So I don't buy the
          argument that the patient and consumer is going to get hurt if we have
          absolute transparency. 100

          327.   In 2011, OptumRx’s President echoed Express Scripts’ representations on

transparency: “We want our clients to fully understand our pricing structure . . . [e]veryday

we strive to show our commitment to our clients, and one element of that commitment is

to be open and honest about our pricing structure.” 101

          328.   Throughout the relevant time period, PBM Defendants also knowingly,

consistently and repeatedly made representations directly to Harris County that mirrored

these false public statements and sworn testimony. Representative examples include:



100   See supra note 78.
101   https://www.unitedhealthgroup.com/newsroom/2011/0913tipps.html.


                                                66
Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 70 of 156



         a.     In July 2003, Harris County received written solicitation material in

  which Aetna Rx represented that its national formularies promote cost effective

  drugs and that preferred formulary positions were selected based on quality,

  safety and efficacy;

         b.     On July 31 2008, Harris County received written solicitation

  material in which Aetna Rx represented that its pharmacy benefit services would

  lower the cost of Harris County’s prescription drugs through “aggressive rebates

  [and] discounts” negotiated from drug manufacturers and that Aetna Rx’s “over

  thirty years of pharmacy benefit management experience” allow it to construct

  formularies that control rising brand name drug costs;

         c. On June 19, 2012, Harris County received written solicitation material in

  which Aetna Rx, working with CVS Caremark, represented that its pharmacy

  benefit management services drove “better health and cost outcomes,” produced

  a potential savings of millions of dollars and with respect to Harris County’s

  diabetic beneficiaries in particular, would save Harris County hundreds of

  thousands of dollars annually;

         d.     In August 2016, OptumRx submitted written material to Harris

  County that represented that the payments it received from drug manufacturers

  and its management of its national formularies lowered the cost of prescription

  medications; and

         e. In 2018, Express Scripts made oral representations to Harris County that

  the payments it received from drug manufacturers were for the benefit of Harris

  County and that its formulary management lowered the cost of prescription drugs.




                                       67
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 71 of 156



       329.   These direct misrepresentations to Harris County were also made with the

specific intent to induce reliance by Harris County.

       330.   Further,   Manufacturer      and   PBM   Defendants   have   continuously

misrepresented—through publishing their reported prices and basing the price Harris

County paid for diabetes medications on their reported prices—that the reported price of

their diabetes medications bears a reasonable relationship to the net price realized by

Defendants and results from competitive market forces.

       331.   Plaintiff Harris County has now discovered that each of these

representations are patently false. Harris County has learned that, in fact, PBM

Defendants’ plan design, formulary construction and Defendants’ inflated reported prices

are all integral parts of the Insulin Pricing Scheme targeted at maximizing Defendants’

profits at the expense of Harris County.

       332.   Defendants knew that these representations were false when they made

them. Defendants intentionally made these false representations so that Harris County

would rely upon them.

       333.   At all times during the relevant period, PBM Defendants knew that its

formulary positions were not granted for the purpose of promoting the health and safety

of diabetics, including Harris County’s Beneficiaries, but rather were given to

Manufacturer Defendants in exchange for artificially inflated prices and payments. PBM

Defendants affirmatively withheld this truth from Harris County.

       334.   At all times during the relevant period, PBM Defendants knew they were not

transparent with health plans, including Harris County, regarding the payments they

received from Manufacturer Defendants, but rather were concealing these payments in




                                            68
      Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 72 of 156



order to hide the significant revenue they generated. PBM Defendants affirmatively

withheld this truth from Harris County.

        335.   At all times during the relevant period, Manufacturer Defendants knew that

its reported prices did not result from competitive market forces, but rather were

artificially inflated in coordination with their competitors for the purpose of maximizing

profits. Manufacturer Defendants affirmatively withheld this truth from Harris County.

        336.   Defendants concealed the falsity of these representations by closely guarding

their pricing structures, agreements and sales figures.

        337.   Manufacturer Defendants do not disclose to health plans or the public the

net prices or rebates or other payments they offer to and pay PBM Defendants.

        338.   PBM Defendants do not disclose the details of their agreements with drug

manufacturers or the payments they receive from them—nor do they disclose the details

related to their agreements with insurers, health plans and pharmacies.

        339.   PBM Defendants have gone as far as suing governmental entities to block

the release of details on their pricing agreements with manufacturers and pharmacies. 102

        340.   Even when audited by health plans, PBM Defendants often still refuse to

disclose their agreements with manufacturers and pharmacies, relying on overly broad

confidential agreements, claims of trade secrets and other unnecessary restrictions.

        341.   In a previous lawsuit involving the manipulation of drug pricing spreads,

evidence came forth explicitly demonstrating this deceit:

        Because these PBMs benefited from the increased spreads perpetuated by
        the Scheme, Plaintiffs argue that they had no incentive to inform [third party
        payors or health plans] of the inflated AWP, let alone fiercely compete to

102Catherine Candisky, “CVS Sues State To Block Release of Report On Its Drug Pricing,” The
Columbus Dispatch July 16, 2018, available at https://gatehousenews.com/sideeffects/cvs-sues-
state-block-release-report-drug-pricing/site/dispatch.com/


                                             69
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 73 of 156



       mitigate any damage. As proof, Plaintiffs quote an April 26, 2002 internal
       [PBM] e-mail . . . that states that “the AWP increases being pushed through
       by First Data Bank [are] having a very favorable impact on our mail
       margins.” The e-mail goes on to state, "Our clients (health plans and
       insurers) will not be sympathetic to our financial situation since we [will
       have benefited] from the AWP increase in the mail and they hired us to
       control drug trend.” The e-mail includes a handwritten note, in response,
       “Let’s put a lid on it and not make it a big deal.” 103

       342.   Defendants intended the Insulin Pricing Scheme to induce reliance from

health plans, including Harris County, and cause unlawful and excessive payments for the

products at issue.

       343.   The Insulin Pricing Scheme enabled Manufacturer Defendants to offer

something of value to the PBM Defendants—inflated prices and payments—in exchange

for preferred formulary status. Manufacturer Defendants knew that these prices were

artificially inflated and intentionally did not disclose this to Harris County or the public.

       344.   PBM Defendants were able to use the inflated prices to create significant

profit streams from the Secret Payment Game, the Pharmacy Spread and their own mail

order pharmacies.

       345.   Without the Insulin Pricing Scheme and its secret payment and pricing

system, Defendants would have been forced to compete for market share in the way

competitors do in a healthy market: by offering lower actual prices that are available and

transparent to the participants in the market.

       346.   PBM Defendants were able to use the inflated reported prices as a basis for

the price Harris County paid for the at issue drugs because Harris County relied on

Defendants’ misrepresentations and believed that the price it paid was reasonable and



103 New England Carpenters Health Benefits Fund v. First Data Bank, Inc., 248 F.R.D. 363, 367

(D. Mass 2008) (internal citations omitted).


                                              70
      Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 74 of 156



resulted from competitive market forces. Defendants knew that these prices did not result

from competitive market forces, but were the result of the Insulin Pricing Scheme, and

failed to disclose this to Harris County.

          347.   At all times relevant hereto, as a result of its reliance on Defendants’

misrepresentations, Harris County paid for diabetes medications at artificially inflated

prices to its significant detriment.

                 Defendants’ Insulin Pricing Scheme Damaged Harris County

          348.   Harris County was and is damaged as a direct result of Defendants’ Insulin

Pricing Scheme.

          349.   Harris County spends millions of dollars each year on the at issue drugs. 104

The price that Harris County paid for these drugs was directly tied to Manufacturer

Defendants’ reported price. Thus, because Defendants’ Insulin Pricing Scheme caused the

reported prices to fraudulently and substantially increase, Defendants’ pattern of

anticompetitive and fraudulent conduct directly and proximately caused Harris County to

substantially overpay for diabetes medications.

          350.   The amount it has overpaid is the difference between the price that Harris

County paid for these drugs and what it would have paid absent the Insulin Pricing

Scheme. Factors to be considered include: the cost to manufacture the at issue drugs; a

reasonable profit margin; the payments that Manufacturer Defendants made to PBM

Defendants that were not passed through to Harris County; the amount that PBM

Defendants pocketed from the fraudulent Pharmacy Spread; and PBM Defendants’




104   See Appendix A.


                                               71
      Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 75 of 156



additional undisclosed profit margins on diabetes medications purchased for and

dispensed through their own mail order pharmacies.

       Defendants’ Insulin Pricing Scheme has Damaged Competition and Consumers

        351.   Defendants’ Insulin Pricing Scheme has also harmed competition and other

consumers within the insulin market by anticompetitively and artificially inflating the

price of insulin.

        352.   As a result of years of market concentration, as detailed above, PBM

Defendants have a dominant market share in controlling the pricing and administration

of the prescription drug market in Texas. To further exacerbate this market saturation,

PBM Defendants carve up the market geographically, effectively not competing in certain

regions of the country. 105 Amid such concentration, consumers in the insulin market, such

as health plans like Harris County, have little ability to select the best PBM on price or

quality.

        353.   Equally concentrated is the insulin product market, with Manufacturer

Defendants representing 99% of all insulin products sold. 106

        354.   Manufacturer Defendants have taken numerous steps to ensure that they

maintain their dominant market share.

        355.   For example, Manufacturer Defendants engage in a practice known as

“evergreening.” In a competitive drug market, manufacturers are granted a short period of

market exclusivity prior to the expiration of their patent in order to increase profits to




105 David Dayen, The Hidden Monopolies That Raise Drug Prices, The American Prospect,
Spring 2017, available at https://prospect.org/health/hidden-monopolies-raise-drug-prices/.
106 Beran, supra note 53.




                                             72
      Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 76 of 156



offset the substantial cost of bringing a new drug to the market. Once the patent expires,

generics (in the case of insulin, biosimilars) enter the market at a substantially lower price.

        356.   Here, however, Manufacturer Defendants have engaged in the repatenting

tactic called “evergreening,” in which a series of extra patents on incremental variations of

the original drug are sought solely for the purposes of extending the life of a patent after

initial expiration. Defendant Sanofi, for example, has applied for sixty-nine (69) different

patents on Lantus in the U.S. after the drug was approved in 2000. 107 Evergreening

prevents generics/biosimilars from entering the market, even though the patented

“improvements” are often inconsequential and do not produce better clinical results.

        357.   In addition to “evergreening,” Manufacturer Defendants have also engaged

in “pay for delay,” where a generic/biosimilar manufacturer acknowledges the original

patent of a pharmaceutical company and agrees to refrain from marketing its product for

a specific period of time in return for payment.

        358.   One example of this occurred a few years ago when the drug company Merck

announced plans to sell a biosimilar version of Sanofi’s Lantus. Sanofi sued, and eventually

Merck announced that it was no longer pursuing it’s biosimilar due to payments from

Sanofi to stay off the market.

        359.   As a result of their “evergreening” and “pay for delay” strategies,

Manufacturer Defendants have eliminated competition for their insulins in order to

maintain their dominant control over the U.S. insulin market.




107 I-MAK Report, Lantus (Insulin Glargine) Overpatented, Overpriced, October 2018, available
at:      http://www.i-mak.org/wp-content/uploads/2018/10/I-MAK-Lantus-Report-2018-10-
30F.pdf


                                              73
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 77 of 156



       360.   Because of the market domination of both PBM Defendants and

Manufacturer Defendants, consumers in this market, including health plans, often have

little or no choice as to which insulin drugs that they are able to purchase.

       361.   The insulins that are available to the consumer are directly determined by

which insulin drugs PBM Defendants place on their formularies. And rather than allowing

competition and lower actual prices determine which insulins receive preferred status,

PBM Defendants have agreed to grant formulary positions to Manufacturer Defendants

based on which drug’s price is the most inflated and which manufacturer makes the largest

payments to them.

       362.   Thus, consumers in the insulin market are left with no reasonable

substitutes—Manufacturer Defendants make nearly all of the insulin on the market and

agreed in lockstep to increase the prices of these insulins. And PBM Defendants control

which insulin products are available to consumers.

       363.   Consequently, consumers in this market, such as Harris County, are stuck in

the Insulin Pricing Scheme, forced to pay the skyrocketing prices of Manufacturer

Defendants’ insulins.

                  V.    TOLLING OF STATUTE OF LIMITATIONS

       364.   Plaintiff Harris County, as a county government, is a political subdivision of

the State of Texas. Thus, pursuant to the common law and TEX. CIV. PRAC. & REM CODE

16.061, Harris County is not subject to any applicable statute of limitations.

       365.   Even assuming, arguendo, that Harris County was subject to applicable

statutes of limitations, in the alternative Harris County asserts that it diligently pursued

and investigated the claims asserted in this Complaint. Through no fault of its own, Harris

County did not receive inquiry notice nor learn of the factual basis for its claims in this


                                             74
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 78 of 156



Complaint and the injuries suffered therefrom until recently. Consequently, the following

tolling doctrines apply.

             Discovery Rule Tolling

         366.   Harris County had no way of knowing about the scheme and deception with

respect to Insulin Pricing Scheme.

         367.   As discussed above, PBM and Manufacturer Defendants refused to disclose

the net prices of diabetes medications realized by Defendants, the details of the

Defendants’ negotiations and payments between each other or their pricing structures and

agreements—labeling them trade secrets and protecting them with confidentiality

agreements. Each Defendant group also affirmatively blamed the other for the price

increase described herein, both during their congressional testimonies and through the

media. Hence, a reasonable plaintiff and consumer could not discover the truth.

         368.   Within the period of any applicable statutes of limitation, Harris County

could not have discovered, through the exercise of reasonable diligence, that Defendants

were concealing the conduct complained of herein.

         369.   Harris County did not discover, and did not know of facts that would have

caused a reasonable person to suspect, that Defendants were engaged in the Insulin

Pricing Scheme, nor would a reasonable and diligent investigation have disclosed the true

facts.

         370.   Even today, lack of transparency in the pricing of diabetes medications and

the arrangements, relationships and agreements between and among Manufacturer

Defendants and PBM Defendants that result from the Insulin Pricing Scheme continue to

hide Defendants’ unlawful conduct from Harris County.




                                             75
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 79 of 156



       371.     For these reasons, all applicable statutes of limitation have been tolled by

operation of the discovery rule with respect to claims identified herein.

              Fraudulent Concealment Tolling

       372.     As detailed above, all applicable statutes of limitation have also been tolled

by the Defendants’ knowing and active fraudulent concealment and denial of the facts

alleged herein throughout the time period relevant to this action.

              Estoppel

       373.     Defendants were under a continuous duty to disclose to Harris County the

true character, quality and nature of the reported prices upon which their payments for

diabetes medications were based, and the true nature of the services being provided.

       374.     Based on the foregoing, Defendants are estopped from relying on any

statutes of limitations in defense of this action.

              Continuing Violations

       375.     All applicable statutes of limitations are also tolled because Defendants’

fraudulent activities have not ceased and still continue to this day and thus any causes of

action are not complete and do not accrue until the tortious and anticompetitive acts have

ceased.

                               VI.    CLAIMS FOR RELIEF

                                 FIRST CAUSE OF ACTION

     Violations of the Racketeer Influenced and Corrupt Organizations Act
                     (“RICO”), 18 U.S.C. 18 U.S.C. § 1962(c)
                   (Against Eli Lilly and All PBM Defendants)

       376.      Plaintiff Harris County re-alleges and incorporates herein by reference

each of the allegations contained in the preceding paragraphs.




                                              76
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 80 of 156



       377.      This cause of action is brought by Plaintiff Harris County against

Defendants Eli Lilly, Express Scripts, CVS Caremark, OptumRx and Aetna Rx for

violations of 18 U.S.C. § 1962(c).

       378.      Defendants Eli Lilly, Express Scripts, CVS Caremark, OptumRx and Aetna

Rx are (a) culpable “persons” who (b) willfully and knowingly (c) committed and conspired

to the commission of mail and wire fraud (d) through a “pattern” (e) involving an

“association in fact,” (f) the results of which had an effect on interstate commerce.

              Defendants are Culpable “Persons” Under RICO.

       379.      Defendants Eli Lilly, Express Scripts, CVS Caremark, OptumRx and Aetna

Rx, separately, are “persons” as that term is defined in 18 U.S.C. § 1961(3) because each is

capable of holding a legal or beneficial interest in property.

       380.      Each one of Defendants Eli Lilly, Express Scripts, CVS Caremark,

OptumRx and Aetna Rx are separate entities and “persons” that are distinct from the RICO

enterprises alleged below.

              Eli Lilly-PBM RICO Enterprises

       381.      For the purposes of this claim, the RICO enterprises are four separate

associations-in-fact consisting of one of each of the PBM Defendants that administers

purchases of Eli Lilly’s Humulin N, Humulin R, Humalog, Trulicity and Basaglar,

including those entities’ directors, employees, and agents, and Eli Lilly, including its

directors, employees and agents: (1) the Eli Lilly-CVS Caremark association-in-fact

enterprise; (2) the Eli Lilly-Express Scripts association-in-fact enterprise; (3) the Eli Lilly-

OptumRx association-in-fact enterprise; and (4) the Eli Lilly-Aetna Rx association-in-fact

enterprise (collectively, “Eli Lilly-PBM Enterprises”).




                                              77
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 81 of 156



       382.     Each Eli Lilly-PBM Enterprise is a separate ongoing and continuing

business organization consisting of both corporations and individuals that are and have

been associated for the common and/or shared purposes of manufacturing, selling,

facilitating the purchase of and profiting from the sale of Eli Lilly’s Humulin N, Humulin

R, Humalog, Trulicity and Basaglar to the public and to Plaintiff Harris County.

       383.     With respect to the Insulin Pricing Scheme, each Eli Lilly-PBM Enterprise

engaged in the shared purposes of exchanging inflated reported prices and secret refund

payments for preferred formulary positions for Eli Lilly’s diabetes medications in order to

profit off the public and Plaintiff Harris County.

       384.     Each of the Eli Lilly-PBM Enterprises has a systemic linkage because there

are contractual relationships, financial ties and continuing coordination of activities

between Eli Lilly and CVS Caremark, Eli Lilly and Express Scripts, Eli Lilly and OptumRx

and Eli Lilly and Aetna Rx.

       385.     As to each of these Eli Lilly-PBM Enterprises, there is a common

communication network by which Eli Lilly and CVS Caremark, Eli Lilly and Express

Scripts, Eli Lilly and OptumRx and Eli Lilly and Aetna Rx share information and meet on

a regular basis. These communications relate to the use of the reported prices of diabetes

medications and the regular flow of payments from Eli Lilly to each PBM Defendant for

formulary placement, including: (i) access rebates for placement of products on their

formulary; (ii) market share rebates for garnering higher market share than established

targets; (iii) undisclosed administrative fees; and (iv) other fees and grants in an effort to

promote products.




                                             78
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 82 of 156



       386.       As to each of these Eli Lilly-PBM Enterprises, Eli Lilly and CVS Caremark,

Eli Lilly and Express Scripts, Eli Lilly and OptumRx and Eli Lilly and Aetna Rx function as

continuing but separate units.

       387.       At all relevant times, each of the Eli Lilly-PBM Enterprises was operated

and conducted by Eli Lilly and each PBM Defendant for unlawful purposes, namely,

carrying out the Insulin Pricing Scheme.

       388.       From these activities, each Eli Lilly-PBM Enterprise derived secret profits

that are greater than either Eli Lilly or any one of the PBM Defendants could obtain absent

their misrepresentations regarding their non-transparent pricing schemes.

       389.       To accomplish this common purpose, each Eli Lilly-PBM Enterprise

periodically and systematically inflated the reported prices of Humulin N, Humulin R,

Humalog, Trulicity and Basaglar and then secretly paid a significant, yet undisclosed,

portion of this inflated price back to PBM Defendants in the form of rebates,

administrative fees and other “soft dollars.”

       390.       Each Eli Lilly-PBM Enterprise did so willfully, and with knowledge that

Plaintiff Harris County paid for the at issue drugs at a price directly based on Eli Lilly’s

reported price.

       391.       Eli Lilly’s inflation of its reported prices and secret payments were a quid

pro quo exchange with each PBM Defendant for preferred formulary placement.

       392.       Each Eli Lilly-PBM Enterprise concealed from the public and Harris

County that these inflated reported prices and secret payments resulted in higher profits

for Eli Lilly, through ensuring formulary access without requiring significant price

reductions; and they resulted in higher profits for each PBM Defendant, whose earnings




                                                79
    Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 83 of 156



increase the more inflated the reported price is and the more payment it receives from Eli

Lilly.

         393.   Each Eli Lilly-PBM Enterprise also shares a common purpose of

perpetuating the use of the reported prices of diabetes medications as the basis for the

price that health plans’ pay for diabetes medications.

         394.   Eli Lilly would not be able to market large pricing spreads to PBM

Defendants in exchange for favorable formulary positions without the use of the inflated

reported prices as the basis for the price paid by Plaintiff Harris County for the at issue

drugs.

         395.   Each PBM Defendant shares this common purpose because, without

health plans, including Harris County, paying for diabetes medications based on the

inflated reported prices, their profits from the Insulin Pricing Scheme would collapse.

         396.   As a result, each PBM Defendant has, with the knowing and willful

participation and assistance of Eli Lilly, engaged in hidden profit-making schemes falling

into four general categories: (i) garnering undisclosed rebates and other “soft dollars” from

Eli Lilly that each PBM Defendant, to a large extent, keep; (ii) pocketing secret spreads

including the Pharmacy Spread described above; (iii) creating large profit margins on the

diabetes medications sold through each PBM Defendants’ own mail order pharmacies and

(iv) keeping secret discounts Eli Lilly provides in association with each PBM Defendants’

mail order operations.

         397.   At all relevant times, each PBM Defendant and Eli Lilly has been aware of

their respective Eli Lilly-PBM Enterprise’s conduct, has been a knowing and willing

participant in and coordinator of that conduct and has reaped profits from that conduct.




                                             80
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 84 of 156



      398.          But for each Eli Lilly-PBM Enterprise’s common purpose of engaging in

the Insulin Pricing Scheme, Eli Lilly and each PBM Defendant would have had the

incentive to disclose the fraudulence of the scheme.

      399.          By failing to disclose this fraud, Eli Lilly and each PBM Defendant has

perpetuated the conduct of the Eli Lilly-PBM Enterprises.

      400.          Each Eli Lilly-PBM Enterprise knowingly made the following material

misrepresentations to the public and Plaintiff Harris County in furtherance of the

fraudulent scheme:

               a.       That Eli Lilly’s published, reported prices of diabetes medications

      resulted from transparent and competitive market forces and were a reasonable

      and fair basis on which to base the price Plaintiff Harris County paid for these

      drugs;

               b.       That the payments Eli Lilly paid back to each PBM Defendant for

      each at issue drug sold was for the benefit of Plaintiff Harris County;

               c.        That Eli Lilly and each PBM Defendant were transparent with

      Plaintiff Harris County, regarding these payments and that these payments did, in

      fact, save Harris County and the general public money;

               d.       That PBM Defendants’ “preferred” formulary status of diabetes

      medications reflects the drugs’ safety, efficacy and cost-effectiveness, as

      determined by PBM Defendants’ formulary committees and were constructed for

      the benefit of health plans, including Harris County; and

               e.       The extent to which the Insulin Pricing Scheme forced Harris

      County to incur additional expenses for diabetes medications.




                                              81
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 85 of 156



       401.     At all times relevant to this Complaint, each Eli Lilly-PBM Enterprise knew

that these representations were false.

       402.     At all times relevant to this Complaint, each Eli Lilly-PBM Enterprise

intentionally made these representations for the purpose of inducing health plans,

including Harris County, into paying for diabetes medications at artificially inflated prices.

       403.     Plaintiff Harris County relied on the material misrepresentations made by

each Eli Lilly-PBM Enterprise in paying prices for Eli Lilly’s diabetes medications based

upon the artificially inflated reported prices.

       404.     None of the PBM Defendants nor Eli Lilly alone could have accomplished

the purposes of the Eli Lilly-PBM Enterprise without the other entity.

       405.     Each PBM Defendant needs Eli Lilly to artificially inflate its reported prices

and to pay large refund payments back to the PBM Defendant.

       406.     For Eli Lilly to profit from the scheme, each PBM Defendant needed to

convince health plans, including Plaintiff Harris County, to select their formularies, on

which varying diabetes medications were given favorable treatment and to pay prices

based upon the artificially inflated reported price.

       407.     And PBM Defendants did so utilizing the misrepresentations listed above

to convince Plaintiff Harris County that they secured lower prices.

       408.     Without these misrepresentations, each Eli Lilly-PBM Enterprise could

not have achieved its common purpose as Plaintiff Harris County would not have been

willing to pay based upon these artificially raised and unreasonable prices.

       409.     The foregoing evidences that Eli Lilly and PBM Defendants were each

willing participants in the Eli Lilly-PBM Enterprises, had a common fraudulent purpose

and interest in the objective of the scheme, and functioned within a structure designed to


                                              82
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 86 of 156



effectuate the Enterprises’ purposes, i.e., to increase profits for Eli Lilly and each PBM

Defendant at the expense of health plans, including Plaintiff Harris County.

              Defendants’ Use of the U.S. Mails and Interstate Wire Facilities

       410.      Each of the Eli Lilly-PBM Enterprises engaged in and affected interstate

commerce because they engage in the following activities across state boundaries: the sale,

purchase and/or administration of diabetes medications; the setting and publishing of the

prices of these drugs; and/or the transmission of pricing information of diabetes

medications; and/or the transmission and/or receipt of sales and marketing literature;

and/or the transmission of diabetes medications through mail-order pharmacies; and/or

the transmission and/or receipt of invoices, statements, and payments related to the use

or administration of diabetes medications; and/or the negotiations and transmissions of

contracts related to the pricing of and payment for diabetes medications.

       411.      Each Eli Lilly-PBM Enterprise participated in the administration of

diabetes medications to millions of individuals located throughout the United States,

including to Plaintiff Harris County’s Beneficiaries in Texas.

       412.      Eli Lilly and each PBM Defendant’s illegal conduct and wrongful practices

were carried out by an array of employees, working across state boundaries, who

necessarily relied upon frequent transfers of documents and information and products and

funds through the U.S. mails and interstate wire facilities.

       413.      The nature and pervasiveness of the Insulin Pricing Scheme, which was

orchestrated out of Eli Lilly’s and each PBM Defendant’s corporate headquarters,

necessarily required those headquarters to communicate directly and frequently by the

U.S. mails and by interstate wire facilities with each other.




                                             83
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 87 of 156



       414.        Most of the precise dates of Eli Lilly’s and each PBM Defendant’s uses of

the U.S. mails and interstate wire facilities (and corresponding RICO predicate acts of mail

and wire fraud) have been hidden and cannot be alleged without access to each entity’s

books and records. Indeed, an essential part of the successful operation of the Insulin

Pricing Scheme depended upon secrecy, as alleged above. And Eli Lilly and each PBM

Defendant took deliberate steps to conceal their wrongdoing.

       415.        Plaintiff can generally describe the occasions on which the RICO predicate

acts of mail fraud and wire fraud occurred, and how those acts were in furtherance of the

Insulin Pricing Scheme.

       416.        Eli Lilly and each PBM Defendant’s use of the U.S. mails and interstate

wire facilities to perpetrate the Insulin Pricing Scheme involved thousands of

communications including, inter alia:

              a.        Marketing materials about the reported prices for diabetes

       medications and the available spreads, which Eli Lilly sent to each PBM Defendant

       located across the country;

              b.        Written and oral representations of the reported prices of diabetes

       medications that Eli Lilly and each PBM Defendant made at least annually and, in

       many cases, several times during a single year, including directly to Plaintiff

       Harris County;

              c.        Thousands of written and oral communications discussing,

       negotiating and confirming the placement of Eli Lilly’s diabetes medications on a

       particular PBM Defendant’s formulary;




                                               84
Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 88 of 156



         d.      Written and oral representations made by Eli Lilly regarding

  information or incentives paid back to each PBM Defendant for each diabetes

  medications sold and/or to conceal these incentives or the Insulin Pricing Scheme;

         e.      Written communications made by Eli Lilly, including checks,

  relating to rebates or other financial inducements paid to each PBM Defendant to

  persuade them to advocate Eli Lilly’s diabetes medications;

         f.      Written and oral communications with U.S. government agencies

  and health plans, such as Plaintiff Harris County, that fraudulently

  misrepresented what the reported prices were or that they were intended to deter

  investigations into the true nature of the reported prices or to forestall changes to

  reimbursement based on something other than reported prices;

         g.      Written and oral communications with Plaintiff Harris County,

  regarding and/or negotiating the price of diabetes medications;

         h.      Written and oral communications to Plaintiff Harris County,

  including marketing and solicitation material sent by each PBM Defendant at least

  in 2003, 2008 and 2016, as well as annual written reports, regarding the existence,

  amount, or purpose of payments made by Eli Lilly to each PBM Defendant for the

  diabetes medications described herein and the purpose of PBM Defendants’

  formularies;

         i.      Transmission of reported prices to third parties, including Plaintiff

  Harris County;

         j.      Receipts of money on tens of thousands of occasions through the

  U.S. mails and interstate wire facilities—the wrongful proceeds of the Insulin

  Pricing Scheme; and


                                        85
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 89 of 156



                k.        In addition to the above-referenced RICO predicate acts, Eli Lilly’s

       and each PBM Defendant’s corporate headquarters have communicated through

       use of the U.S. mails and by interstate wire facilities with their various local

       headquarters or divisions, in furtherance of the Insulin Pricing Scheme, including

       within Texas.

              Conduct of Eli Lilly-PBM Enterprises’ Affairs

       417.          Eli Lilly and each PBM Defendant has participated in and exerted control

over the Eli Lilly-PBM Enterprises with which they were associated and, in violation of

Section 1962(c) of RICO, Eli Lilly and each PBM Defendant has conducted or participated

in the conduct of the affairs of those association-in-fact RICO enterprises, directly or

indirectly. Such participation was carried out in the following ways:

                a.        Eli Lilly directly controls the secret payments it provides to PBM

       Defendants for its diabetes medications, which determines the amount of each

       PBM Defendants’ compensation from Eli Lilly;

                b.        PBM Defendants directly control their respective drug formularies,

       which determines the utilization of Eli Lilly’s diabetes medications;

                c.        Eli Lilly directly controls the prices that it publicly reports;

                d.        Eli Lilly directly controls the creation and distribution of marketing,

       sales and other materials used to inform each PBM Defendant of the profit

       potential from its diabetes medications;

                e.        Each PBM Defendant directly controls the creation and distribution

       of marketing, sales and other materials used to inform health plans of the benefits

       and cost-saving potential of contracting with PBMs;




                                                   86
Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 90 of 156



         f.     Each PBM Defendant and Eli Lilly has relied upon its employees and

  agents to promote the Insulin Pricing Scheme through the U.S. mails, through

  interstate wire facilities and through direct contacts with providers and health

  plans; and

         g.     Eli Lilly has controlled and participated in the affairs of each Eli

  Lilly-PBM Enterprises by providing payments and/or other inducements to place

  Eli Lilly’s diabetes medications on each PBM Defendants’ formularies or advocate

  the use of certain diabetes medications. These inducements include Eli Lilly’s

  payment to each PBM Defendant of: (i) access rebates for placement of products

  on the PBMs’ formulary; (ii) market share rebates for garnering higher market

  share than established targets; (iii) undisclosed administrative fees; and (iv) other

  fees and grants.

         h.     Each PBM Defendant has controlled and participated in the affairs

  of the Eli Lilly-PBM Enterprise with which it is associated by incentivizing and

  agreeing with Eli Lilly to exchange formulary placement for inflated reported

  prices and payments as described above. Furthermore, PBM Defendants hide the

  actual amount of secret refund payments received from Eli Lilly by relabeling

  them discounts, credits, concession fees, administrative fees, etc. and then not

  disclosing the amount paid under these labels.

         i.     Each PBM Defendant did distribute through the U.S. mail and

  interstate wire facilities, promotional and other materials which claimed that the

  money paid from Eli Lilly to each PBM Defendant saved health plans, like Plaintiff

  Harris County, money on their prescription needs.




                                        87
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 91 of 156



              j.       Eli Lilly represented to the general public and Harris County—by

       publishing and promoting reported prices without stating that these reported

       prices differed substantially from the prices realized by Eli Lilly and each PBM

       Defendant—that the reported prices of diabetes medications reflected or

       approximated the net price realized by Defendants and resulted from transparent

       and competitive market forces.

              k.       Each of the Eli Lilly-PBM Enterprises identified above had

       hierarchical decision-making structure headed by Eli Lilly and each PBM

       Defendant.

              l.       In violation of Section 1962(c) of RICO, Eli Lilly and each PBM

       Defendant has conducted the affairs of each of the Eli Lilly-PBM Enterprises with

       which they associated in order to carry out the Insulin Pricing Scheme.

           Defendants’ Pattern of Racketeering Activity

   418.            Eli Lilly and each PBM Defendant has conducted and participated in the

affairs of their respective Eli Lilly-PBM Enterprises through a pattern of racketeering

activity, including acts that are unlawful under 18 U.S.C. § 1341, relating to mail fraud, and

18 U.S.C. § 1343, relating to wire fraud.

   419.            Eli Lilly’s and each PBM Defendant’s pattern of racketeering likely

involved thousands, if not hundreds of thousands, of separate instances of use of the U.S.

mails or interstate wire facilities in furtherance of the Insulin Pricing Scheme described

above. Each of these fraudulent mailings and interstate wire transmissions constitutes a

“racketeering activity” within the meaning of 18 U.S.C. § 1961(1). Collectively, these

violations constitute a “pattern of racketeering activity,” within the meaning of 18 U.S.C. §




                                             88
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 92 of 156



1961(5), in which Eli Lilly and each PBM Defendant intended to defraud Plaintiff Harris

County.

   420.         By intentionally and artificially inflating the reported prices, by

misrepresenting the purpose behind both the payments made from Eli Lilly to each PBM

Defendant and each PBM Defendant’s formulary decisions and by subsequently failing to

disclose such practices to the public and Harris County, Eli Lilly and each PBM Defendant

engaged in a fraudulent and unlawful course of conduct constituting a pattern of

racketeering activity.

   421.         Eli Lilly’s and each PBM Defendant’s racketeering activities amounted to a

common course of conduct, with similar patterns and purposes, intended to deceive health

plans, including Harris County.

   422.         Each separate use of the U.S. mails and/or interstate wire facilities

employed by Eli Lilly and each PBM Defendant was related, had similar intended

purposes, involved similar participants and methods of execution, and had the same

results affecting the same victims, including Harris County.

   423.         Eli Lilly and each PBM Defendant engaged in the pattern of racketeering

activity for the purpose of conducting the ongoing business affairs of the respective Eli

Lilly-PBM Enterprises with which each of them is and was associated in fact.

           Defendants’ Motive

       424.     Eli Lilly’s and each PBM Defendant’s motives in creating and operating the

Insulin Pricing Scheme and conducting the affairs of the Eli Lilly-PBM Enterprises

described herein was to fraudulently obtain sales of and profits from diabetes medications.

       425.     The Insulin Pricing Scheme was designed to, and did, encourage others,

including health plans, such as Harris County, to advocate the use of Eli Lilly’s products


                                            89
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 93 of 156



and to pay for those diabetes medications based on a fraudulently inflated price. Eli Lilly

used the Insulin Pricing Scheme to obtain formulary placement to sell more of its drugs

without having to cut into its profit margin. Each PBM Defendant used the Insulin Pricing

Scheme to inflate the price health plans such as Plaintiff Harris County paid for diabetes

medications in order to profit off the Secret Payment Game, the Pharmacy Spread and

their mail order pharmacies, as discussed above.

              Eli Lilly-PBM Enterprises’ Insulin Pricing Scheme Damaged Harris
              County

       426.      Each Eli Lilly-PBM Enterprise’s violations of federal law and pattern of

racketeering activity has directly and proximately caused Plaintiff Harris County to be

injured in its business or property.

       427.      The price Harris County pays for Humulin N, Humulin R, Humalog,

Trulicity and Basaglar is directly tied to Eli Lilly’s reported prices.

       428.      No other intermediary in the supply chain has control over or is

responsible for the reported prices on which Harris County’s payments are based other

than the Eli Lilly-PBM Defendant Enterprises.

       429.      PBM Defendants set the price by which Harris County paid for the at issue

diabetes medications. PBM Defendants also receive payments made by Harris County for

the at issue diabetes medications.

       430.      During the relevant time period, each PBM Defendant provided PBM

services to Plaintiff Harris County.

       431.      The entire basis behind each Eli Lilly-PBM Enterprise’s fraudulent scheme

was to convince health plans, such as Harris County, to pay inflated prices for diabetes

medications in order to make enormous profits.



                                               90
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 94 of 156



       432.     Each Eli Lilly-PBM Enterprise controlled and participated in the Insulin

Pricing Scheme that was directly responsible for the artificially inflated reported prices

upon which the price Harris County paid was based.

       433.     Thus, Harris County was damaged as a result of the Insulin Pricing

Scheme. But for the misrepresentations and inflated prices created by the Insulin Pricing

Scheme that each Eli Lilly-PBM Enterprise employed, Harris County would have paid less

for diabetes medications.

       434.     As explained above, Harris County’s damages are the difference between

the price that Harris County paid for the at issue drugs and what it would have paid absent

the Insulin Pricing Scheme.

       435.     Harris County was directly harmed by the Insulin Pricing Scheme and is

entitled to seek a remedy for the economic harms to Harris County from Defendants’

fraudulent scheme.

       436.     Harris County’s damages are separate and distinct from any other victim

that was harmed by the Eli Lilly-PBM Defendant Enterprises’ Insulin Pricing Scheme.

       437.     By virtue of these violations of 18 U.S.C. § 1962(c), under the provisions of

Section 1964(c) of RICO, Defendants are jointly and severally liable to Harris County for

three times the damages that Harris County has sustained, plus the costs of bringing this

suit, including reasonable attorneys’ fees.

       438.     By virtue of these violations of 18 U.S.C. § 1962(c), under the provisions of

Section 1964(a) of RICO, Plaintiff Harris County seeks injunctive relief against Eli Lilly

and PBM Defendants for their fraudulent reporting of their prices and their continuing

acts to affirmatively misrepresent and/or conceal and suppress material facts concerning

their artificially inflated prices for diabetes medications, plus the costs of bringing this suit,


                                               91
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 95 of 156



including reasonable attorneys’ fees. Absent an injunction, the effects of this fraudulent,

unfair and unconscionable conduct will continue. Plaintiff Harris County continues to

purchase Eli Lilly’s diabetes medications. And Harris County will continue to pay based on

the Defendants’ fraudulent reported prices. This continuing fraudulent, unfair and

unconscionable conduct is a serious matter that calls for injunctive relief as a remedy.

Plaintiff Harris County seeks injunctive relief, including an injunction against Eli Lilly and

PBM Defendants, to prevent them from affirmatively misrepresenting and/or concealing

and suppressing material facts concerning their artificially inflated prices for diabetes

medications.

                               SECOND CAUSE OF ACTION

                  Violations of RICO, 18 U.S.C. 18 U.S.C. § 1962(c)
                  (Against Novo Nordisk and All PBM Defendants)

       439.     Plaintiff Harris County re-alleges and incorporates herein by reference

each of the allegations contained in the preceding paragraphs.

       440.     This cause of action is brought by Plaintiff Harris County against

Defendants Novo Nordisk, Express Scripts, CVS Caremark, OptumRx and Aetna Rx for

violations of 18 U.S.C. § 1962(c).

       441.     Defendants Novo Nordisk, Express Scripts, CVS Caremark, OptumRx and

Aetna Rx are (a) culpable “persons” who (b) willfully and knowingly (c) committed and

conspired to the commission of mail and wire fraud (d) through a “pattern” (e) involving

an “association in fact,” (f) the results of which had an effect on interstate commerce.




                                             92
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 96 of 156



           Defendants are Culpable “Persons” Under RICO.

       442.      Defendants Novo Nordisk, Express Scripts, CVS Caremark, OptumRx and

Aetna Rx, separately, are “persons” as that term is defined in 18 U.S.C. § 1961(3) because

each is capable of holding a legal or beneficial interest in property.

       443.      Each one of Defendants Novo Nordisk, Express Scripts, CVS Caremark,

OptumRx and Aetna Rx are separate entities and “persons” that are distinct from the RICO

enterprises alleged below.

           Novo Nordisk-PBM RICO Enterprises

       444.      For the purposes of this claim, the RICO enterprises are four separate

associations-in-fact consisting of one of each of the PBM Defendants that administers

purchases of Novo Nordisk’s Novolin R, Novolin N, Novolog, Levemir, Tresiba, Victoza

and Ozempic, including those entities’ directors, employees, and agents, and Novo

Nordisk, including its directors, employees and agents: (1) the Novo Nordisk-CVS

Caremark association-in-fact enterprise; (2) the Novo Nordisk-Express Scripts

association-in-fact enterprise; (3) the Novo Nordisk-OptumRx association-in-fact

enterprise; and (4) the Novo Nordisk-Aetna Rx association-in-fact enterprise (collectively,

“Novo Nordisk-PBM Enterprises”).

       445.      Each Novo Nordisk-PBM Enterprise is a separate ongoing and continuing

business organization consisting of both corporations and individuals that are and have

been associated for the common and/or shared purposes of manufacturing, selling,

facilitating the purchase of and profiting from the sale of Novo Nordisk’s Novolin R,

Novolin N, Novolog, Levemir, Tresiba, Victoza and Ozempic to the public and Plaintiff

Harris County.




                                              93
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 97 of 156



       446.     With respect to the Insulin Pricing Scheme, each Novo Nordisk-PBM

Enterprise engaged in the shared purposes of exchanging inflated reported prices and

secret payments for preferred formulary positions for Novo Nordisk’s diabetes

medications in order to profit off Plaintiff Harris County and the public.

       447.     Each of the Novo Nordisk-PBM Enterprises has a systemic linkage because

there are contractual relationships, financial ties and continuing coordination of activities

between Novo Nordisk and CVS Caremark, Novo Nordisk and Express Scripts, Novo

Nordisk and OptumRx and Novo Nordisk and Aetna Rx.

       448.     As to each of these Novo Nordisk-PBM Enterprises, there is a common

communication network by which Novo Nordisk and CVS Caremark, Novo Nordisk and

Express Scripts, Novo Nordisk and OptumRx and Novo Nordisk and Aetna Rx share

information and meet on a regular basis. These communications relate to the use of the

reported prices of diabetes medications and the regular flow of payments from Novo

Nordisk to each PBM Defendant for formulary placement, including: (i) access rebates for

placement of products on their formulary; (ii) market share rebates for garnering higher

market share than established targets; (iii) undisclosed administrative fees; and (iv) other

fees and grants in an effort to promote products.

       449.     As to each of these Novo Nordisk-PBM Enterprises, Novo Nordisk and CVS

Caremark, Novo Nordisk and Express Scripts, Novo Nordisk and OptumRx and Novo

Nordisk and Aetna Rx function as continuing but separate units.

       450.     At all relevant times, each of the Novo Nordisk-PBM Enterprises was

operated and conducted by Novo Nordisk and each PBM Defendant for unlawful purposes,

namely, carrying out the Insulin Pricing Scheme.




                                             94
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 98 of 156



       451.     From these activities, each Novo Nordisk-PBM Enterprise derived secret

profits that are greater than either Novo Nordisk or any one of the PBM Defendants could

obtain absent their misrepresentations regarding each enterprises’ non-transparent

pricing schemes.

       452.     To accomplish this common purpose, each Novo Nordisk-PBM Enterprise

periodically and systematically inflated the reported prices of Novolin R, Novolin N,

Novolog, Levemir, Tresiba, Victoza and Ozempic and then secretly paid a significant, yet

undisclosed, portion of this inflated price back to PBM Defendants in the form of rebates,

administrative fees and other “soft dollars.”

       453.     Each Novo Nordisk-PBM Enterprise did so willfully, and with knowledge

that Plaintiff Harris County and third-party payers make payments directly based on Novo

Nordisk’s reported price.

       454.     Novo Nordisk’s inflation of its reported prices and payment of secret

refund payments were a quid pro quo exchange with each PBM Defendant for preferred

formulary placement.

       455.     Each Novo Nordisk-PBM Enterprise concealed from the public and

Plaintiff Harris County that these inflated reported prices and secret payments resulted in

higher profits for Novo Nordisk, through ensuring formulary access without requiring

significant price reductions; and they resulted in higher profits for each PBM Defendant,

whose earnings increase the more inflated the reported price is and the more refund

payments it receives.

       456.     Each Novo Nordisk-PBM Enterprise also shares a common purpose of

perpetuating the use of the reported prices of diabetes medications as the basis for the

price that Plaintiff Harris County pays for diabetes medications.


                                                95
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 99 of 156



         457.   Novo Nordisk would not be able to market large pricing spreads to PBM

Defendants in exchange for favorable formulary positions without the use of the inflated

reported prices as the basis for the price paid by Plaintiff Harris County for the at issue

drugs.

         458.   Each PBM Defendant shares this common purpose because, without

health plans, including Harris County, paying for diabetes medications based on the

inflated reported prices, their profits from the Insulin Pricing Scheme would collapse.

         459.   As a result, each PBM Defendant has, with the knowing and willful

participation and assistance of Novo Nordisk, engaged in hidden profit-making schemes

falling into four general categories: (i) garnering undisclosed payments and other “soft

dollars” from Novo Nordisk that each PBM Defendant, to a large extent, keep; (ii)

pocketing secret spreads including the Pharmacy Spread described above; (iii) creating

large profit margins on the diabetes medications sold through each PBM Defendants’ own

mail order pharmacies and (iv) keeping secret discounts Novo Nordisk provides in

association with each PBM Defendants’ mail order operations.

         460.   At all relevant times, each PBM Defendant and Novo Nordisk has been

aware of their respective Novo Nordisk-PBM Enterprise’s conduct, has been a knowing

and willing participant in and coordinator of that conduct and has reaped profits from that

conduct.

         461.   But for each Novo Nordisk-PBM Enterprise’s common purpose of

enlarging the hidden spreads between net and reported price, Novo Nordisk and each PBM

Defendant would have had the incentive to disclose the fraudulence of the Insulin Pricing

Scheme.




                                            96
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 100 of 156



       462.        By failing to disclose this fraud, Novo Nordisk and each PBM Defendant

has perpetuated the conduct of the Novo Nordisk-PBM Enterprises.

       463.        Each Novo Nordisk-PBM Enterprise knowingly made the following

material misrepresentations to the public and Plaintiff Harris County in furtherance of the

fraudulent scheme:

              a.       That Novo Nordisk’s published, reported prices of diabetes

       medications resulted from transparent and competitive market forces and were a

       reasonable and fair basis on which to base the price Plaintiff Harris County paid

       for these drugs;

              b.       That the payments Novo Nordisk paid back to each PBM Defendant

       for each at issue drug sold was for the benefit of Plaintiff Harris County;

              c.        That Novo Nordisk and each PBM Defendant were transparent with

       Plaintiff Harris County, regarding these payments and that these payments did, in

       fact, save Harris County and the general public money;

              d.       That PBM Defendants’ “preferred” formulary status of diabetes

       medications reflects the drugs’ safety, efficacy and cost-effectiveness, as

       determined by PBM Defendants’ formulary committees and were constructed for

       the benefit of health plans, including Harris County; and

              e.       The extent to which the Insulin Pricing Scheme forced Harris

       County to incur additional expenses for diabetes medications.

       464.        At all times relevant to this Complaint, each Novo Nordisk-PBM

Enterprise knew that these representations were false.

       465.        At all times relevant to this Complaint, each Novo Nordisk-PBM

Enterprise intentionally made these representations for the purpose of inducing health


                                             97
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 101 of 156



plans, including Harris County, into paying for diabetes medications at artificially inflated

prices.

          466.   Plaintiff Harris County relied on the material misrepresentations made by

each Novo Nordisk-PBM Enterprise in paying prices for Novo Nordisk’s diabetes

medications based upon the artificially inflated reported prices.

          467.   None of the PBM Defendants nor Novo Nordisk alone could have

accomplished the purposes of the Novo Nordisk-PBM Enterprise without the other entity.

          468.   Each PBM Defendant needs Novo Nordisk to artificially inflate its reported

prices and to pay large secret payments back to the PBM Defendant.

          469.   For Novo Nordisk to profit from the scheme, each PBM Defendant needed

to convince health plans, such as Plaintiff Harris County, to select their formularies, on

which varying diabetes medications were given favorable treatment and to pay prices

based upon the artificially inflated reported price.

          470.   And PBM Defendants did so utilizing the misrepresentations listed above

to convince Plaintiff Harris County that they secured lower prices.

          471.   Without these misrepresentations, each Novo Nordisk-PBM Enterprise

could not have achieved its common purpose as Plaintiff Harris County would not have

been willing to pay based upon these artificially raised and unreasonable prices.

          472.   The foregoing evidences that Novo Nordisk and PBM Defendants were

each willing participants in the Novo Nordisk-PBM Enterprises, had a common fraudulent

purpose and interest in the objective of the scheme, and functioned within a structure

designed to effectuate the Enterprises’ purposes, i.e., to increase profits for Novo Nordisk

and each PBM Defendant at the expense of Plaintiff Harris County.




                                             98
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 102 of 156



              Defendants’ Use of the U.S. Mails and Interstate Wire Facilities

       473.      Each of the Novo Nordisk-PBM Enterprises engaged in and affected

interstate commerce because they engage in the following activities across state

boundaries: the sale, purchase and/or administration of diabetes medications; the setting

and publishing of the prices of these drugs; and/or the transmission of pricing information

of diabetes medications; and/or the transmission and/or receipt of sales and marketing

literature; and/or the transmission of diabetes medications through mail-order

pharmacies; and/or the transmission and/or receipt of invoices, statements and payments

related to the use or administration of diabetes medications; and/or the negotiations and

transmissions of contracts related to the pricing of and payment for diabetes medications.

       474.      Each Novo Nordisk-PBM Enterprise participated in the administration of

diabetes medications to millions of individuals located throughout the United States,

including to Plaintiff Harris County’s Beneficiaries in Texas.

       475.      Novo Nordisk and each PBM Defendant’s illegal conduct and wrongful

practices were carried out by an array of employees, working across state boundaries, who

necessarily relied upon frequent transfers of documents and information and products and

funds through the U.S. mails and interstate wire facilities.

       476.      The nature and pervasiveness of the Insulin Pricing Scheme, which was

orchestrated out of Novo Nordisk’s and each PBM Defendant’s corporate headquarters,

necessarily required those headquarters to communicate directly and frequently by the

U.S. mails and by interstate wire facilities with each other.

       477.      Most of the precise dates of Novo Nordisk’s and each PBM Defendant’s

uses of the U.S. mails and interstate wire facilities (and corresponding RICO predicate acts

of mail and wire fraud) have been hidden and cannot be alleged without access to each


                                             99
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 103 of 156



entity’s books and records. Indeed, an essential part of the successful operation of the

Insulin Pricing Scheme depended upon secrecy, as alleged above. And Novo Nordisk and

each PBM Defendant took deliberate steps to conceal their wrongdoing.

      478.        Plaintiff can generally describe the occasions on which the RICO predicate

acts of mail fraud and wire fraud occurred, and how those acts were in furtherance of the

Insulin Pricing Scheme.

      479.        Novo Nordisk and each PBM Defendant’s use of the U.S. mails and

interstate wire facilities to perpetrate the Insulin Pricing Scheme involved thousands of

communications including, inter alia:

             a.        Marketing materials about the reported prices for diabetes

      medications and the available spreads, which Novo Nordisk sent to each PBM

      Defendant located across the country;

             b.        Written and oral representations of the reported prices of diabetes

      medications that Novo Nordisk and each PBM Defendant made at least annually

      and, in many cases, several times during a single year, including directly to

      Plaintiff Harris County;

             c.        Thousands of written and oral communications discussing,

      negotiating and confirming the placement of Novo Nordisk’s diabetes medications

      on a particular PBM Defendant’s formulary;

             d.        Written and oral representations made by Novo Nordisk regarding

      information or incentives paid back to each PBM Defendant for each diabetes

      medications sold and/or to conceal these incentives or the Insulin Pricing Scheme;




                                             100
Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 104 of 156



          e.      Written communications made by Novo Nordisk, including checks,

   relating to payments or other financial inducements paid to each of PBM

   Defendants to persuade them to advocate Novo Nordisk’s diabetes medications;

          f.      Written and oral communications with U.S. government agencies

   and health plans, such as Plaintiff Harris County, that fraudulently

   misrepresented what the reported prices were, or that they were intended to deter

   investigations into the true nature of the reported prices or to forestall changes to

   reimbursement based on something other than reported prices;

          g.      Written and oral communications with health plans, including

   Plaintiff Harris County, regarding and/or negotiating the price of diabetes

   medications;

          h.      Written and oral communications to Plaintiff Harris County,

   including marketing and solicitation material sent by each PBM Defendant at least

   in 2003, 2008 and 2016, as well as annual written reports, regarding the existence,

   amount, or purpose of payments made by Novo Nordisk to each PBM Defendant

   for the diabetes medications described herein and the purpose of PBM

   Defendants’ formularies;

          i.      Transmission of reported prices to third parties, including Plaintiff

   Harris County;

          j.      Receipts of money on tens of thousands of occasions through the

   U.S. mails and interstate wire facilities—the wrongful proceeds of the Insulin

   Pricing Scheme; and

          k.      In addition to the above-referenced RICO predicate acts, Novo

   Nordisk’s and each PBM Defendant’s corporate headquarters have communicated


                                        101
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 105 of 156



       through use of the U.S. mails and by interstate wire facilities with their various

       local headquarters or divisions, in furtherance of the Insulin Pricing Scheme,

       including within Texas.

           Conduct of Novo Nordisk-PBM Enterprises’ Affairs

   480.            Novo Nordisk and each PBM Defendant has participated in and exerted

control over the Novo Nordisk-PBM Enterprises with which they were associated and, in

violation of Section 1962(c) of RICO, Novo Nordisk and each PBM Defendant has

conducted or participated in the conduct of the affairs of those association-in-fact RICO

enterprises, directly or indirectly. Such participation was carried out in the following ways:

              a.       Novo Nordisk directly controls the secret payments it provides to

       PBM Defendants for its diabetes medications, which determines the amount of

       each PBM Defendant’s compensation from Novo Nordisk;

              b.       PBM Defendants directly control their respective drug formularies,

       which determines the utilization of Novo Nordisk’s diabetes medications;

              c.       Novo Nordisk directly controls the prices that it publicly reports;

              d.       Novo Nordisk directly controls the creation and distribution of

       marketing, sales and other materials used to inform each PBM Defendant of the

       profit potential from its diabetes medications;

              e.       Each PBM Defendant directly controls the creation and distribution

       of marketing, sales and other materials used to inform health plans of the benefits

       and cost-saving potential of contracting with PBMs;

              f.       Each PBM Defendant and Novo Nordisk has relied upon its

       employees and agents to promote the Insulin Pricing Scheme through the U.S.




                                              102
Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 106 of 156



   mails, through interstate wire facilities, and through direct contacts with providers

   and health plans; and

          g.     Novo Nordisk has controlled and participated in the affairs of each

   Novo Nordisk-PBM Enterprises by providing secret payments and/or other

   inducements to place Novo Nordisk’s diabetes medications on each PBM

   Defendant’s formularies or advocate the use of certain diabetes medications.

   These inducements include Novo Nordisk’s payment to each PBM Defendant of:

   (i) access rebates for placement of products on the PBMs’ formulary; (ii) market

   share rebates for garnering higher market share than established targets; (iii)

   undisclosed administrative fees; and (iv) other fees and grants.

          h.     Each PBM Defendant has controlled and participated in the affairs

   of the Novo Nordisk-PBM Enterprise with which it is associated by incentivizing

   and agreeing with Novo Nordisk to exchange formulary placement for inflated

   reported prices and payments as described above. Furthermore, PBM Defendants

   hide the actual amount of secret payments received from Novo Nordisk by

   relabeling them discounts, credits, concession fees, administrative fees, etc. and

   then not disclosing the amount paid under these labels.

          i.     Each PBM Defendant did distribute through the U.S. mail and

   interstate wire facilities, promotional and other materials which claimed that the

   money paid from Novo Nordisk to each PBM Defendant saved health plans, like

   Plaintiff Harris County, money on their prescription needs.

          j.     Novo Nordisk represented to the general public and Harris County—

   by publishing and promoting reported prices without stating that these reported

   prices differed substantially from the prices realized by Novo Nordisk and each


                                        103
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 107 of 156



       PBM Defendant—that the reported prices of diabetes medications reflected or

       approximated the net prices and resulted from transparent and competitive

       market forces.

                k.       Each of the Novo Nordisk-PBM Enterprises identified above had

       hierarchical decision-making structure headed by Novo Nordisk and each PBM

       Defendant.

                l.       In violation of Section 1962(c) of RICO, Novo Nordisk and each

       PBM Defendant has conducted the affairs of each of the Novo Nordisk-PBM

       Enterprises with which they associated in order to carry out the Insulin Pricing

       Scheme.

              Defendants’ Pattern of Racketeering Activity

       481.          Novo Nordisk and each PBM Defendant has conducted and participated in

the affairs of their respective Novo Nordisk-PBM Enterprises through a pattern of

racketeering activity, including acts that are unlawful under 18 U.S.C. § 1341, relating to

mail fraud, and 18 U.S.C. § 1343, relating to wire fraud.

       482.          Novo Nordisk’s and each PBM Defendant’s pattern of racketeering likely

involved thousands, if not hundreds of thousands, of separate instances of use of the U.S.

mails or interstate wire facilities in furtherance of the Insulin Pricing Scheme described

above. Each of these fraudulent mailings and interstate wire transmissions constitutes a

“racketeering activity” within the meaning of 18 U.S.C. § 1961(1)(B). Collectively, these

violations constitute a “pattern of racketeering activity,” within the meaning of 18 U.S.C. §

1961(5), in which Novo Nordisk and each PBM Defendant intended to defraud Plaintiff

Harris County.




                                               104
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 108 of 156



           483.   By intentionally and artificially inflating the reported prices, by

misrepresenting the purpose behind both the payments made from Novo Nordisk to each

PBM Defendant and each PBM Defendant’s formulary decisions and by subsequently

failing to disclose such practices to the public and Harris County, Novo Nordisk and each

PBM Defendant engaged in a fraudulent and unlawful course of conduct constituting a

pattern of racketeering activity.

           484.   Novo Nordisk’s and each PBM Defendant’s racketeering activities

amounted to a common course of conduct, with similar patterns and purposes, intended

to deceive Plaintiff Harris County.

           485.   Each separate use of the U.S. mails and/or interstate wire facilities

employed by Novo Nordisk and each PBM Defendant was related, had similar intended

purposes, involved similar participants and methods of execution and had the same results

affecting the same victims, including Plaintiff Harris County.

           486.   Novo Nordisk and each PBM Defendant engaged in the pattern of

racketeering activity for the purpose of conducting the ongoing business affairs of the

respective Novo Nordisk-PBM Enterprises with which each of them is and was associated

in fact.

              Defendants’ Motive

           487.   Novo Nordisk’s and each PBM Defendant’s motives in creating and

operating the Insulin Pricing Scheme and conducting the affairs of the Novo Nordisk-PBM

Enterprises described herein was to fraudulently obtain sales of and profits from diabetes

medications.

           488.   The Insulin Pricing Scheme was designed to, and did, encourage others,

including health plans, such as Harris County, to advocate the use of Novo Nordisk’s


                                            105
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 109 of 156



products and to pay for those diabetes medications based on fraudulently inflated prices.

Novo Nordisk used the Insulin Pricing Scheme to obtain formulary placement to sell more

of its drugs without having to cut into its profit margin. Each PBM Defendant used the

Insulin Pricing Scheme to inflate the price health plans such as Plaintiff Harris County

paid for diabetes medications in order to profit off the Secret Payment Game, the

Pharmacy Spread and their mail order pharmacies, as discussed above.

              Novo Nordisk-PBM Enterprises’ Insulin Pricing Scheme Damaged
              Harris County

       489.      Each Novo Nordisk-PBM Enterprise’s violations of federal law and pattern

of racketeering activity has directly and proximately caused Plaintiff Harris County to be

injured in its business or property.

       490.      The price Harris County pays for Novolin R, Novolin N, Novolog, Levemir,

Tresiba, Victoza and Ozempic is directly tied to Novo Nordisk’s reported prices.

       491.      No other intermediary in the supply chain has control over or is

responsible for the reported prices on which Harris County’s payments are based other

than the Novo Nordisk-PBM Defendant Enterprises.

       492.      PBM Defendants set the price by which Harris County paid for the at issue

diabetes medications. PBM Defendants also receive payments made by Harris County for

the at issue diabetes medications.

       493.      During the relevant time period, each PBM Defendant provided PBM

services to Plaintiff Harris County.

       494.      The entire basis behind each Novo Nordisk-PBM Enterprise’s fraudulent

scheme was to convince health plans, such as Harris County, to pay inflated prices for

diabetes medications in order to make enormous profits.



                                            106
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 110 of 156



       495.     Each Novo Nordisk-PBM Enterprise controlled and participated in the

Insulin Pricing Scheme that was directly responsible for the artificially inflated reported

prices upon which the price Harris County paid was based.

       496.     Thus, Harris County was damaged as a result of the Insulin Pricing

Scheme. But for the misrepresentations and inflated prices created by the Insulin Pricing

Scheme that each Novo Nordisk-PBM Enterprise employed, Harris County would have

paid less for diabetes medications.

       497.     As explained above, Harris County’s damages are the difference between

the price that Harris County paid for the at issue drugs and what it would have paid absent

the Insulin Pricing Scheme.

       498.     Harris County was directly harmed by the Insulin Pricing Scheme and is

entitled to seek a remedy for the economic harms to Harris County from Defendants’

fraudulent scheme.

       499.     Harris County’s damages are separate and distinct from any other victim

that was harmed by the Novo Nordisk-PBM Defendant Enterprises’ Insulin Pricing

Scheme.

       500.     By virtue of these violations of 18 U.S.C. § 1962(c), under the provisions of

Section 1964(c) of RICO, Defendants are jointly and severally liable to Harris County for

three times the damages that Harris County has sustained, plus the costs of bringing this

suit, including reasonable attorneys’ fees.

       501.     By virtue of these violations of 18 U.S.C. § 1962(c), under the provisions of

Section 1964 of RICO, Plaintiff Harris County seeks injunctive relief against Novo Nordisk

and PBM Defendants for their fraudulent reporting of their prices and their continuing

acts to affirmatively misrepresent and/or conceal and suppress material facts concerning


                                              107
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 111 of 156



their artificially inflated prices for diabetes medications, plus the costs of bringing this suit,

including reasonable attorneys’ fees. Absent an injunction, the effects of this fraudulent,

unfair and unconscionable conduct will continue. Plaintiff Harris County continues to

purchase Novo Nordisk’s diabetes medications. And Harris County will continue to pay

based on the Defendants’ fraudulent reported prices. This continuing fraudulent, unfair

and unconscionable conduct is a serious matter that calls for injunctive relief as a remedy.

Plaintiff Harris County seeks injunctive relief, including an injunction against Novo

Nordisk and PBM Defendants, to prevent them from affirmatively misrepresenting and/or

concealing and suppressing material facts concerning their artificially inflated prices for

diabetes medications.

                                 THIRD CAUSE OF ACTION

                    Violations of RICO, 18 U.S.C. 18 U.S.C. § 1962(c)
                       (Against Sanofi and All PBM Defendants)

       502.     Plaintiff Harris County re-alleges and incorporates herein by reference

each of the allegations contained in the preceding paragraphs.

       503.     This cause of action is brought by Plaintiff Harris County against

Defendants Sanofi, Express Scripts, CVS Caremark, OptumRx and Aetna Rx for violations

of 18 U.S.C. § 1962(c).

       504.     Defendants Sanofi, Express Scripts, CVS Caremark, OptumRx and Aetna

Rx are (a) culpable “persons” who (b) willfully and knowingly (c) committed and conspired

to the commission of mail and wire fraud (d) through a “pattern” (e) involving an

“association in fact,” (f) the results of which had an effect on interstate commerce.




                                               108
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 112 of 156



           Defendants Are Culpable “Persons” Under RICO.

       505.     Defendants Sanofi, Express Scripts, CVS Caremark, OptumRx and Aetna

Rx, separately, are “persons” as that term is defined in 18 U.S.C. § 1961(3) because each is

capable of holding a legal or beneficial interest in property.

       506.     Each one of Defendants Sanofi, Express Scripts, CVS Caremark, OptumRx

and Aetna Rx are separate entities and “persons” that are distinct from the RICO

enterprises alleged below.

           Sanofi-PBM RICO Enterprises

       507.     For the purposes of this claim, the RICO enterprises are four separate

associations-in-fact consisting of one of each of the PBM Defendants that administers

purchases of Sanofi’s Lantus, Toujeo, Soliqua and Apidra, including those entities’

directors, employees, and agents, and Sanofi, including its directors, employees and

agents: (1) the Sanofi-CVS Caremark association-in-fact enterprise; (2) the Sanofi-Express

Scripts association-in-fact enterprise; (3) the Sanofi-OptumRx association-in-fact

enterprise; and (4) the Sanofi-Aetna Rx association-in-fact enterprise (collectively,

“Sanofi-PBM Enterprises”).

       508.     Each Sanofi-PBM Enterprise is a separate ongoing and continuing

business organization consisting of both corporations and individuals that are and have

been associated for the common and/or shared purposes of manufacturing, selling,

facilitating the purchase of, and profiting from the sale of Sanofi’s Lantus, Toujeo, Soliqua

and Apidra to the public and health plans, including Plaintiff Harris County.

       509.     With respect to the Insulin Pricing Scheme, each Sanofi-PBM Enterprise

engaged in the shared purposes of exchanging inflated reported prices and secret




                                             109
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 113 of 156



payments for preferred formulary positions for Sanofi’s diabetes medications in order to

profit off health plans, like Harris County, and the public.

       510.     Each of the Sanofi-PBM Enterprises has a systemic linkage because there

are contractual relationships, financial ties and continuing coordination of activities

between Sanofi and CVS Caremark, Sanofi and Express Scripts, Sanofi and OptumRx and

Sanofi and Aetna Rx.

       511.     As to each of these Sanofi-PBM Enterprises, there is a common

communication network by which Sanofi and CVS Caremark, Sanofi and Express Scripts,

Sanofi and OptumRx and Sanofi and Aetna Rx share information and meet on a regular

basis. These communications relate to the use of the reported prices of diabetes

medications and the regular flow of payments from Sanofi to each PBM Defendant for

formulary placement, including: (i) access rebates for placement of products on their

formulary; (ii) market share rebates for garnering higher market share than established

targets; (iii) undisclosed administrative fees; and (iv) other fees and grants in an effort to

promote products.

       512.     As to each of these Sanofi-PBM Enterprises, Sanofi and CVS Caremark,

Sanofi and Express Scripts, Sanofi and OptumRx and Sanofi and Aetna Rx function as

continuing but separate units.

       513.     At all relevant times, each of the Sanofi-PBM Enterprises was operated and

conducted by Sanofi and each PBM Defendant for unlawful purposes, namely, carrying out

the Insulin Pricing Scheme.

       514.     From these activities, each Sanofi-PBM Enterprise derived secret profits

that are greater than either Sanofi or any one of the PBM Defendants could obtain absent

their misrepresentations regarding their “rebates” and non-transparent pricing schemes.


                                             110
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 114 of 156



       515.       To accomplish this common purpose, each Sanofi-PBM Enterprise

periodically and systematically inflated the reported prices of Lantus, Toujeo, Soliqua and

Apidra and then secretly paid a significant, yet undisclosed, portion of this inflated price

back to PBM Defendants in the form of rebates, administrative fees and other “soft

dollars.”

       516.       Each Sanofi-PBM Enterprise did so willfully, and with knowledge that

Plaintiff Harris County and third-party payers make payments directly based on Sanofi’s

reported price.

       517.       Sanofi’s inflation of its reported prices and payment of secret refund

payments were a quid pro quo exchange with each PBM Defendant for preferred formulary

placement.

       518.       Each Sanofi-PBM Enterprise concealed from the public and Harris County

that these inflated reported prices and secret payments resulted in higher profits for

Sanofi, through ensuring formulary access without requiring significant price reductions;

and they resulted in higher profits for each PBM Defendant, whose earnings increase the

more inflated the reported price is and the more refund payments it receives.

       519.       Each Sanofi-PBM Enterprise also shares a common purpose of

perpetuating the use of the reported prices of diabetes medications as the basis for the

price that Plaintiff Harris County pays for diabetes medications.

       520.       Sanofi would not be able to market large pricing spreads to PBM

Defendants in exchange for favorable formulary positions without the use of the inflated

reported prices as the basis for the price paid by Harris County for the at issue drugs.




                                            111
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 115 of 156



      521.     Each PBM Defendant shares this common purpose because, without

health plans, including Harris County, paying for diabetes medications based on the

inflated reported prices, their profits from the Insulin Pricing Scheme would collapse.

      522.     As a result, each PBM Defendant has, with the knowing and willful

participation and assistance of Sanofi, engaged in hidden profit-making schemes falling

into four general categories: (i) garnering undisclosed refunds and other “soft dollars”

from Sanofi that each PBM Defendant, to a large extent, keep; (ii) pocketing secret spreads

including the Pharmacy Spread described above; (iii) creating large profit margins on the

diabetes medications sold through each PBM Defendants’ own mail order pharmacies and

(iv) keeping secret discounts Sanofi provides in association with each PBM Defendants’

mail order operations.

      523.     At all relevant times, each PBM Defendant and Sanofi has been aware of

their respective Sanofi-PBM Enterprise’s conduct, has been a knowing and willing

participant in and coordinator of that conduct and has reaped profits from that conduct.

      524.     But for each Sanofi-PBM Enterprise’s common purpose of enlarging the

hidden spreads between net and reported price, Sanofi and each PBM Defendant would

have had the incentive to disclose the fraudulence of the Insulin Pricing Scheme.

      525.     By failing to disclose this fraud, Sanofi and each PBM Defendant has

perpetuated the conduct of the Sanofi-PBM Enterprises.

      526.     Each Sanofi-PBM Enterprise knowingly made the following material

misrepresentations to the public and Plaintiff Harris County in furtherance of the

fraudulent scheme:

             a.      That Sanofi’s published, reported prices of diabetes medications

      resulted from transparent and competitive market forces and were a reasonable


                                           112
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 116 of 156



       and fair basis on which to base the price Plaintiff Harris County paid for these

       drugs;

                b.        That the payments Sanofi paid back to each PBM Defendant for each

       at issue drug sold was for the benefit of Plaintiff Harris County;

                c.        That Sanofi and each PBM Defendant were transparent with

       Plaintiff Harris County, regarding these payments and that these payments did, in

       fact, save Harris County and the general public money;

                d.        That PBM Defendants’ “preferred” formulary status of diabetes

       medications reflects the drugs’ safety, efficacy and cost-effectiveness, as

       determined by PBM Defendants’ formulary committees and were constructed for

       the benefit of health plans, including Harris County; and

                e.        The extent to which the Insulin Pricing Scheme forced Harris

       County to incur additional expenses for diabetes medications.

       527.          At all times relevant to this Complaint, each Sanofi-PBM Enterprise knew

that these representations were false.

       528.          At all times relevant to this Complaint, each Sanofi-PBM Enterprise

intentionally made these representations for the purpose of inducing health plans,

including Harris County, into paying for diabetes medications at artificially inflated prices.

       529.          Plaintiff Harris County relied on the material misrepresentations made by

each Sanofi-PBM Enterprise in paying prices for Sanofi’s diabetes medications based upon

the artificially inflated reported prices.

       530.          None of the PBM Defendants nor Sanofi alone could have accomplished

the purposes of the Sanofi-PBM Enterprise without the other entity.




                                                113
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 117 of 156



       531.      Each PBM Defendant needs Sanofi to artificially inflate its reported prices

and to pay large refund payments back to the PBM Defendant.

       532.      For Sanofi to profit from the scheme, each PBM Defendant needed to

convince health plans, including Plaintiff Harris County, to select their formularies, on

which varying diabetes medications were given favorable treatment and to pay prices

based upon the artificially inflated reported price.

       533.      And PBM Defendants did so utilizing the misrepresentations listed above

to convince Plaintiff Harris County that they secured lower prices.

       534.      Without these misrepresentations, each Sanofi-PBM Enterprise could not

have achieved its common purpose as Plaintiff Harris County would not have been willing

to pay based upon these artificially raised and unreasonable prices.

       535.      The foregoing evidences that Sanofi and PBM Defendants were each

willing participants in the Sanofi-PBM Enterprises, had a common fraudulent purpose and

interest in the objective of the scheme and functioned within a structure designed to

effectuate the Enterprises’ purposes, i.e., to increase profits for Sanofi and each PBM

Defendant at the expense of Plaintiff Harris County.

              Defendants’ Use of the U.S. Mails and Interstate Wire Facilities

       536.      Each of the Sanofi-PBM Enterprises engaged in and affected interstate

commerce because they engage in the following activities across state boundaries: the sale,

purchase and/or administration of diabetes medications; the setting and publishing of the

prices of these drugs; and/or the transmission of pricing information of diabetes

medications; and/or the transmission and/or receipt of sales and marketing literature;

and/or the transmission of diabetes medications through mail-order pharmacies; and/or

the transmission and/or receipt of invoices, statements, and payments related to the use


                                             114
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 118 of 156



or administration of diabetes medications; and/or the negotiations and transmissions of

contracts related to the pricing of and payment for diabetes medications.

       537.     Each Sanofi-PBM Enterprise participated in the administration of diabetes

medications to millions of individuals located throughout the United States, including to

Plaintiff Harris County’s Beneficiaries in Texas.

       538.     Sanofi and each PBM Defendant’s illegal conduct and wrongful practices

were carried out by an array of employees, working across state boundaries, who

necessarily relied upon frequent transfers of documents and information and products and

funds through the U.S. mails and interstate wire facilities.

       539.     The nature and pervasiveness of the Insulin Pricing Scheme, which was

orchestrated out of Sanofi’s and each PBM Defendant’s corporate headquarters,

necessarily required those headquarters to communicate directly and frequently by the

U.S. mails and by interstate wire facilities with each other.

       540.     Most of the precise dates of Sanofi’s and each PBM Defendant’s uses of the

U.S. mails and interstate wire facilities (and corresponding RICO predicate acts of mail

and wire fraud) have been hidden and cannot be alleged without access to each entity’s

books and records. Indeed, an essential part of the successful operation of the Insulin

Pricing Scheme depended upon secrecy, as alleged above. And Sanofi and each PBM

Defendant took deliberate steps to conceal their wrongdoing.

       541.     Plaintiff can generally describe the occasions on which the RICO predicate

acts of mail fraud and wire fraud occurred, and how those acts were in furtherance of the

Insulin Pricing Scheme.




                                             115
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 119 of 156



       542.        Sanofi and each PBM Defendant’s use of the U.S. mails and interstate wire

facilities to perpetrate the Insulin Pricing Scheme involved thousands of communications

including, inter alia:

              a.        Marketing materials about the reported prices for diabetes

       medications and the available spreads, which Sanofi sent to each PBM Defendant

       located across the country;

              b.        Written and oral representations of the reported prices of diabetes

       medications that Sanofi and each PBM Defendant made at least annually and, in

       many cases, several times during a single year, including directly to Plaintiff

       Harris County;

              c.        Thousands of written and oral communications discussing,

       negotiating, and confirming the placement of Sanofi’s diabetes medications on a

       particular PBM Defendant’s formulary;

              d.        Written and oral representations made by Sanofi regarding

       information or incentives paid back to each PBM Defendant for each diabetes

       medications sold and/or to conceal these incentives or the Insulin Pricing Scheme;

              e.        Written communications made by Sanofi, including checks, relating

       to rebates or other financial inducements paid to each of PBM Defendants to

       persuade them to advocate Sanofi’s diabetes medications;

              f.        Written and oral communications with U.S. government agencies

       and health plans, such as Plaintiff Harris County, that fraudulently

       misrepresented what the reported prices were, or that they were intended to deter

       investigations into the true nature of the reported prices or to forestall changes to

       reimbursement based on something other than reported prices;


                                              116
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 120 of 156



             g.       Written and oral communications with health plans, including

      Plaintiff Harris County, regarding and/or negotiating the price of diabetes

      medications;

             h.       Written and oral communications to Plaintiff Harris County,

      including marketing and solicitation material sent by each PBM Defendant at least

      in 2003, 2008 and 2016, as well as annual written reports, regarding the existence,

      amount, or purpose of payments made by Sanofi to each PBM Defendant for the

      diabetes medications described herein and the purpose of PBM Defendants’

      formularies;

             i.       Transmission of reported prices to third parties, including Plaintiff

      Harris County;

             j.       Receipts of money on tens of thousands of occasions through the

      U.S. mails and interstate wire facilities—the wrongful proceeds of the Insulin

      Pricing Scheme; and

             k.       In addition to the above-referenced RICO predicate acts, Sanofi’s

      and each PBM Defendant’s corporate headquarters have communicated through

      use of the U.S. mails and by interstate wire facilities with their various local

      headquarters or divisions, in furtherance of the Insulin Pricing Scheme, including

      within Texas.

          Conduct of Sanofi-PBM Enterprises’ Affairs

      543.        Sanofi and each PBM Defendant has participated in and exerted control

over the Sanofi-PBM Enterprises with which they were associated and, in violation of

Section 1962(c) of RICO, Sanofi and each PBM Defendant has conducted or participated




                                            117
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 121 of 156



in the conduct of the affairs of those association-in-fact RICO enterprises, directly or

indirectly. Such participation was carried out in the following ways:

              a.     Sanofi directly controls the secret payments it provides to PBM

       Defendants for its diabetes medications, which determines the amount of each

       PBM Defendants’ compensation from Sanofi;

              b.     PBM Defendants directly control their respective drug formularies,

       which determines the utilization of Sanofi’s diabetes medications;

              c.     Sanofi directly controls the prices that it publicly reports;

              d.     Sanofi directly controls the creation and distribution of marketing,

       sales, and other materials used to inform each PBM Defendant of the profit

       potential from its diabetes medications;

              e.     Each PBM Defendant directly controls the creation and distribution

       of marketing, sales and other materials used to inform health plans of the benefits

       and cost-saving potential of contracting with PBMs;

              f.     Each PBM Defendant and Sanofi has relied upon its employees and

       agents to promote the Insulin Pricing Scheme through the U.S. mails, through

       interstate wire facilities and through direct contacts with providers and health

       plans; and

              g.     Sanofi has controlled and participated in the affairs of each Sanofi-

       PBM Enterprises by providing rebates and/or other inducements to place Sanofi’s

       diabetes medications on each PBM Defendant’s formularies or advocate the use of

       certain diabetes medications. These inducements include Sanofi’s payment to

       each PBM Defendant of: (i) access rebates for placement of products on the PBMs’

       formulary; (ii) market share rebates for garnering higher market share than


                                            118
Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 122 of 156



   established targets; (iii) undisclosed administrative fees; and (iv) other fees and

   grants.

          h.     Each PBM Defendant has controlled and participated in the affairs

   of the Sanofi-PBM Enterprise with which it is associated by incentivizing and

   agreeing with Sanofi to exchange formulary placement for inflated reported prices

   and payments as described above. Furthermore, PBM Defendants hide the actual

   amount of secret refund payments received from Sanofi by relabeling them

   discounts, credits, concession fees, administrative fees, etc. and then not

   disclosing the amount paid under these labels.

          i.     Each PBM Defendant did distribute through the U.S. mail and

   interstate wire facilities, promotional and other materials which claimed that the

   money paid from Sanofi to each PBM Defendant saved Plaintiff Harris County

   money on their prescription needs.

          j.     Sanofi represented to the general public and Harris County—by

   publishing and promoting reported prices without stating that these reported

   prices differed substantially from the prices realized by Sanofi and each PBM

   Defendant—that the reported prices of diabetes medications reflected or

   approximated the net cost of these drugs and resulted from transparent and

   competitive market forces.

          k.     Each of the Sanofi-PBM Enterprises identified above had

   hierarchical decision-making structure headed by Sanofi and each PBM

   Defendant.




                                        119
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 123 of 156



              l.        In violation of Section 1962(c) of RICO, Sanofi and each PBM

       Defendant has conducted the affairs of each of the Sanofi-PBM Enterprises with

       which they associated in order to carry out the Insulin Pricing Scheme.

           Defendants’ Pattern of Racketeering Activity

       544.        Sanofi and each PBM Defendant has conducted and participated in the

affairs of their respective Sanofi-PBM Enterprises through a pattern of racketeering

activity, including acts that are unlawful under 18 U.S.C. § 1341, relating to mail fraud, and

18 U.S.C. § 1343, relating to wire fraud.

       545.        Sanofi’s and each PBM Defendant’s pattern of racketeering likely involved

thousands, if not hundreds of thousands, of separate instances of use of the U.S. mails or

interstate wire facilities in furtherance of the Insulin Pricing Scheme described above.

Each of these fraudulent mailings and interstate wire transmissions constitutes a

“racketeering activity” within the meaning of 18 U.S.C. § 1961(1)(B). Collectively, these

violations constitute a “pattern of racketeering activity,” within the meaning of 18 U.S.C. §

1961(5), in which Sanofi and each PBM Defendant intended to defraud Plaintiff Harris

County.

       546.        By intentionally and artificially inflating the reported prices, by

misrepresenting the purpose behind both the payments made from Sanofi to each PBM

Defendant and each PBM Defendant’s formulary decisions and by subsequently failing to

disclose such practices to the public and Harris County, Sanofi and each PBM Defendant

engaged in a fraudulent and unlawful course of conduct constituting a pattern of

racketeering activity.




                                              120
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 124 of 156



       547.      Sanofi’s and each PBM Defendant’s racketeering activities amounted to a

common course of conduct, with similar patterns and purposes, intended to deceive

Plaintiff Harris County.

       548.      Each separate use of the U.S. mails and/or interstate wire facilities

employed by Sanofi and each PBM Defendant was related, had similar intended purposes,

involved similar participants and methods of execution and had the same results affecting

the same victims, including Harris County.

       549.      Sanofi and each PBM Defendant engaged in the pattern of racketeering

activity for the purpose of conducting the ongoing business affairs of the respective Sanofi-

PBM Enterprises with which each of them is and was associated in fact.

              Defendants’ Motive

       550.      Sanofi’s and each PBM Defendant’s motives in creating and operating the

Insulin Pricing Scheme and conducting the affairs of the Sanofi-PBM Enterprises

described herein was to fraudulently obtain sales of and profits from diabetes medications.

       551.      The Insulin Pricing Scheme was designed to, and did, encourage others,

including Plaintiff Harris County, to advocate the use of Sanofi’s products and to pay for

those diabetes medications based on a fraudulently inflated price. Sanofi used the Insulin

Pricing Scheme to obtain formulary placement to sell more of its drugs without having to

cut into its profit margin. Each PBM Defendant used the Insulin Pricing Scheme to inflate

the price Plaintiff Harris County paid for diabetes medications in order to profit off the

Secret Payment Game, the Pharmacy Spread and their profit margins on their mail order

pharmacies, as discussed above.




                                             121
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 125 of 156



              Sanofi-PBM Enterprises’ Insulin Pricing Scheme Damaged Harris
              County

       552.      Each Sanofi-PBM Enterprise’s violations of federal law and pattern of

racketeering activity has directly and proximately caused Plaintiff Harris County to be

injured in its business or property.

       553.      The price Harris County pays for Lantus, Toujeo, Soliqua and Apidra is

directly tied to Sanofi’s reported prices.

       554.      No other intermediary in the supply chain has control over or is

responsible for the reported prices on which Harris County’s payments are based other

than the Sanofi-PBM Defendant Enterprises.

       555.      PBM Defendants set the price by which Harris County paid for the at issue

diabetes medications. PBM Defendants also receive payments made by Harris County for

the at issue diabetes medications.

       556.      During the relevant time period, each PBM Defendant provided PBM

services to Plaintiff Harris County.

       557.      The entire basis behind each Sanofi-PBM Enterprise’s fraudulent scheme

was to convince Plaintiff Harris County to pay inflated prices for diabetes medications in

order to make enormous profits.

       558.      Each Sanofi-PBM Enterprise controlled and participated in the Insulin

Pricing Scheme that was directly responsible for the artificially inflated reported prices

upon which the price Plaintiff Harris County paid was based.

       559.      Thus, Harris County was damaged as a result of the Insulin Pricing

Scheme. But for the misrepresentations and inflated prices created by the Insulin Pricing




                                             122
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 126 of 156



Scheme that each Sanofi-PBM Enterprise employed, Harris County would have paid less

for diabetes medications.

       560.     As explained above, Harris County’s damages are the difference between

the price that Harris County paid for the at issue drugs and what it would have paid absent

the Insulin Pricing Scheme.

       561.     Harris County was directly harmed by the Insulin Pricing Scheme and is

entitled to seek a remedy for the economic harms to Harris County from Defendants’

fraudulent scheme.

       562.     Harris County’s damages are separate and distinct from any other victim

that was harmed by the Sanofi-PBM Defendant Enterprises’ Insulin Pricing Scheme.

       563.     By virtue of these violations of 18 U.S.C. § 1962(c), under the provisions of

Section 1964(c) of RICO, Defendants are jointly and severally liable to Harris County for

three times the damages that Harris County has sustained, plus the costs of bringing this

suit, including reasonable attorneys’ fees.

       564.     By virtue of these violations of 18 U.S.C. § 1962(c), under the provisions of

Section 1964 of RICO, Plaintiff Harris County seeks injunctive relief against Sanofi and

PBM Defendants for their fraudulent reporting of their prices and their continuing acts to

affirmatively misrepresent and/or conceal and suppress material facts concerning their

artificially inflated prices for diabetes medications, plus the costs of bringing this suit,

including reasonable attorneys’ fees. Absent an injunction, the effects of this fraudulent,

unfair and unconscionable conduct will continue. Plaintiff Harris County continues to

purchase Sanofi’s diabetes medications. And Harris County will continue to pay based on

the Defendants’ fraudulent reported prices. This continuing fraudulent, unfair, and

unconscionable conduct is a serious matter that calls for injunctive relief as a remedy.


                                              123
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 127 of 156



Plaintiff Harris County seeks injunctive relief, including an injunction against Sanofi and

PBM Defendants, to prevent them from affirmatively misrepresenting and/or concealing

and suppressing material facts concerning their artificially inflated prices for diabetes

medications.

                               FOURTH CAUSE OF ACTION

                        Violations of RICO, 18 U.S.C. § 1962(d)
                      By Conspiring to Violate 18 U.S.C. § 1962 (c)
                               (Against All Defendants)

       565.     Plaintiff Harris County re-alleges and incorporates herein by reference

each of the allegations contained in the preceding paragraphs.

       566.     Section 1962(d) of RICO provides that it “shall be unlawful for any person

to conspire to violate any of the provisions of subsection (a), (b) or (c) of this section.”

       567.     Defendants have violated § 1962(d) by agreeing and conspiring to violate

18 U.S.C. § 1962(c). The object of this conspiracy has been and is to conduct or participate

in, directly or indirectly, the affairs of the § 1962(c) Manufacturer Defendant-PBM

Defendant Insulin Pricing Enterprises described previously through a pattern of

racketeering activity.

       568.     As set forth in detail above, Defendants’ co-conspirators each knowingly

agreed to facilitate the Insulin Pricing Scheme through their respective RICO enterprises

and have engaged in numerous overt and predicate fraudulent racketeering acts in

furtherance of the conspiracy. Specifically, Manufacturer Defendants agreed to and did

inflate the reported prices of the at issue drugs to achieve an unlawful purpose and PBM

Defendants and Manufacturer Defendants agreed to and did make false or misleading

statements or material omissions regarding the negotiations between Defendants, the use

and purpose of the secret payments paid to PBM Defendants, the selection of which


                                              124
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 128 of 156



diabetes medications were granted preferred formulary status and that the reported price

was a result of transparent and competitive market forces. The truth about these

representations would be material to a reasonable consumer, including Plaintiff Harris

County.

       569.     From the outset, Defendants knew, but did not disclose, that the prices that

Defendants reported and published for diabetes medications did not reflect the prices

realized by Defendants for those products. Defendants knew that the reported prices they

selected were not reasonable approximations of competitive market prices for diabetes

medications. Yet they held out these reported prices as reasonable approximations of the

cost of diabetes medications and reasonable bases for Plaintiff Harris County to pay for

the at issue drugs. Manufacturer Defendants substantially inflated the reported prices of

the at issue drugs so they could offer larger spreads to PBM Defendants in exchange for

favorable formulary positions. Defendants knew, but did not disclose, that the price

spreads did not reduce the prices paid by Harris County who purchased diabetes

medications based on reported price. Defendants knowingly and deliberately misled

Plaintiff Harris County regarding the pricing of the at issue drugs.

       570.     The nature of the above-described Defendants’ co-conspirators’ acts,

material misrepresentations and omissions in furtherance of the conspiracy gives rise to

an inference that they not only agreed to the objective of an 18 U.S.C. § 1962(d) violation

of RICO by conspiring to violate 18 U.S.C. § 1962(c), but they were aware that their ongoing

fraudulent and extortionate acts have been and are part of an overall pattern of

racketeering activity.

       571.     Defendants have and continue to engage in the commission of overt acts,

including the following unlawful racketeering predicate acts:


                                            125
      Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 129 of 156



                a.        Multiple instances of mail fraud in violations of 18 U.S.C. § 1341;

                b.        Multiple instances of wire fraud in violations of 18 U.S.C. § 1343; and

                c.        Multiple instances of unlawful activity in violation of 18 U.S.C. § 1952.

         572.        Defendants’ violations of the above federal laws and the effects thereof

detailed above are continuing and will continue. Harris County has been injured in its

property by reason of these violations: Harris County has paid more for the at issue drugs

than they would have but for Defendants’ conspiracy to violate 18 U.S.C. § 1962(c).

         573.        Defendants’ conspiracy to engage in and overt acts in furtherance of

racketeering activity directly and proximately injured Harris County: Harris County

substantially overpaid for the at issue drugs when they paid for these medicines based on

Defendants’ reported prices.

         574.        By virtue of these violations of 18 U.S.C. § 1962(d), Defendants are jointly

and severally liable to Harris County for three times the damages Harris County has

sustained, plus the cost of this suit, including reasonable attorneys’ fees.

                                    FIFTH CAUSE OF ACTION

                Violations of § 1 of the Sherman Act, 15 U.S.C. § 1, et. seq.
                                (Against All Defendants) 108

         575.        Plaintiff Harris County re-alleges and incorporates herein by reference

each of the allegations contained in the preceding paragraphs.

         576.        Defendants have combined, conspired, or attempted to combine or

conspire to unreasonably restrain trade and commerce in the insulin market in violation




108Fifth Cause of Action, Violations of § 1 of the Sherman Act, applies only to the insulin products
at issue in this case: Eli Lilly’s Humulin N, Humulin R, Humalog and Basaglar; Sanofi’s Lantus,
Toujeo, Soliqua and Apidra and Novo Nordisk’s Novolog, Levemir and Tresiba. Fifth Cause of
Action does not apply to the at issue non-insulin drugs Trulicity, Victoza and Ozempic.


                                                 126
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 130 of 156



of §1 of the Sherman Act, 15 U.S.C. § 1, by engaging in a price fixing conspiracy between

competitor PBMs and competitor drug manufacturers to artificially raise reported prices

for the purposes of securing preferential formulary placement and maximizing profits.

             Defendants had a Conscious Commitment to the Insulin Pricing
             Scheme

      577.    Each Defendant had a conscious commitment to participate in the Insulin

Pricing Scheme. As detailed in paragraphs 258-275, Defendants explicitly admitted that

they agreed to and did participate in the Insulin Pricing Scheme.

      578.    As detailed in paragraphs 176-196, Manufacturer Defendants’ agreed with

each other to increase, in lockstep, the reported price of their insulins in order to

participate in the Insulin Pricing Scheme.

      579.    This agreement between Manufacturer Defendants was necessary because

their insulins have similar efficacy and risk profiles and thus purchasers choose whose

product to buy based primarily on price. In a competitive insulin market unilateral price

increases would result in loss of market share and removal from preferred positions on

PBM Defendants’ formularies. Thus, it would have been economically irrational for any

one Manufacturer Defendant to raise its prices without assurance that its competitors

would also increase prices and assurance from PBM Defendants that it would receive

preferred formulary positions in exchange for these inflated prices.

      580.    As detailed paragraphs 176-196 and 248-275, Manufacturer Defendants

agreed with PBM Defendants to intentionally and artificially raise their reported insulin

prices and then pay back a significant portion of those prices to PBM Defendants.




                                             127
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 131 of 156



      581.   As detailed paragraphs 248-275, in exchange for Manufacturer Defendants’

inflating their prices and making large secret payments, PBM Defendants agreed to and

did grant preferred formulary status to Manufacturer Defendants’ insulins.

      582.   In a competitive PBM market, PBM Defendants would have granted

formulary position based on lower reported prices, rather than inflated prices and secret

payments.

      583.   In a competitive market the non-transparent and convoluted secret payment

system devised by Defendants would have been unnecessary.

      584.   In a competitive market, if PBM Defendant acted unilaterally to grant

formulary position based upon higher reported prices and non-transparent payments, the

services and formularies that PBM made available to health plans, such as Harris County,

would be less competitive compared to those of ostensibly competing PBMs granting

formulary position on lower, transparent prices.

      585.   Each Defendant shares a common purpose of perpetuating the Insulin

Pricing Scheme and neither PBM Defendants nor Manufacturer Defendants alone could

have accomplished the Insulin Pricing Scheme without their co-conspirators.

      586.   PBM Defendants need Manufacturer Defendants to artificially inflate the

reported price of their insulins and to make secret payments back to PBM Defendants in

order for PBM Defendants to profit off the Insulin Pricing Scheme.

      587.   Manufacturer Defendants need PBM Defendants to grant their insulins

preferred formulary placement and to bind health plans, such as Harris County, to pay for

such drugs based on the inflated reported prices.

      588.   In furtherance of the Insulin Pricing Scheme, PBM Defendants and

Manufacturer Defendants made joint decisions, were in regular communication, and met


                                           128
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 132 of 156



on a regular basis regarding artificially inflating the reported price of insulin and the

regular flow of payments from Manufacturer Defendants to PBM Defendants for

formulary placement including: (i) access rebates for placement of products on their

formulary; (ii) market share rebates for garnering higher market share than established

targets; (iii) undisclosed administrative fees; and (iv) other fees and grants in an effort to

promote products.

       589.   In addition to the preceding direct evidence of an agreement, Defendants’

agreement and conscious commitment to the Insulin Pricing Scheme is also demonstrated

by:

              a.     As detailed in paragraphs 227-231, Defendants frequently engaged

       in private communications and meetings at annual conferences, industry trade

       associations and through private online forums;

              b.     As detailed in paragraphs 276-288 and 333-342, Defendants refuse

       to disclose the details of their pricing structures, agreements and sales figures in

       order maintain the secrecy of the Insulin Pricing Scheme;

              c. Numerous ongoing government investigations, hearings and inquiries

       targeting the Insulin Pricing Scheme and the collusion and anticompetitive

       behavior of Defendants, including:

                     •      In 2016, Manufacturer Defendants received civil
              investigative demands from the State of Washington and the State of New
              Mexico relating to the pricing of their insulin products and their
              relationships with PBM Defendants;

                     •       In 2017, Manufacturer Defendants received civil
              investigation demands from the States of Minnesota, California and Florida
              related to the pricing of their insulin products;

                     •      Letters from numerous senators and representatives in
              recent years, including Senator Bernie Sanders (D-VT), Representative


                                             129
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 133 of 156



               Elijah Cummings (D-MD), and Representative Tim Burchett (TN-02) to
               the Justice Department and the Federal Trade Commission asking them to
               investigate potential collusion and anticompetitive behavior among
               Defendants;

                     •      A 2017 House Oversight committee investigation into the
               corporate strategies of drug companies, including Manufacturer
               Defendants, seeking information on the increasing price of drugs and
               manufacturers efforts to preserve market share and pricing power;

                     •     A 2018 report issued by Tom Reed (R-NY) and Diana
               DeGette (D-CO) titled “Insulin: A Lifesaving Drug Too Often Out Of Reach”
               aimed addressing the dramatic increase in the price of insulin; and

                      •      Several 2019 hearings before both the Senate Financing
               Committee and the House Oversight and Reform Committees on the
               Insulin Pricing Scheme;

               d.    The fact that the astronomical rise in the price of insulins coincided

       with PBM Defendants rise to power within the pharmaceutical pricing system

       starting in 2003.

              The Insulin Pricing Scheme Unreasonably Restrained Trade and
              Commerce

       590.    The Insulin Pricing Scheme has harmed competition and caused prices for

insulins to be higher than they would have been absent the fraudulent scheme. These price

increases were not the result of independent decision making by Defendants engaged in

economic self-interest or free and fair competition.

       591.    As demonstrated by paragraphs 163-171, 238-243 and 258-262, Defendants’

admitted that the exponential increase in the reported price of insulin is unrelated to

competitive factors such as increased production or research costs or improved clinical

benefit.




                                            130
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 134 of 156



       592.   The inflated reported price upon which governmental entities, like Harris

County, pay for insulin bears no relationship to the price realized by Defendants or that

which would be charged absent the Insulin Pricing Scheme.

       593.   In a fair competitive market, Manufacturers Defendants would have

competed by lowering their reported prices of insulin. PBM Defendants would have

granted formulary status based on this lower reported price and then used this lower

reported price to set the price that governmental entities, like Harris County, paid for

insulins. Defendants also would have been transparent about their arrangements and

pricing structures to ensure a fair, competitive market.

       594.   Instead, Defendants conspired together to create the Insulin Pricing Scheme

where they secretly negotiated between themselves based on artificially raised reported

prices and undisclosed “refund” payments in order to extract large profits from the insulin

market.

       595.   Both Manufacturer Defendants and PBM Defendants have dominant market

shares. Consequently, consumers in the insulin market are left with no reasonable

substitutes—Manufacturer Defendants make nearly all of the insulin on the market and

PBM Defendants control the manner in which insulin products are available to consumers.

       596.   As a direct result of the Insulin Pricing Scheme consumers, such as Plaintiff

Harris County, in the insulin market were forced to pay higher prices.

       597.   The Insulin Pricing Scheme constitutes a restraint of trade that is unlawful

under all three applicable standards of review: (1) the per se standard, which governs

price-fixing and the allocation of markets; (2) the “quick-look” standard, which governs

apparently anticompetitive schemes with which the courts lack familiarity; and (3) the




                                            131
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 135 of 156



rule-of- reason standard (the “Rule of Reason”), which governs all other challenged

restraints of trade.

       598.      Plaintiff Harris County respectfully submits that the Court should apply

well-recognized per se rules to condemn the challenged price fixing conspiracy, but in an

abundance of caution pleads this claim in the alternative so that it is raised not only under

the per se rules, but also under the “quick-look” standard and the rule of reason.

              Relevant Geographic and Product Markets

       599.      Assuming, arguendo, that a relevant product market needs to be defined,

the relevant product market is the market for insulins. There are no reasonable product

substitutes for insulins in this market and Manufacturer Defendants produce the entire

insulin supply in the United States. Further, high regulatory, legal and cost barriers to

entry restrict new products from entering the insulin product market.

       600.      The relevant geographic market is the United States.

              Effect on Interstate Commerce

       601.      As detailed above and in detail in causes of action 1-3, the Insulin Pricing

Scheme affects interstate commerce because Defendants engage in the following activities

across state boundaries in furtherance of this scheme: the sale, purchase and/or

administration of diabetes medications; the setting and publishing of the prices of these

drugs; and/or the transmission of pricing information of diabetes medications; and/or the

transmission and/or receipt of sales and marketing literature; and/or the transmission of

diabetes medications through mail-order pharmacies; and/or the transmission and/or

receipt of invoices, statements, and payments related to the use or administration of

diabetes medications; and/or the negotiations and transmissions of contracts related to

the pricing of and payment for diabetes medications.


                                             132
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 136 of 156



            Harris County was Harmed as a Direct Result of Defendants’
            Anticompetitive Acts

       602.     Defendants anticompetitive acts in violation of the Sherman Act have

directly and proximately caused Plaintiff Harris County to be injured in its business or

property.

       603.    PBM Defendants set the price by which Harris County paid for the drugs

utilized by Harris County’s Beneficiaries, including the at issue diabetes medications, at a

rate which is based on Manufacturer Defendants’ artificially inflated reported prices. PBM

Defendants also receive payments made by Harris County for the at issue diabetes

medications.

       604.    Each Defendant agreed to and did participate in the Insulin Pricing Scheme

that was directly responsible for these artificially inflated reported prices.

       605.    As an integral part of the Insulin Pricing Scheme, Defendants specifically

intended on deceiving Harris County and other health plans into paying these artificially

inflated prices in order to profit off the Insulin Pricing Scheme.

       606.    No other intermediary in the supply chain has control over or is responsible

for the reported prices on which Harris County’s payments for insulin are based or the

contracted rate Harris County paid for insulins other than Defendants.

       607.    Harris County’s damages are separate and distinct from any other victim

that was harmed by Defendants’ Insulin Pricing Scheme.

       608. Harris County damages are the difference between the price it paid for

insulin and the price that it would have paid absent the Insulin Pricing Scheme.




                                             133
      Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 137 of 156



         609.    In sum, Harris County was damaged as a result of the Insulin Pricing

Scheme. But for the misrepresentations and inflated prices created by the Insulin Pricing

Scheme, Harris County would have paid less for insulins.

         610.    As a direct and proximate result of Defendants’ past and continuing

violations of the Sherman Act, Plaintiff Harris County has suffered injury and damages in

an amount to be proved at trial. These actual damages should be trebled under Section 4

of the Clayton Act, 15 U.S.C. § 15.

         611.    Plaintiff Harris County also seeks injunctive relief. The violations set forth

above are continuing, are causing irreparable harm, and will continue unless injunctive

relief is granted.

         612.    Plaintiff Harris County also seek recovery of its attorneys’ fees and costs

under the Clayton Act as a remedy for the costs they have incurred as a result of

Defendants’ conduct.

                                 SIXTH CAUSE OF ACTION

        Violations of the Texas Free Enterprise and Antitrust Act (“TFEAA”),
                     TEX. BUS. & COM. CODE ANN. §§ 15.01, et. seq.,
                             (Against All Defendants) 109

         613.   Plaintiff Harris County re-alleges and incorporates herein by reference each

of the allegations contained in the preceding paragraphs.

         614.   Each Defendant has combined, conspired, or attempted to combine or

conspire to unreasonably restrain trade and commerce in the insulin market in violation




109Sixth Cause of Action, Violations of the Texas Free Enterprise and Antitrust Act, applies only
to the insulin products at issue in this case: Eli Lilly’s Humulin N, Humilin R, Humalog and
Basaglar; Sanofi’s Lantus, Toujeo, Soliqua and Apidra and Novo Nordisk’s Novolog, Levemir
and Tresiba. Sixth Cause of Action does not apply to the at issue non-insulin drugs Trulicity,
Victoza and Ozempic.


                                               134
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 138 of 156



of the Texas Free Enterprise and Antitrust Act (“TFEAA”), TEX. BUS. & COM. CODE ANN. §

15.05(A), by engaging in a price fixing conspiracy between competitor PBMs and

competitor drug manufacturers to artificially raise prices for the purposes of securing

preferential formulary placement and maximizing profits.

             Defendants had a Conscious Commitment to the Insulin Pricing
             Scheme

      615.    Each Defendant had a conscious commitment to participate in the Insulin

Pricing Scheme. As detailed in paragraphs 258-275, Defendants explicitly admitted that

they agreed to and did participate in the Insulin Pricing Scheme.

      616.    As detailed in paragraphs 176-196, Manufacturer Defendants’ agreed with

each other to increase, in lockstep, the reported price of their insulins in order to

participate in the Insulin Pricing Scheme.

      617.    This agreement between Manufacturer Defendants was necessary because

their insulins have similar efficacy and risk profiles and thus purchasers choose whose

product to buy based primarily on price. In a competitive insulin market unilateral price

increases would result in loss of market share and removal from preferred positions on

PBM Defendants’ formularies. Thus, it would have been economically irrational for any

one Manufacturer Defendant to raise its prices without assurance that its competitors

would also increase prices and assurance from PBM Defendants that it would receive

preferred formulary positions in exchange for these inflated prices.

      618.    As detailed paragraphs 176-196 and 248-275, Manufacturer Defendants

agreed with PBM Defendants to intentionally and artificially raise their reported insulin

prices and then pay back a significant portion of those prices to PBM Defendants.




                                             135
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 139 of 156



      619.   As detailed paragraphs 248-275, in exchange for Manufacturer Defendants’

inflating their prices and making large secret payments, PBM Defendants agreed to and

did grant preferred formulary status to Manufacturer Defendants’ insulins.

      620.   In a competitive PBM market, PBM Defendants would have granted

formulary position based on lower reported prices, rather than inflated prices and secret

payments.

      621.   In a competitive market the non-transparent and convoluted secret payment

system devised by Defendants would have been unnecessary.

      622.   In a competitive market, if PBM Defendant acted unilaterally to grant

formulary position based upon higher reported prices and non-transparent payments, the

services and formularies that PBM made available to health plans, such as Harris County,

would be less competitive compared to those of ostensibly competing PBMs granting

formulary position on lower, transparent prices.

      623.   Each Defendant shares a common purpose of perpetuating the Insulin

Pricing Scheme and neither PBM Defendants nor Manufacturer Defendants alone could

have accomplished the Insulin Pricing Scheme without their co-conspirators.

      624.   PBM Defendants need Manufacturer Defendants to artificially inflate the

reported price of their insulins and to make secret payments back to PBM Defendants in

order for PBM Defendants to profit off the Insulin Pricing Scheme.

      625.   Manufacturer Defendants need PBM Defendants to grant their insulins

preferred formulary placement and to bind health plans, such as Harris County, to pay for

drugs based on the inflated reported prices.

      626.   In furtherance of the Insulin Pricing Scheme, PBM Defendants and

Manufacturer Defendants made joint decisions, were in regular communication, and met


                                           136
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 140 of 156



on a regular basis regarding artificially inflating the reported price of insulin and the

regular flow of payments from Manufacturer Defendants to PBM Defendants for

formulary placement including: (i) access rebates for placement of products on their

formulary; (ii) market share rebates for garnering higher market share than established

targets; (iii) undisclosed administrative fees; and (iv) other fees and grants in an effort to

promote products.

       627.   In addition to the preceding direct evidence of an agreement, Defendants’

agreement and conscious commitment to the Insulin Pricing Scheme is also demonstrated

by:

              a.     As detailed in paragraphs 227-231, Defendants frequently engaged

       in private communications and meetings at annual conferences, industry trade

       associations and through private online forums;

              b.     As detailed in paragraphs 276-288 and 333-342, Defendants refuse

       to disclose the details of their pricing structures, agreements and sales figures in

       order maintain the secrecy of the Insulin Pricing Scheme;

              c. Numerous ongoing government investigations, hearings and inquiries

       targeting the Insulin Pricing Scheme and the collusion and anticompetitive

       behavior of Defendants, including:

                     •      In 2016, Manufacturer Defendants received civil
              investigative demands from the State of Washington and the State of New
              Mexico relating to the pricing of their insulin products and their
              relationships with PBM Defendants;

                     •       In 2017, Manufacturer Defendants received civil
              investigation demands from the States of Minnesota, California and Florida
              related to the pricing of their insulin products;

                     •      Letters from numerous senators and representatives in
              recent years, including Senator Bernie Sanders (D-VT), Representative


                                             137
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 141 of 156



              Elijah Cummings (D-MD), and Representative Tim Burchett (TN-02) to
              the Justice Department and the Federal Trade Commission asking them to
              investigate potential collusion and anticompetitive behavior among
              Defendants;

                    •      A 2017 House Oversight committee investigation into the
              corporate strategies of drug companies, including Manufacturer
              Defendants, seeking information on the increasing price of drugs and
              manufacturers efforts to preserve market share and pricing power;

                    •     A 2018 report issued by Tom Reed (R-NY) and Diana
              DeGette (D-CO) titled “Insulin: A Lifesaving Drug Too Often Out Of Reach”
              aimed addressing the dramatic increase in the price of insulin; and

                     •      Several 2019 hearings before both the Senate Financing
              Committee and the House Oversight and Reform Committees on the
              Insulin Pricing Scheme;

              d.     The fact that the astronomical rise in the price of insulins coincided

       with PBM Defendants rise to power within the pharmaceutical pricing system

       starting in 2003.

           The Insulin Pricing Scheme Unreasonably Restrained Trade and
           Commerce

       628.   The Insulin Pricing Scheme has harmed competition and caused prices for

insulins to be higher than they would have been absent the fraudulent scheme. These price

increases were not the result of independent decision making by Defendants engaged in

economic self-interest or free and fair competition.

       629.   As demonstrated by paragraphs 163-171, 238-243 and 258-262, Defendants’

admitted that the exponential increase in the reported price of insulin is unrelated to

competitive factors such as increased production or research costs or improved clinical

benefit.




                                            138
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 142 of 156



       630.   The inflated reported price upon which governmental entities, like Harris

County, pay for insulin bears no relationship to the price realized by Defendants or that

which would be charged absent the Insulin Pricing Scheme.

       631.   In a fair competitive market, Manufacturers Defendants would have

competed by lowering their reported prices of insulin. PBM Defendants would have

granted formulary status based on this lower reported price and then used this lower

reported price to set the price that governmental entities, like Harris County, paid for

insulins. Defendants also would have been transparent about their arrangements and

pricing structures to ensure a fair, competitive market.

       632.   Instead, Defendants conspired together to create the Insulin Pricing Scheme

where they secretly negotiated between themselves based on artificially raised reported

prices and undisclosed “rebate” payments in order to extract large profits from the insulin

market.

       633.   Both Manufacturer Defendants and PBM Defendants have dominant market

shares. Consequently, consumers in the insulin market are left with no reasonable

substitutes—Manufacturer Defendants make nearly all of the insulin on the market and

PBM Defendants control the manner in which insulin products are available to consumers.

       634.   As a direct result of the Insulin Pricing Scheme consumers, such as Harris

County, in the insulin market were forced to pay higher prices.

       635.   The Insulin Pricing Scheme constitutes a restraint of trade that is unlawful

under all three applicable standards of review: (1) the per se standard, which governs

price-fixing and the allocation of markets; (2) the “quick-look” standard, which governs

apparently anticompetitive schemes with which the courts lack familiarity; and (3) the




                                            139
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 143 of 156



rule-of- reason standard (the “Rule of Reason”), which governs all other challenged

restraints of trade.

       636.     Plaintiff Harris County respectfully submits that the Court should apply

well-recognized per se rules to condemn the challenged price fixing conspiracy, but in an

abundance of caution pleads this claim in the alternative so that it is raised not only under

the per se rules, but also under the “quick-look” standard and the rule of reason.

              Relevant Geographic and Product Markets

       637.     Assuming, arguendo, that a relevant product market needs to be defined,

the relevant product market is the market for insulin.

       638.     There are no reasonable product substitutes for insulins in this market and

Manufacturer Defendants make over 99% of the insulins in the relevant market. Thus, in

the insulin market, the demand is highly inelastic, the market for the sale of insulin is

extremely concentrated and there are high regulatory, legal and cost barriers to enter the

market. These economic conditions make the market for the manufacture and sale of

insulins conducive to anticompetitive conspiracies.

       639.     The relevant geographic market is Texas.

              Harris County was Harmed as a Direct Result of Defendants’
              Anticompetitive Acts

       640.     Defendants anticompetitive acts in violation of the Texas Free Enterprise

and Antitrust Act have directly and proximately caused Plaintiff Harris County to be

injured in its business or property.

       641.     PBM Defendants set the price by which Harris County paid for the drugs

utilized by Harris County’s Beneficiaries, including the at issue diabetes medications, at a

rate which is based on Manufacturer Defendants’ artificially inflated reported prices. PBM




                                            140
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 144 of 156



Defendants also receive payments made by Harris County for the at issue diabetes

medications.

       642.    Each Defendant agreed to and did participate in the Insulin Pricing Scheme

that was directly responsible for these artificially inflated reported prices.

       643.    As an integral part of the Insulin Pricing Scheme, Defendants specifically

intended on deceiving Harris County and other health plans into paying these artificially

inflated prices in order to profit off the Insulin Pricing Scheme.

       644.    No other intermediary in the supply chain has control over or is responsible

for the reported prices on which Harris County’s payments for insulin are based or the

contracted rate Harris County paid for insulins other than Defendants.

       645.    Harris County’s damages are separate and distinct from any other victim

that was harmed by Defendants’ Insulin Pricing Scheme.

       646.    Harris County damages are the difference between the price it paid for

insulin and the price that it would have paid absent the Insulin Pricing Scheme.

       647.    In sum, Harris County was damaged as a result of the Insulin Pricing

Scheme. But for the misrepresentations and inflated prices created by the Insulin Pricing

Scheme, Harris County would have paid less for insulins.

       648.    As a direct and proximate result of Defendants’ past and continuing

violations of the Texas Free Enterprise and Antitrust Act, Plaintiff Harris County has

suffered injury and damages in an amount to be proved at trial. These actual damages

should be trebled under Section 15.21(a)(1) of the Texas Free Enterprise and Antitrust Act.

       649.    Plaintiff Harris County also seeks injunctive relief pursuant to Section

15.21(b) of the Texas Free Enterprise and Antitrust Act. The violations set forth above will

continue unless injunctive relief is granted.


                                             141
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 145 of 156



       650.    Plaintiff Harris County also seeks recovery of its attorneys’ fees and costs

under Sections 15.21(a)(1) and (b) of the Texas Free Enterprise and Antitrust Act as a

remedy for the costs they have incurred as a result of Defendants’ conduct.

                              SEVENTH CAUSE OF ACTION

              Texas Deceptive Trades Practices-Consumer Protection Act
                               (Against All Defendants)

       651.    Plaintiff Harris County re-alleges and incorporates herein by reference each

of the allegations contained in the preceding paragraphs.

       652.    Plaintiff Harris County brings claims under the Texas Deceptive Trade

Practices-Consumer Protection Act. TEX. BUS. & COMM. CODE §§ 17.41–.63 (the

“DTPA”). Plaintiff Harris County is a consumer under the DTPA because it is “a

subdivision . . . of this state who seeks or acquires by purchase or lease, any goods or

services,” including diabetes medications and pharmacy benefit management services.

TEX. BUS. & COMM. CODE § 17.45(4).

       653.    Plaintiff alleges that all conditions precedent to filing this DTPA claim have

been performed or have occurred, including all pre-suit notices required under Sections

17.48(b) and 17.505(a) of the DTPA.

       654.    At all times, Defendants and their agents have engaged in conduct

constituting “trade” and “commerce,” as defined in § 17.45(6) of the DTPA.

       655.    Defendants committed false, misleading or deceptive acts or practices that

Plaintiff Harris County relied on, including:

               a.     “[R]epresenting that goods or services have sponsorship, approval,

               characteristics, ingredients, uses, benefits, or quantities which they do not




                                             142
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 146 of 156



             have . . .” TEX. BUS. & COM. CODE § 17.46(b)(5); see also TEX. BUS. &

             COMM. CODE § 17.50(a)(1)(a).

             b.       “[M]aking false or misleading statements of fact concerning the

             reasons for, existence of, or amount of price reductions.” TEX. BUS. &

             COM. CODE § 17.46(b)(11); see also TEX. BUS. & COMM. CODE §

             17.50(a)(1)(a).

             c. “[R]epresenting that an agreement confers or involves rights, remedies,

             or obligations which it does not have or involve, or which are prohibited by

             law.” TEX. BUS. & COM. CODE § 17.46(b)(12); see also TEX. BUS. &

             COMM. CODE § 17.50(a)(1)(a).

             d.       “[F]ailing to disclose information concerning goods or services

             which was known at the time of the transaction if such failure to disclose

             such information was intended to induce the consumer into a transaction

             into which the consumer would not have entered had the information been

             disclosed.” TEX. BUS. & COM. CODE § 17.46(b)(24); see also TEX. BUS. &

             COMM. CODE § 17.50(a)(1)(a).

      656.   Defendants also committed unconscionable actions. TEX. BUS. & COMM.

CODE § 17.50(a)(3).

      657.   Defendants’ violations of the DTPA were a producing cause of Plaintiff

Harris County’s damages. TEX. BUS. & COM. CODE § 17.50(a).

      658.   Defendants engaged in a conspiracy to violate the DTPA. See Four Bros.

Boat Works, Inc. v. Tesoro Petroleum Companies, Inc., 217 S.W.3d 653, 667 (Tex. App.—

Houston [14th Dist.] 2006, pet. denied) (“Two or more persons can be held liable for a

conspiracy to violate the DTPA.”).


                                          143
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 147 of 156



       659.      Plaintiff Harris County’s economic damages include its out-of-pocket losses

and benefit-of-the-bargain damages. TEX. BUS. & COM. CODE § 17.50(b)(1); Brown &

Brown of Texas, Inc. v. Omni Metals, Inc., 317 S.W.3d 361, 387 (Tex. App.—Houston [1st

Dist.] 2010, pet. denied) (“The plaintiff may recover either ‘the value of that which he has

received’ (‘out of pocket’ damages) or ‘the difference between the value as represented and

the actual value received’ (‘benefit of the bargain’ damages)”).

       660.      Defendants’ actions were committed intentionally or knowingly, so Plaintiff

Harris County is entitled to recover up to three times the amount of its economic damages.

TEX. BUS. & COM. CODE § 17.50(b)(1).

       661.      Plaintiff Harris County seeks injunctive relief under TEX. BUS. & COM. CODE

§ 17.50(b)(2).

       662.      Plaintiff Harris County seeks costs and attorneys’ fees under the DTPA. TEX.

BUS. & COM. CODE § 17.50(d).

                                 EIGHTH CAUSE OF ACTION

                                     Common Law Fraud
                                   (Against All Defendants)

       663.      Plaintiff Harris County re-alleges and incorporates herein by reference each

of the allegations contained in the preceding paragraphs.

       664.      As discussed in detail in paragraphs 304-347, Defendants made numerous

false representations to Harris County, that Defendants knew were false, with the intent

to induce Harris County into selecting their formularies and purchasing the at issue

diabetes medications at artificially inflated prices and Harris County relied on these false

representations in selecting PBM Defendants’ formularies and purchasing millions of

dollars of the at issue drugs at artificially inflated prices to its significant detriment.



                                               144
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 148 of 156



      665.   At all times during the relevant period, Defendants affirmatively and

intentionally misrepresented and/or concealed and suppressed material facts concerning:

(a) that PBM Defendants negotiate with Manufacturer Defendants for the benefit of Harris

County and to save Harris County money; (b) that PBM Defendants use their market

power to maximize savings for Harris County; (c) that PBM Defendants design pharmacy

plans and construct formularies for the purposes of promoting health and safety; (d) that

PBM Defendants are transparent with health plans, including Harris County, regarding

the payments they receive from Manufacturer Defendants and (e) that Manufacturer

Defendants reported drug prices bear a reasonable relationship to the net price realized by

Defendants and result from competitive market forces.

      666.   Defendants knew that the representations described above were false when

they made the representations—the secret payments and formulary positions agreed upon

between Defendants did not promote the health and safety of Harris County’s Beneficiaries

and did not lower the price Harris County paid for the at issue diabetes medications, but

rather were primary factors driving the exponential increase in the amount that Harris

County paid for these drugs.

      667.   Defendants made these false representations directly and indirectly to

Harris County through marketing materials and presentations, as well as by publishing

their inflated reported prices and utilizing the reported prices to set the price Harris

County paid for diabetes medications. Defendants also made these representations in

public statements and testimonies in the media, on various websites, in Defendants’

governmental filings and at Congressional hearings.




                                           145
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 149 of 156



       668.   Defendants made these representations for the sole purpose of inducing

reliance by Harris County into selecting PBM Defendants formularies and purchasing

diabetes medications at artificially inflated prices.

       669.   Defendants’ false representations and omissions were material to Plaintiff

Harris County.

       670.   Plaintiff Harris County reasonably relied on Defendants’ deception in paying

for diabetes medications at inflated prices. Plaintiff Harris County had no way of

discerning that Defendants were, in fact, deceiving it because Defendants possessed

exclusive knowledge regarding the nature of the pricing of diabetes medications;

intentionally concealed the foregoing from Plaintiff Harris County; and made incomplete

or negligent representations about the pricing of the diabetes medications and the

Defendants’ role in that pricing, while purposefully withholding material facts from

Plaintiff Harris County that contradicted these representations.

       671.   Defendants’ actions, representations and misrepresentations demonstrate

callous disregard for not only the rule of law but also public health.

       672.   As a direct and proximate result of Defendants’ fraudulent Insulin Pricing

Scheme, Harris County sustained damages, including but not limited to paying excessive

and inflated prices for diabetes medications described herein.

       673.   Defendants are liable to Plaintiff Harris County for damages in an amount

to be proven at trial. Moreover, because Defendants acted wantonly, maliciously,

recklessly, deliberately and with intent to defraud Plaintiff Harris County for the purpose

of enriching themselves at Plaintiff’s detriment, Defendants’ conduct warrants substantial

punitive and exemplary damages in an amount to be determined at trial.




                                             146
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 150 of 156



                               NINTH CAUSE OF ACTION

                                Money Had and Received
                                (Against All Defendants)

       674.   Plaintiff re-alleges and incorporates herein by reference each of the

allegations contained in the preceding paragraphs.

       675.   Defendants have benefitted from and hold money for selling, setting prices

for and negotiating payments for diabetes medications marketed and sold at an artificially

inflated price.

       676.   PBM Defendants have received and retained money and unjust benefits

from Plaintiff Harris County in the form of excess payments paid by Plaintiff Harris County

to PBM Defendants for diabetes medications. PBM Defendants also have received and

retained the proceeds from the Pharmacy Spread discussed above. In addition, PBM

Defendants have received and retained secret payments paid by Manufacturer Defendants

to PBM Defendants to which Plaintiff Harris County is entitled.

       677.   Manufacturer Defendants have received and retained money and unjust

benefits using the artificially inflated reported prices paid by Harris County to incentivize

Manufacturer Defendants into giving their diabetes medications preferred formulary

placement. This fraudulent scheme also allowed Manufacturer Defendants to increase the

amount of refund payments that they paid to PBM Defendants in exchange for preferred

formulary placement without having to compromise their own profit margins.

       678.   As a result of Defendants’ Insulin Pricing Scheme, inequity has resulted and

it would be unconscionable for Defendants to retain these monies and benefits.




                                            147
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 151 of 156



       679.    Because Defendants concealed their fraud and deception, Plaintiff Harris

County was not aware of the true facts concerning the Insulin Pricing Scheme described

herein and did not benefit from Defendants’ misconduct.

       680. Defendants knowingly accepted the money and unjust benefits of its

fraudulent conduct.

       681.    As a result of Defendants’ misconduct, an amount of money and Defendants’

unjust enrichment should be disgorged and returned to Plaintiff Harris County in an

amount to be proven at trial.

                                  TENTH CAUSE OF ACTION

                                     Unjust Enrichment
                                   (Against All Defendants)

       682.    Plaintiff re-alleges and incorporates herein by reference each of the

allegations contained in the preceding paragraphs.

       683.    Defendants have benefitted from the Insulin Pricing Schemes by selling,

setting prices for and negotiating discounts for diabetes medications marketed and sold at

an artificially inflated price.

       684.    Defendants wrongfully secured and retained unjust benefits from the

Plaintiff Harris County, in the form of amounts paid for diabetes medications based on

fraudulently inflated prices and in the form of secret payments made by Manufacturer

Defendants to PBM Defendants and inequity has resulted.

       685.    It is inequitable and unconscionable for Defendants to retain these benefits.

       686.    Defendants knowingly accepted the unjust benefits of its fraudulent conduct.




                                            148
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 152 of 156



       687.   As a result of Defendants’ misconduct, the amount of their unjust

enrichment should be disgorged and returned to Plaintiff Harris County, in an amount to

be proven at trial.

                             ELEVENTH CAUSE OF ACTION

                                     Civil Conspiracy
                                 (Against All Defendants)

       688. Plaintiff re-alleges and incorporates herein by reference each of the

allegations contained in the preceding paragraphs.

       689.   Defendants’ conduct described herein constitutes a civil conspiracy and

aiding and abetting each other to violate the Texas Free Enterprise and Antitrust Act, the

Texas Deceptive Trade Practices Act and to commit the torts of fraud, unjust enrichment

and money had and received. In furtherance of their conspiracy, Defendants have

undertaken efforts to eliminate competition in the insulin market. As a direct result of the

overt acts taken in furtherance of Defendants’ conspiracy, Harris County has suffered

damages in an amount to be proven at trial. Defendants are all jointly and severally liable

for the actions taken in furtherance of their joint conduct.

VII.     APPLICATION FOR TEMPORARY AND PERMANENT INJUNCTION

       690.   Plaintiff re-alleges and incorporates herein by reference each of the

allegations contained in the preceding paragraphs.

       691.   After Defendants have been cited to appear and answer, Plaintiff requests

the Court to enter a temporary injunction pursuant to the Texas DTPA, TEX. BUS. & COM.

CODE §17.50(B)(2), to enjoin Defendants, their agents, employees, and attorneys, together

with all persons in concert with them, from engaging in unlawful conduct in violation of

the DTPA.



                                            149
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 153 of 156



      692.   Plaintiff further requests that, following a trial on the merits in this case, the

Court enter a permanent injunction enjoining Defendants from their unlawful conduct

pursuant to RICO, 18 U.S.C. § 1964, the Sherman Act, 15 U.S. Code § 26, TFEAA, TEX. BUS.

& COM. CODE § 15.21(B) and the Texas DTPA, TEX. BUS. & COM. CODE §17.50(B)(2).

                       VIII.      CONDITIONS PRECEDENT

      All conditions precedent have been performed, have occurred or have been

excused.

                            IX.     PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Harris County respectfully prays:

      A.     That this Court enter judgments against Defendants and in favor of Plaintiff

             Harris County for violations of federal and state laws and legal standards

             invoked herein;

      B.     That this Court award Plaintiff Harris County monetary relief, including

             damages, restitution, disgorgement and/or all other available legal and

             equitable monetary remedies available under the federal and state laws set

             forth in this Complaint and the general equitable powers of this Court, to

             be trebled with interest and all exemplary and/or punitive damages that

             may be awarded, as necessary to remedy the harm from Defendants’ acts

             described in this Complaint; and

      C.     That this Court issue a preliminary and permanent injunction enjoining

             Defendants from continuing to engage in their unlawful conduct.

      D.     Plaintiff further prays that Plaintiff recover its attorneys’ fees, all costs of

             suit, prejudgment and post judgment interest and for such other and

             further relief to which Plaintiff may show itself entitled at law or equity.


                                            150
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 154 of 156



                                    X.    JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs respectfully demand a

trial by jury on all issues so triable.

Dated: January 31, 2020

Respectfully submitted,

OFFICE OF HARRIS COUNTY
ATTORNEY, VINCE RYAN

/s/ Vince Ryan
Vince Ryan
Harris County Attorney
Texas Bar No. 17489500
Robert Soard
First Assistant Harris County Attorney
Texas Bar No. 18819100
Terence L. O’Rourke
Special Assistant Harris County Attorney
Texas Bar No. 15311000
Pegi S. Block
Assistant Harris County Attorney
Texas Bar No. 02498250
Suzanne Bradley
Assistant Harris County Attorney
Federal ID No. 24567
Texas Bar No. 00793375
1019 Congress, 15th Floor
Houston, Texas 77002
Telephone: (713) 274-5121
Facsimile: (713) 437-4211
Vince.Ryan@cao.hctx.net
Robert.Soard@cao.hctx.net
Terence.ORourke@cao.hctx.net
Pegi.Block@cao.hctx.net
Suzanne.Bradley@cao.hctx.net




                                            151
  Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 155 of 156



LAW OFFICE OF RICHARD SCHECHTER, P.C.

/s/ Richard Schechter
Richard Schechter
Texas Bar No. 17735500
1 Greenway Plaza, Suite 740
Houston TX 77046-0102
Telephone: 713-623-8919
Facsimile: 713-622-1680
richard@rs-law.com

THE CICALA LAW FIRM PLLC

/s/ Joanne Cicala
Joanne Cicala
Texas Bar No. 24052632
Joshua T. Wackerly
Texas Bar No. 24093311
101 College Street
Dripping Springs, Texas 78620
Telephone: (512) 275-6550
Facsimile: (512) 858-1801
joanne@cicalapllc.com
josh@cicalapllc.com

BAKER • WOTRING LLP

/s/ Debra Tsuchiyama Baker
Debra Tsuchiyama Baker
Texas Bar No. 15089600
Earnest W. Wotring
Texas Bar No. 22012400
John Muir
Texas Bar No. 14630477
David George
Texas Bar No. 00793212
700 JPMorgan Chase Tower
600 Travis Street
Houston, Texas 77002
Telephone: (713) 980-1700
Facsimile: (713) 980-1701
dbaker@bakerwotring.com
ewotring@bakerwotring.com
jmuir@bakerwotring.com
dgeorge@bakerwotring.com




                                    152
   Case 4:19-cv-04994 Document 20 Filed on 01/31/20 in TXSD Page 156 of 156



HOLLINS LAW GROUP PLLC

/s/ Christopher G. Hollins
Christopher G. Hollins
Texas Bar No. 24090168
Aysia N. Mayo-Gray
Texas Bar No. 24109256
5832 Highway 6 North
Houston, Texas 77084
Telephone: 346.980.4600
Facsimile: 346.980.4610
c.hollins@hollinslawgroup.com
a.mayo-gray@hollinslawgroup.com

ATTORNEYS FOR PLAINTIFF




                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 31, 2020, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notification of such filing to the attorneys

of record at their e-mail addresses on file with the Court.

                                                      /s/ David George
                                                      David George




                                                153
